       Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 1 of 154




                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA
------------------------------------------------------------------------x
 YISRAEL WEISER, individually and on behalf of the                      :
 ESTATE OF ROEY WEISER, NAOMI FEIFER-                                   :
 WEISER, individually and on behalf of the ESTATE OF :
 ROEY WEISER, SHANI WEISER, NADAV WEISER, :
 VARDA MORELL AND EITAN MORELL,                                         :
 individually and on behalf of the ESTATE OF MAOZ                       : Case No.FY
 MORELL, E.E.M., a minor, C.M., a minor, SHACHAR :
 YEHUDA MORELL, MORDECHAI ELIEZER                                       :
 MENACHEM MORELL, DOV YERACHMIEL                                        :
 MORELL, JAY MICHAEL (YECHIEL) LEITER,                                  :
 CHANA LEITER, NERIYA DOV LEITER, SARA                                  :
 BRACHA (LEITER) ATTIAS, DAVID ELIMELECH                                :
 LEITER, SOPHIA (LEITER) REDLER, SAMUEL                                 :
 YAIR LEITER, NOAM ELISHA LEITER, AMIKAM                                :       COMPLAINT
 TZION LEITER, EYAL BALVA AND SIGALIT                                   :
 BALVA, individually and on behalf of the ESTATE OF :
 OMER BALVA, SHAHAR BALVA, ITAI HAIM                                    :
 BALVA, BARAK BALVA, YANIV ROUSSO AND                                   :
 FANNY ROUSSO, individually and on behalf of the                        :
 ESTATE OF OFEK ROUSSO, INBAR ROUSSO,                                   :
 RUBY CHEN AND HAGIT CHEN, individually and on :
 behalf of the ESTATE OF ITAY CHEN, ROY CHEN,                           :
 A.C., a minor, HILLA SHAY AND IZHAR SHAY,                              :
 individually and on behalf of the ESTATE OF YARON :
 SHAY, SHIR SHAY, LIOR SHAY, OPHIR SHAY,                                :
 MARK ZIERING AND DEBORAH ZIERING,                                      :
 individually and on behalf of the ESTATE OF ARYEH :
 ZIERING, ELIANA ZIERING, YONATAN ZIERING, :
 TAL ZIERING, OREN GLISKO AND LIAT GLISKO, :
 individually and on behalf of the ESTATE OF ITAI                       :
 GLISKO, ORI GLISKO, Y.G., a minor, TOVA                                :
 SCHENKOLEWSKI, IRIS WEINSTEIN HAGGAI,                                  :
 individually and on behalf of the ESTATES OF JUDY                      :
 WEINSTEIN HAGGAI AND GAD HAGGAI, AHL                                   :
 HAGGAI, RAHM HAGGAI, ZOHAR HAGGAI,                                     :
 MAYA TREGER ROSENFELD, DVIR ROSENFELD, :
 Z.R., a minor, ELIYAHU LEVY, IDDO MOSHE                                :
 LEVY, NIR YEHEZKEL LEVY, TOM SHALOM,                                   :
 GURAM BENIASHVILI, ROBERT AIRLEY AND                                   :
 JENNIFER AIRLEY, individually and on behalf of the                     :
 ESTATE OF BENYAMIN AIRLEY, AARON BOURS, :
 RIVKA DAVIDOVICH, CHANA SARAH BEN                                      :
 ZAKEN, DONALD GOODMAN, HADAS PNINA                                     :



                                                   i
      Case 1:24-cv-03244-LLA      Document 1     Filed 11/17/24   Page 2 of 154




 SAFFER BEN HAMO, AMICHAY KLUGHAUPT,                 :
 ELITZUR MOSES, DAFNA MOSES, T.Z., a minor,          :
 MITCHEL NEWMAN, NOACH NEWMAN,                       :
 GAVRIEL NEWMAN, DVIR TUVIA NEWMAN,                  :
 BATYA LEAH SPREI, AVRAHAM ROTHNER,                  :
 NADAV BENJAMIN SHINDMAN, AARON MOSHE :
 SPITZ, LEAH SPITZ, GAVRIEL BINYAMIN SPITZ, :
 AVITAL MIRIAM SPITZ, ARYEH THALER,                  :
 JEFFREY THALER, KAREN THALER, ZEV                   :
 THALER, ELIYAHU THALER, YOSEF THALER,               :
 PESHA THALER, A.T., a minor, L.T., a minor, R.T., a :
 minor, H.T., a minor, ARIEL VARDI, LEOR ZER-        :
 CHEN, YAAKOV ZER-CHEN, EITAN MOR AND                :
 SHLOMIT MIRIAM MOR, individually and on behalf :
 of the ESTATE OF SMADAR MOR EDAN, LERON             :
 MOR AND ZOLTAN IVAN GYONGYOSI on behalf of :
 A.E., a minor, M.E., a minor, Am.E., a minor, LERON :
 MOR, MICHAL ZIPPORAH ZAFRANI, individually          :
 and on behalf of the ESTATE OF ITAY ZAFRANI,        :
 INBAL CHEN, A.Z., a minor, DAVID ZAFRANI, ORI :
 ZAFRANI, OSNAT TAL ZAFRANI, RONI ZAFRANI, :
 ODEYA CHEN NATAN, A/K/A ODEYA CHEN                  :
 TEICHER, NAOMI TEICHER, MICHAEL JAY                 :
 TEICHER, EITAN DAVID NATAN, NAAMA                   :
 SAFFER AMAR, YEHOSHUA GOODMAN,                      :
 AVRAHAM GUTSTEIN, MIRIAM GUTSTEIN,                  :
 Z.C.G., a minor, YITSHAK YISACHAR GUTSTEIN,         :
 TAMAR GUTSTEIN, S.G., a minor, and SHELOMO          :
 TAWIL,                                              :
                                                     :
                Plaintiffs,                          :
                                                     :
-against-                                            :
                                                     :
ISLAMIC REPUBLIC OF IRAN                             :
Ministry of Foreign Affairs                          :
Khomeini Avenue                                      :
United Nations Street                                :
Tehran, Iran                                         :
                                                     :
and                                                  :
                                                     :
ISLAMIC REVOLUTIONARY GUARD CORPS                    :
Armed Forces Headquarters                            :
Zone 7 – Shariati                                    :
Ghoddoosi Square (Ghaar)                             :
Tehran, Iran


                                          ii
        Case 1:24-cv-03244-LLA               Document 1           Filed 11/17/24   Page 3 of 154




                                                                        :
and                                                                     :
                                                                        :
HARAKAT AL-MUQAWAMA AL-ISLAMIYA                                         :
(a/k/a Hamas)                                                           :
c/o Waqfiya Al-Ri’aya Al-Usra Al-Filistinya Wa Al-                      :
Lubnanya                                                                :
P.O. Box: 1267925                                                       :
Beirut, Lebanon                                                         :
                                                                        :
and                                                                     :
                                                                        :
PALESTINIAN ISLAMIC JIHAD                                               :
c/o Al Ihsan Charitable Society                                         :
Al-Iman – Fathi Al-Ahmad Building                                       :
Jenin, Palestinian Authority                                            :
                                                                        :
and                                                                     :
                                                                        :
HEZBOLLAH                                                               :
(a/k/a Hizbullah, Hezballah, Hizballah)                                 :
c/o The Martyrs Foundation (Al Shahid)                                  :
1st Floor - Saadeh & Sawaya Bldg - Main Road – Kafaat, :
Hadath Lebanon                                                          :
                                                                        :
and                                                                     :
                                                                        :
POPULAR FRONT FOR THE LIBERATION OF                                     :
PALESTINE                                                               :
c/o Health Work Committees,                                             :
Al-Fardan Martyrs Street                                                :
P.O. Box 3966                                                           :
Ramallah – Al Bireh, Palestinian Territories,                           :
                                                                        :
                   Defendants.                                          :
------------------------------------------------------------------------x




                                                        iii
            Case 1:24-cv-03244-LLA                          Document 1                Filed 11/17/24                Page 4 of 154




                                                       TABLE OF CONTENTS



INTRODUCTION .......................................................................................................................... 1

JURISDICTION AND VENUE ..................................................................................................... 6

PARTIES ........................................................................................................................................ 7

FACTUAL ALLEGATIONS ....................................................................................................... 12

I.         Iran Provides Substantial Material Support to Hamas, PIJ, PFLP, Hezbollah, and the
           Houthis. ............................................................................................................................... 12

      A.       The Islamic Republic of Iran: “Death to America! Death To Israel!” ........................... 12

      B.       The IRGC and Its Quds Force Form the Axis of Resistance. ........................................ 17

      C.       Hamas’s Development and Iran’s Support for Hamas Prior to October 7. .................... 21

      D.       Iran Provided Material Support to Palestinian Islamic Jihad (PIJ). ............................... 31

      E.       Hezbollah – Iran’s Most Important Proxy. ..................................................................... 36

      F.       Iran Provided Material Support to the Houthis. ............................................................. 43

      G.       Iran Provided Material Support to the Popular Front for the Liberation of Palestine
               (PFLP) ............................................................................................................................ 46

      H.       The Iran Defendants Provided the Material Support Described Herein Through Their
               Officials, Employees, and Agents. ................................................................................. 50

II.        Iran Specifically Financed, Supported, And Approved the October 7 Attack. ................... 50

      A.       Hamas Begins to Emulate Hezbollah. ............................................................................ 50

      B.       Yahya Sinwar’s “Big Project” with Iran’s Axis of Resistance. ..................................... 54

III.       The October 7 Attack. ......................................................................................................... 71

IV.        Iran’s “Ring of Fire” and the Multiple Conflicts That Resulted from the October 7
           Attack. ................................................................................................................................. 75

V.         The Plaintiffs Were Harmed by Defendants’ Conduct. ...................................................... 76

      A.       The Weiser Family ......................................................................................................... 76

      B.       The Morell Family .......................................................................................................... 78


                                                                           i
     Case 1:24-cv-03244-LLA                       Document 1               Filed 11/17/24              Page 5 of 154




C.      The Leiter Family ........................................................................................................... 80

D.      The Balva Family ........................................................................................................... 82

E.      The Rousso Family ......................................................................................................... 83

F.      The Chen Family ............................................................................................................ 85

G.      The Shay Family............................................................................................................. 87

H.      The Ziering Family ......................................................................................................... 91

I.      The Glisko Family .......................................................................................................... 93

J.      The Schenkolewski Family ............................................................................................ 95

K.      The Haggai Family ......................................................................................................... 97

L.      Rosenfeld Family............................................................................................................ 99

M.      The Levy Family .......................................................................................................... 102

N.      The Shalom Family ...................................................................................................... 103

O.      The Beniashvili / Ben Zvi Family ................................................................................ 104

P.      The Airley Family ........................................................................................................ 106

Q.      The Bours Family ......................................................................................................... 108

R.      The Davidovich Family ................................................................................................ 109

S.      The Ben Zaken Family ................................................................................................. 110

T.      The Goodman Family ................................................................................................... 110

U.      The Hamo Family ......................................................................................................... 111

V.      The Klughaupt Family .................................................................................................. 112

W.      The Moses Family ........................................................................................................ 112

X.      The Newman Family .................................................................................................... 113

Y.      The Rothner Family ...................................................................................................... 114

Z.      The Shindman Family .................................................................................................. 115

AA. The Spitz Family .......................................................................................................... 115



                                                                ii
          Case 1:24-cv-03244-LLA                      Document 1              Filed 11/17/24             Page 6 of 154




    BB. The Thaler Family ........................................................................................................ 116

    CC. The Vardi Family ......................................................................................................... 118

    DD. The Zer-Chen Family ................................................................................................... 119

    EE. The Edan Family .......................................................................................................... 120

    FF.     The Zafrani Family ....................................................................................................... 122

    GG. The Natan Family ......................................................................................................... 123

    HH. The Amar Family ......................................................................................................... 125

    II.     The Goodman Family ................................................................................................... 125

    JJ.     The Gutstein Family ..................................................................................................... 126

    KK. The Tawil Family ......................................................................................................... 127

FIRST CLAIM FOR RELIEF .................................................................................................... 128

SECOND CLAIM FOR RELIEF ............................................................................................... 129

THIRD CLAIM FOR RELIEF ................................................................................................... 131

FOURTH CLAIM FOR RELIEF ............................................................................................... 132

FIFTH CLAIM FOR RELIEF .................................................................................................... 133

SIXTH CLAIM FOR RELIEF.................................................................................................... 135

SEVENTH CLAIM FOR RELIEF ............................................................................................. 137

EIGHTH CLAIM FOR RELIEF ................................................................................................ 139

NINTH CLAIM FOR RELIEF ................................................................................................... 140

TENTH CLAIM FOR RELIEF .................................................................................................. 141

ELEVENTH CLAIM FOR RELIEF .......................................................................................... 143

TWELFTH CLAIM FOR RELIEF ............................................................................................. 144

THIRTEENTH CLAIM FOR RELIEF ...................................................................................... 145

PRAYER FOR RELIEF ............................................................................................................. 146




                                                                   iii
         Case 1:24-cv-03244-LLA                 Document 1           Filed 11/17/24           Page 7 of 154




         Plaintiffs bring this Complaint (1) under the terrorism exception to the Foreign Sovereign

Immunities Act, 28 U.S.C. § 1605A, against the Islamic Republic of Iran (“Iran”), the Islamic

Revolutionary Guard Corps (“IRGC”), including its Quds Force (“IRGC-QF”), jointly and

severally (collectively, “the Iran Defendants”), and (2) under the civil-damages provision of the

Anti-Terrorism Act, 18 U.S.C. § 2333(a) (“ATA”), as amended by the Justice Against Sponsors

of Terrorism Act, 18 U.S.C. § 2333(d) (“JASTA”), against the following U.S.-designated foreign

terrorist organizations (“FTOs”): 1 Islamic Resistance Movement–Harakat al-Muqawama al-

Islamiya (“Hamas”), Palestinian Islamic Jihad (“PIJ”), the Popular Front for the Liberation of

Palestine (“PFLP”), and Hezbollah, jointly and severally (collectively, “the FTO Defendants”),

and allege as follows:

                                                INTRODUCTION

         1.       On October 7, 2023, Hamas-led terrorists, joined by terrorists from PIJ, PFLP, Al

Aqsa Martyrs Brigade (“AAMB”), 2 and the Popular Resistance Committee (“PRC”), 3 invaded

Israel’s sovereign territory from various locations within the Gaza Strip to murder approximately

1,200 people (“October 7 Attack” or “October 7”). Those terrorists also committed horrific acts of




1
         FTO is an acronym for “Foreign Terrorist Organization” - a designation made by the U.S. government
pursuant to Section 219 of the Immigration and Nationality Act and the Antiterrorism and Effective Death Penalty
Act of 1996 (“AEDPA”), as amended, codified at 8 U.S.C. § 1189. Section 219 of the AEDPA provides the U.S.
Secretary of State with the authority to designate foreign organizations that engage in terrorism that threatens the
security of the United States or U.S. nationals, which has the effect of freezing their assets and prohibiting most contact
with them.
2
         AAMB is a Palestinian terrorist group affiliated with the Palestinian political party Fatah. It has been
designated as an FTO by the U.S. Department of State since March 27, 2002.
3
         The PRC is a coalition of armed Palestinian groups opposed to the Palestinian Authority. It has committed
numerous terrorist attacks, including a 2003 attack on a U.S. diplomatic convoy that killed three U.S. security guards.
Although the PRC is not a designated FTO, it is a recognized terror group, which touts its participation in the October
7 Attack. Its terror apparatus calls itself the “Nasser Salam al-Din Brigades.” See 5 Things to Know About the
Palestinian     ‘Popular     Resistance      Committees,’     Foundation     for     Defense       of     Democracies,
https://www.fdd.org/analysis/2024/07/23/5-things-to-know-about-the-palestinian-popular-resistance-committees/.



                                                            1
       Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24     Page 8 of 154




rape, torture, mutilation, decapitation, immolation, assault, hostage taking, and more in a rampage

of brutality unthinkable in the modern world.

       2.      Hamas named the October 7 Attack “Operation al-Aqsa Flood.”

       3.      Iran financed, supported, and approved this largest massacre of Jews since the

Holocaust.

       4.      October 7 and the ensuing conflict between Israel and Hamas in Gaza, Hezbollah

in Lebanon, non-Defendant Ansarallah (“the Houthis”) in Yemen, and ultimately Iran itself are all

byproducts of Iran’s longstanding effort to build a so-called “Axis of Resistance” against Israel

and its primary benefactor—the United States of America.

       5.      The chief purpose of the Axis of Resistance is to expand Iran’s influence throughout

the Middle East while demoralizing and degrading the defensive capabilities of its regional

rivals—primarily Israel—by encircling Israel with what Iran’s IRGC has termed a “Ring of Fire.”

       6.      The “Ring of Fire” is composed of a series of heavily armed terror proxies arrayed

along Israel’s borders and across the Middle East, including (but not limited to) Defendants

Hamas, PIJ, the PFLP, Hezbollah, the non-Defendant Houthis, and others.

       7.      Armed and trained (and in many cases specifically directed) by the IRGC, the

purpose of the “Ring of Fire” is to encircle Israel along multiple fronts with hostile forces

committed to Israel’s destruction and armed with various weapons (including short and medium

range rockets and missiles), who act on the IRGC’s instructions to coordinate assaults designed to

weaken and ultimately annihilate the State of Israel.

       8.      Although the members of the Axis of Resistance share the common goal of

destroying Israel and murdering Jews, while receiving Iranian support, they are a disparate group




                                                 2
        Case 1:24-cv-03244-LLA               Document 1          Filed 11/17/24         Page 9 of 154




of radical terrorist organizations with differing ethnic, national, and religious sectarian

orientations.

        9.       The most prominent member of the Axis of Resistance is Lebanese Hezbollah.

Established by the IRGC in the early 1980s, Hezbollah has long sworn fealty to Iran’s Supreme

Leader, Ali Khamenei, whom it regards as its “Spiritual Guide.” Although Hezbollah maintains a

Shi’a Islam religious orientation (like Iran), its members are ethnically Arab (not Persian, like the

majority of Iranians) and are culturally Lebanese (not Iranian). Hezbollah nonetheless functions

as an arm of Iran’s IRGC-QF, taking direction from its “parent organization.”

        10.      Defendants Hamas and PIJ are also ethnically Arab (not Persian), but they are also

categorically different from many of Iran’s other proxies because neither terrorist organization was

created by the IRGC and neither adheres to the tenets of Shi’a Islam (although PIJ has become

increasingly closer doctrinally to Shi’ism).

        11.      Rather, Hamas and PIJ both began as outgrowths of the Muslim Brotherhood, 4 a

radical movement within Sunni (rather than Shi’a) Islam.

        12.      This distinction, particularly in the case of Hamas, played a crucial role in how the

IRGC’s attack plan for October 7 unfolded because (as described below) differences between the

IRGC and the Muslim Brotherhood played out violently during the Syrian civil war and the mutual

mistrust engendered by that conflict has not completely healed.

        13.      Defendant PFLP is also ethnically Arab, but its origins can be found in pan-Arab

nationalism, rather than religious extremism. During the Cold War, when the Soviet Union was a

key patron of the PFLP and other Palestinian terrorist organizations, the PFLP’s identity was


4
          The Muslim Brotherhood is a fundamentalist Islamist organization that was founded in Egypt in 1928 by
Hassan al-Banna. The organization strives to reconstitute Muslim society and eventually to establish a large Islamic
state that would expand Muslim rule into the rest of the world through jihad (holy war). Hamas emerged as the
Palestinian branch of the Muslim Brotherhood in 1987.



                                                         3
        Case 1:24-cv-03244-LLA                Document 1           Filed 11/17/24          Page 10 of 154




infused with certain Marxist-Leninist overtones. After the collapse of the Soviet Union, the PFLP

maintained its past alliances but increasingly solicited (and received) funding and other material

support from Iran and the IRGC. In the years preceding October 7, PFLP placed its operatives in

Gaza under Hamas’s unified command.

         14.      As set forth in detail below, October 7 was the natural outgrowth, and the first large-

scale implementation, of the IRGC’s “Axis of Resistance doctrine”—a well-planned and

coordinated attack designed to destroy Israel.

         15.      The planning for October 7 appears to have begun primarily in Gaza at Hamas’s

initiative—heavily shaped by Hamas’s own ideology and motivations. Hamas sees itself as an

apocalyptic movement destined to annihilate the State of Israel and restore Israel’s territory to

Muslim hands as part of a larger, preordained path toward Islam’s eventual global triumph.

         16.      However, for what Hamas’s inner circle called its “Big Project”—the October 7

Attack—and to ensure the attack’s success, Hamas needed additional financing from the IRGC

and enhanced logistical support (including training, weapons, and other logistical support).

         17.      Hamas also sought to obtain the IRGC’s commitment to a coordinated attack that

would include Lebanese Hezbollah—encamped on the other side of Israel’s northern border—and

Hamas’s terrorist operatives in southern Lebanon (mostly recruited from Palestinian refugee

camps) belonging to the group’s Izz al-Din al-Qassam Brigades (“Qassam Brigades”). 5

         18.      By compartmentalizing information and using deception, Hamas concealed the

specifics of the October 7 Attack plan and ensured that the other terrorist organizations operating




5
         The Izz al-Din al-Qassam Brigades is the core terror apparatus of Hamas, responsible since the 1990s for
kidnappings, murders, suicide bombings, and a variety of other atrocities. Hamas itself often refers to its terror
operatives as “Qassami warriors” and to its terror infrastructure as its “apparatus.” As Hamas leadership has explained,
the other components of Hamas work hand in glove with the Qassam Brigades to accomplish Hamas’s goals.



                                                           4
      Case 1:24-cv-03244-LLA            Document 1       Filed 11/17/24       Page 11 of 154




in Gaza—most notably PIJ, the PFLP, AAMB, and the PRC—would participate in the massacre

without being privy to the details or scope of the plan beforehand.

          19.   That said, coordinating the attack beyond Gaza with the IRGC and Lebanese

Hezbollah required far more effort and planning—a process that lasted for more than a year.

          20.   Numerous commentators, researchers, experts, and court decisions have found that

Iran financed, equipped, and trained Hamas, PIJ, the PFLP, and Hezbollah before October 7,

enabling those terror organizations to be the kind of groups capable of committing the October 7

Attack.

          21.   More than that, however, Iran helped plan the October 7 Attack itself, provided

dedicated financing for it, and coordinated logistics and training between Hamas and Hezbollah in

advance of the launch date for the attack.

          22.   As detailed below, the October 7 Attack, led by Hamas and joined by PIJ, the PFLP

and others, was part of a fully coordinated plan, financed and managed by Iran through the IRGC-

QF, to annihilate Israel by attacking it from multiple fronts simultaneously. For whatever reason,

Hamas began its part of that coordinated attack in an uncoordinated way—without the other

participants, chiefly Hezbollah in the north—joining the attack. But the devastation and the horror

of the October 7 Attack, and subsequent related attacks, were fully supported and financed by Iran.

          23.   Following the October 7 Attack, Hamas and PIJ continued to launch rockets into

Israel. On October 8, 2023, Hezbollah joined Hamas and PIJ by launching various attacks at

northern Israel which ultimately necessitated the evacuation of tens of thousands of residents of

towns and cities located in the northern third of the country. The Houthis in Yemen joined in as

well, firing missiles at Israel and attacking shipping linked to Israeli and U.S. interests.




                                                  5
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 12 of 154




       24.     Once Israel recovered from the initial onslaught, it began bombing Hamas, PIJ, and

PFLP targets in Gaza, and on October 13, Israel began ground operations in Gaza to neutralize

Hamas’s military capabilities, free more than 200 hostages taken by Hamas and its affiliated

groups, and prevent a future repetition of October 7.

       25.     In the course of the Israel Defense Forces (“IDF’s”) efforts both in Gaza and along

Israel’s northern border with Lebanon, members of the IDF and civilians in Israel, some of whom

are also American citizens, were murdered or seriously wounded by Hamas, PIJ, the PFLP, and

Hezbollah in subsequent attacks directly related to and precipitated by the October 7 Attack

(“Subsequent Related Attacks”).

                                 JURISDICTION AND VENUE

       26.     This Court has jurisdiction over this matter and over the Iran Defendants pursuant

to 28 U.S.C. §§ 1330(a) and 1605A(a), which create subject-matter and personal jurisdiction for

civil actions for wrongful death and personal injury against State Sponsors of Terrorism and their

officials, employees, and agents.

       27.     The Foreign Sovereign Immunities Act (“FSIA”), at 28 U.S.C. § 1605A, provides

jurisdiction for private rights of action against a foreign state that was a State Sponsor of Terrorism

at the time of the terrorist acts at issue and also against any official, employee or agent of that

foreign state—while acting within the scope of his or her office, employment, or agency—for

wrongful death, personal injury, and related torts. Iran, a continuously designated State Sponsor

of Terrorism since January 19, 1984, is such a foreign state.

       28.     As alleged below, the IRGC is a political/military subdivision of Iran. Accordingly,

for all relevant purposes, the IRGC is also considered the foreign state of Iran. See 28 U.S.C.

§ 1603(a).




                                                  6
      Case 1:24-cv-03244-LLA            Document 1       Filed 11/17/24       Page 13 of 154




       29.       Venue is proper in this District as to Defendants Iran and the IRGC pursuant to 28

U.S.C. § 1391(f)(4), which provides that a civil action against a foreign state or its political

subdivisions may be brought in the United States District Court for the District of Columbia.

       30.       FTO Defendants Hamas, PIJ, the PFLP, and Hezbollah are all designated Foreign

Terrorist Organizations.

       31.       This Court has subject matter jurisdiction over the FTO Defendants pursuant to 28

U.S.C. § 1331, as a civil action arising under the laws of the United States, specifically the Anti-

Terrorism Act, 18 U.S.C. § 2333, as a civil action brought by citizens of the United States and/or

their estates, survivors, or heirs, who have been injured by reason of acts of international terrorism.

       32.       Venue is proper in this District as to the FTO Defendants pursuant to 28 U.S.C.

§§ 1391(b)(3).

                                              PARTIES

       33.       Plaintiffs are described in detail below in Part V. They include U.S. nationals

(including estates) and their close family members, who suffered direct and foreseeable injury as

a result of the October 7 Attack and Subsequent Related Attacks committed by Hamas, PIJ, PFLP,

and Hezbollah with Iran’s and the IRGC’s substantial material support.

       34.       Iran. Iran is, and was at all relevant times, a foreign state as defined by the FSIA,

28 U.S.C. § 1603(a). Since 1984, Iran has been designated by the United States as a State Sponsor

of Terrorism pursuant to Section 6(j) of the Export Administration Act of 1979, previously codified

at 50 U.S.C. § 4605(j), Section 620A of the Foreign Assistance Act, 22 U.S.C. § 2371, and Section

40(d) of the Arms Export Control Act, 22 U.S.C. § 2780(d). At all relevant times, Iran provided

Hamas, PIJ, PFLP, and Hezbollah with substantial material support, including training, weapons,

money, and resources for acts of extrajudicial killings and hostage taking, as those terms are used

in the FSIA, 28 U.S.C. § 1605A(a)(1), that enabled Hamas, PIJ, PFLP, and Hezbollah to be


                                                   7
       Case 1:24-cv-03244-LLA                Document 1           Filed 11/17/24         Page 14 of 154




terrorist organizations capable of recruiting terrorists and committing terrorist violence, like the

attacks that injured Plaintiffs.

         35.      IRGC (and the IRGC-QF). The IRGC and the IRGC’s Quds Force (“IRGC-QF”),

which is a branch of the IRGC, are subdivisions of the state of Iran and are, for all relevant

purposes, treated as Iran itself. 6 The IRGC is a paramilitary force answerable only to the Supreme

Leader of Iran himself. The IRGC differs from Iran’s “regular” armed forces, which ostensibly

function under a national command structure answerable to the nominal government of Iran, not

the Supreme Leader. The IRGC is tasked with “protecting the revolution,” which it accomplishes

by silencing perceived enemies at home through secret police methods and attacking perceived

enemies abroad (via its Quds Force) through terrorist tactics. On October 13, 2017, the United

States designated the IRGC as a Specially Designated Global Terrorist (“SDGT”) under Executive

Order 13224, and the IRGC remains so-designated. 7 On April 15, 2019, the United States

designated the IRGC as an FTO pursuant to AEDPA § 219, codified at 8 U.S.C. § 1189, and the

IRGC remains so-designated.

         36.      The IRGC-QF is a branch of the IRGC and is Iran’s primary tool for exporting the

Iranian Islamic revolution beyond Iran’s borders. The Quds Force does so by setting up and

operating armed terrorist cells, establishing educational systems for indoctrination, and subverting

pro-Western Arab-Muslim regimes. It also provides substantial material support to terrorist



6
         See, e.g., Henkin v. Islamic Republic of Iran, No. 18-cv-1273 (RCL), 2021 WL 2914036, at *17 (D.D.C. July
12, 2021); Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 77, 85 (D.D.C. 2018); Akins v. Islamic Republic of
Iran, 332 F. Supp. 3d 1, 33 (D.D.C. 2018); Bluth v. Islamic Republic of Iran, 203 F. Supp. 3d 1, 19 n.15 (D.D.C.
2016); Rimkus v. Islamic Republic of Iran, 575 F. Supp. 2d 181, 194 (D.D.C. 2008).
7
          Executive Order 13224, as amended, has the effect of blocking the assets of and transactions with certain
identified terror groups and individuals. It also provides the Secretary of State with the authority to (1) designate
additional individuals or entities that have committed or pose a significant risk of committing terrorist acts and (2)
identify individuals or entities controlled or owned by terrorist groups or individuals. An entity or individual
designated under E.O. 13224, as amended, is referred to as an SDGT.



                                                          8
        Case 1:24-cv-03244-LLA                Document 1           Filed 11/17/24          Page 15 of 154




organizations, including Hamas. On October 25, 2007, the Quds Force was designated an SDGT

pursuant to Executive Order 13224 and remains so-designated. The Quds Force was also included

in the April 15, 2019, designation of the entire IRGC as an FTO.

         37.      Hamas. Hamas is an acronym of the Arabic “Harakat al-Muqawama al-

Islamiya”—Islamic Resistance Movement—but its name also means, in Arabic, enthusiasm,

courage, and zeal for battle. It is the most prominent terrorist organization operating in Palestinian-

controlled territory and is the ruling government of Gaza. Established in 1987, Hamas’s stated core

purpose is eliminating Israel, and it seeks that end through violence and terror, including rocket

attacks, bombings, suicide bombings, shootings, stabbings, hostage taking, and more. At all

relevant times, Hamas received substantial material support from Iran, including financing,

weapons, ammunition, training, and other resources for acts of torture, extrajudicial killing, and

hostage taking, as those terms are used in the FSIA, 28 U.S.C. § 1605A(a)(1), that enabled Hamas

to be a terrorist organization capable of recruiting terrorists and carrying out terrorist acts, like the

October 7 Attack and Subsequent Related Attacks. 8 On January 23, 1995, pursuant to Executive

Order 12947, the United States designated Hamas as a Specially Designated Terrorist (“SDT”). 9

On October 8, 1997, Hamas was designated an FTO and remains so-designated. On October 30,

2001, Hamas was also designated as an SDGT under E.O. 13224 and remains so-designated.

         38.      PIJ. Palestinian Islamic Jihad is another prominent terrorist group operating in

Palestinian-controlled territory. It too has as its core purpose destroying Israel through terrorism


8
        See, e.g., Force v. Islamic Republic of Iran, 464 F. Supp. 3d 323, 341 (D.D.C. 2020); Braun v. Islamic
Republic of Iran, 228 F. Supp. 3d 64, 69 (D.D.C. 2017); Estate of Steinberg v. Islamic Republic of Iran, No. 17-CV-
1910 (RCL), 2019 WL 6117722, at **2, 4 (D.D.C. Nov. 18, 2019).
9
          Executive Order 12947 preceded E.O. 13224 and was narrower. It provided the Secretary of the Treasury
with the authority to freeze the assets of and prohibit transactions with entities or persons designated as “foreign
terrorists that disrupt the Middle East peace process,” as opposed to all terrorist entities or individuals. Entities or
individuals designated under E.O. 12947, as amended by E.O. 13099, are referred to as SDTs. On September 9, 2019,
E.O. 12947 was revoked and replaced by E.O. 13886, which amended E.O. 13224.



                                                           9
       Case 1:24-cv-03244-LLA              Document 1         Filed 11/17/24        Page 16 of 154




and violence. PIJ was established in 1981 and has committed numerous acts of terrorism since,

including suicide bombings, small arms attacks, and mortar and rocket attacks. At all relevant

times, PIJ received substantial material support from Iran, including military and logistics training,

weapons, money, logistical and intelligence support, and other resources for acts of torture,

extrajudicial killing, and hostage taking, as those terms are used in the FSIA, 28 U.S.C.

§ 1605A(a)(1), that enabled PIJ to be a terrorist organization capable of recruiting terrorists and

committing terrorist acts, like the October 7 Attack and Subsequent Related Attacks. 10 On January

23, 1995, pursuant to E.O. 12947, the United States designated PIJ as an SDT. On October 8, 1997,

PIJ was designated an FTO and remains so-designated. On October 31, 2001, PIJ was designated

as an SDGT under E.O. 13224 and remains so-designated.

        39.      PFLP. The PFLP is a Palestinian nationalist terrorist group that has committed

terrorist attacks around the world, including aircraft hijackings. It seeks to destroy Israel through

terrorism and violence. At all relevant times, the PFLP received material support from Iran,

including logistical support, training, financial support, and other resources for acts of torture,

extrajudicial killing, and hostage taking, as those terms are used in the FSIA, 28 U.S.C.

§ 1605A(a)(1), that enabled PFLP to participate in the October 7 Attack and Subsequent Related

Attacks. On January 23, 1995, pursuant to E.O. 12947, the United States designated the PFLP as

an SDT. On October 8, 1997, the PFLP was designated an FTO and remains so-designated. On

October 31, 2001, the PFLP was designated as an SDGT under E.O. 13224 and remains so-

designated.




10
        See, e.g., Ben-Yishai v. Syrian Arab Republic, 642 F. Supp. 3d 110, 121 (D.D.C. 2022); Force v. Islamic
Republic of Iran, 464 F. Supp. 3d 323, 341 (D.D.C. 2020).



                                                      10
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24      Page 17 of 154




       40.     Hezbollah. Hezbollah is an Arabic word meaning “the party of God.” It is one of

the world’s largest and deadliest terrorist organizations. Hezbollah first emerged during the

Lebanese civil war in the early 1980s as a militia recruited by the IRGC and comprising Shi’a

followers of Iran’s Supreme Leader, Ayatollah Ruhollah Khomeini. From Hezbollah’s inception,

it has always served as an instrument of Iran. Indeed, its members have been trained, organized,

and funded by a contingent from the IRGC. In 1985, Hezbollah issued a manifesto describing its

objectives to include expelling Western influence from Lebanon and the wider region, destroying

Israel, pledging allegiance to Iran’s supreme leader, and establishing an Islamist government

influenced by Iran’s political ideology. Since its inception, Hezbollah has committed numerous

high-profile and extraordinarily deadly terrorist attacks against U.S. citizens and others. At all

relevant times, Hezbollah received substantial material support from Iran, including military and

logistics training, weapons, money, logistical and intelligence support, and other resources for acts

of torture, extrajudicial killing, and hostage taking, as those terms are used in the FSIA, 28 U.S.C.

§ 1605A(a)(1), that enabled Hezbollah to be a terrorist organization capable of recruiting terrorists

and committing terrorist acts. On January 23, 1995, pursuant to E.O. 12947, the United States

designated Hezbollah as an SDT. On October 8, 1997, Hezbollah was designated an FTO and

remains so-designated. On October 30, 2001, Hezbollah was designated as an SDGT under E.O.

13224 and remains so-designated.




                                                 11
       Case 1:24-cv-03244-LLA           Document 1         Filed 11/17/24      Page 18 of 154




                                   FACTUAL ALLEGATIONS

I.      Iran Provides Substantial Material Support to Hamas, PIJ, PFLP, Hezbollah, and the
        Houthis.

        41.     According to the U.S. State Department, Iran is “the leading state sponsor of

terrorism, facilitating a wide range of terrorist and other illicit activities around the world.” 11

        42.     Iran’s support, primarily through the IRGC, has facilitated the violence committed

by Hamas, which spearheaded the October 7 Attack, and by PIJ and the PFLP which joined the

Hamas-led October 7 Attack, and by Hezbollah, which attacked Israel on October 8 in solidarity

with the October 7 Attack.

        43.     Iran’s support includes money, weapons, ammunition, equipment, training,

logistics, and intelligence. Without that support, the October 7 Attack and the Subsequent Related

Attacks would not have been possible.

        A.      The Islamic Republic of Iran: “Death to America! Death To Israel!”

        44.     In 1979, the Islamic Republic of Iran came to power both through a popular

revolution and then through a series of referenda. From the beginning of the Islamic Republic,

Iran’s political and religious institutions were overseen by a single person, a religious leader who

is called “the Supreme Leader.” At the time of the 1979 revolution, Ayatollah Ruhollah Khomeini

was the Supreme Leader. Currently, the Supreme Leader is Ayatollah Ali Khamenei. They are the

only two to hold the title.

        45.     Iran’s political structure is bifurcated into two components: a formal governmental

structure and a revolutionary structure. The Supreme Leader oversees both aspects. Iran’s

president is subordinate to the Supreme Leader, but otherwise leads Iran’s formal governmental



11
         Country Reports on Terrorism at 4, U.S. DEP’T OF STATE, available at https://www.state.gov/wp-
content/uploads/2023/11/Country_Reports_on_Terrorism_2022-v3.pdf.



                                                   12
       Case 1:24-cv-03244-LLA               Document 1          Filed 11/17/24         Page 19 of 154




structure. The Supreme Leader oversees the revolutionary structure, which includes entities that

are parallel to the traditional government agencies within the formal government structure—for

example, the IRGC, which is parallel to the regular military of Iran.

        46.      The violent slogan “Death to America! Death to Israel!” has a long history in the

Islamic Republic of Iran. It also has current relevance. For example, on October 7, 2023, members

of Iran’s parliament chanted “Death to Israel!” in response to the Hamas-led October 7 Attack.12

Approximately one month later, on November 4, 2023, Iranian demonstrators on the streets of

Tehran repeated this chant to mark the anniversary of the 1979 takeover of the U.S. embassy in

Tehran. 13

        47.      The slogan is not merely symbolic political vitriol; it reflects Iran’s official policy.

Both Supreme Leaders Khomeini and Khamenei have referred to the United States as the “Great

Satan” and Israel (and the United Kingdom) as the “Little Satan” to be defeated.

        48.      Indeed, Iran actively seeks the eradication of Israel. Led by its leader Ali Khamenei,

the Iranian regime has supported terror attacks by Hamas and other Palestinian groups against

Israel, as part of its strategic aim to destroy Israel.

        49.      Khamenei has publicly proclaimed: “[W]e regard Palestine as an organ of our body,

and the support of the Palestinian nation is pride for the Iranian people... The Palestinian people

must continue the blessed Jihad [holy war] and its standing against the enemies of Islam... The

Hamas, [Palestinian] Islamic Jihad and Fatah forces [AAMB] must continue the struggle in a




12
       Giselle Ruhiyyih Ewing, Iran praises Hamas as attack reverberates around Middle East, POLITICO, Oct. 7,
2023, available at https://www.politico.com/news/2023/10/07/iran-praises-hamas-attack-israel-middle-east-0012
0491.
13
         “Death to Israel, death to America”: Iran marks anniversary of 1979 embassy takeover, TIMES OF ISRAEL,
Nov. 4, 2023, available at https://www.timesofisrael.com/death-to-israel-death-to-america-iran-marks-anniversary-of
-1979-embassy-takeover/.



                                                        13
          Case 1:24-cv-03244-LLA               Document 1           Filed 11/17/24          Page 20 of 154




united way... But, indeed, the only solution [to the crisis in the region] is the elimination of the

root of this crisis, which is the Zionist regime imposed on the region.” 14

          50.     In an October 4, 2000, message, Khamenei called on the Palestinian people to wage

terror attacks against Israel, stating:

                  I salute the entire Palestinian nation - particularly those who engage in jihad
                  and follow the path of Intifada. I would like to tell you that your movement
                  will receive increasing support from Muslims and revolutionaries. And by
                  Allah’s favor, you will eventually overwhelm the occupiers. The Islamic
                  Republic of Iran will proudly continue to support this holy movement and
                  the most pious people of Iran will continue to pray for your success. ‘If you
                  help (the cause of) Allah, He will help you and make your foothold firm
                  [The Holy Quran, 47:7].’ 15

          51.     In February 2012, a senior political leader of Hamas, Ismail Haniyeh, visited Iran. 16

During that visit, Iranian leader Khamenei hailed the “Palestinian Resistance.” Haniyeh declared

that Hamas will not recognize Israel and that it will continue fighting Israel until all the lands from

the Jordanian river to the Mediterranean Sea are liberated and the Palestinian refugees will return

to their lands. 17

          52.     On July 23, 2014, Khamenei declared, “From the day of its illegitimate birth, the

(Zionist) regime laid the foundations for overt violence.… The only solution is to destroy this




14
          Khabar TV, Iran (Oct. 20, 2000) (emphasis added). Emphasis added throughout unless otherwise indicated.
15
          Palestine; Selected Statements by Ayatollah Khamenei about Palestine 102 (Islamic Revolution Publishers)
(2012).
16
        Anthony H. Cordesman, The Gulf Military Balance: Volume I, The Conventional and Asymmetric
Dimensions at 160 (Center for Strategic and International Studies) (Jan. 31, 2014).
17
         Office of the Supreme Leader (Feb. 12, 2012), http://www.leader.ir/fa/content/9144/ -ήΒϫέ-ΎΑ-ϪϴϨϫ-ϞϴϋΎϤγ΍-έ΍ΪϳΩ
̶ϣϼγ΍-ΏϼϘϧ΍ (last visited Nov. 10, 2024); AL-JAZEERA (Qatar), Feb. 12, 2012, http://www.aljazeera.net/news/intern
ational/2012/2/12/ΔϳϮδΘϟ΍-Ϧϣ-αΎϤΣ-έάΤϳ-ϲΌϨϣΎΧ (last visited Nov. 10, 2024).



                                                           14
       Case 1:24-cv-03244-LLA               Document 1         Filed 11/17/24         Page 21 of 154




regime.… The solution is total armed resistance against this regime…Therefore, it is my belief

that the West Bank should be armed just like Gaza.” 18

        53.      On September 9, 2015, Khamenei urged Palestinians to resume terror attacks and

reject any appeasement with Israel, stating that “in 25 years, Israel would no longer exist.” He

expressed his readiness to back terror attacks against Israel until its expected destruction by

declaring that “during this period, the fighting Jihadi Islamic spirit will not give the Zionists even

a single moment of quiet.” 19

        54.      A 2017 letter from General Qassem Soleimani—then commander of the IRGC-

QF—to Hamas leader Ismail Haniyeh to congratulate him on being elected to be the head of

Hamas’s Political Bureau and thus Hamas’s overall leader, stated:

                 We look forward to strengthening cooperation with you, the allies of the
                 Axis of Resistance. Together, we will restore light on the Palestinian issue.
                 I sincerely hope that your jihad continues until the liberation of the Al-Aqsa
                 Mosque and all Palestinian land, and until Jerusalem becomes a meeting
                 place for all Muslims.

        55.      A 2020 statement by Khamenei reiterated Iran’s deep commitment to supporting

Hamas: “Iran will spare no effort to support the Palestinian people to restore their right and hold

off the evil schemes of the Zionist entity.” 20




18
         Middle East Media Research Institute, Iran’s Leader Khamenei: Armed Struggle Should Continue until Israel
Is Destroyed by a Referendum (July 23, 2014), available at https://www.memri.org/tv/irans-leader-khamenei-armed-
struggle-should-continue-until-israel-destroyed-referendum/.
19
        Middle East Media Research Institute, Iranian Supreme Leader Khamenei: “In 25 Years, There Will Be No
Such Thing as the Zionist Regime” (Sept. 9, 2015), available at https://www.memri.org/tv/iranian-supreme-leader-
khamenei-25-years-there-will-be-no-such-thing-zionist-regime/.
20
         Iran offers unconditional support to Hamas, Islamic Jihad, EURASIA PRESS AND NEWS, July 20, 2020,
available at https://www.eurasia.ro/2020/07/20/iran-offers-unconditional-support-to-hamas-islamic-jihad/.



                                                       15
       Case 1:24-cv-03244-LLA              Document 1          Filed 11/17/24        Page 22 of 154




        56.      A letter from General Soleimani sent prior to his assassination in 2020, called for

the annihilation of Israel and pledged that “Islamic Iran will never leave Palestine.” 21

        57.      On October 3, 2023, just days before the October 7 Attack, Khamenei stated in a

speech: “The honorable Imam [Khomeini], may God be pleased with him, described the usurper

[Zionist] regime as a cancer. This cancer will definitely be eradicated, God willing, at the hands

of the Palestinian people and the resistance forces throughout the region.” 22

        58.      More than mere encouragement, Iran has also provided substantial financial

support, weapons, ammunition, equipment, training, and logistical support to Hamas, PIJ, the

PFLP, and Hezbollah for the express purpose and intent to promote terrorist attacks by these

groups, as described further below.

        59.      A January 2021 statement by IRGC Aerospace Force commander Amir Ali

Hajizadeh boasted: “All the missiles you might see in Gaza and Lebanon were created with Iran’s

support.”

        60.      U.S. officials have described the Iranian regime as the world’s “central banker of

terrorism.” 23

        61.      The U.S. State Department’s Country Reports on Terrorism from 2016 through the

most recent report, regarding 2022, contain the following materially identical statement regarding

Iran’s support for terrorism. This example is from the most recent 2022 report:




21
        Middle East Media Research Institute, IRGC Qods Force Commander Qassem Soleimani in Letter Sent Prior
To His Death To Hamas Military Wing Commander Muhammad Deif: Despite The Pressures And Siege, Iran Will
Never Abandon Palestine (May 26, 2020), available at https://www.memri.org/reports/irgc-qods-force-commander-
qassem-soleimani-letter-sent-prior-his-death-hamas-military-wing.
22
        Available at https://english.khamenei.ir/news/10146/The-usurper-Zionist-regime-is-coming-to-an-end.
23
         Rice: Iran “Central Banker” For Terror, CBS NEWS, Mar. 16, 2006, available at
https://www.cbsnews.com/news/rice-iran-central-banker-for-terror/; Iranians Global Network, Iran Is “Central
Banker” For Terrorism (Oct. 4, 2018), available at https://iranians.global/iran-is-central-banker-for-terrorism/.



                                                       16
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24        Page 23 of 154




                Iran continued its support for terrorist activity in 2022, including support
                for Hizballah, U.S.-designated Palestinian terrorist groups in the West Bank
                and Gaza, and various terrorist and militant groups in Bahrain, Iraq, Syria,
                and throughout the Middle East. Iran used the Islamic Revolutionary Guard
                Corps-Qods Force (IRGC-QF) to provide support to terrorist organizations,
                provide cover for associated covert operations, and create instability in the
                region. Iran has acknowledged the involvement of the IRGC-QF in the Iraq
                and Syria conflicts, and the IRGC-QF is Iran’s primary mechanism for
                cultivating and supporting terrorist activity abroad.

                …

                In 2022, Iran continued providing weapons systems and other support to
                Hamas and other U.S.-designated Palestinian terrorist groups, including
                Palestine Islamic Jihad and the Popular Front for the Liberation of Palestine-
                General Command. These groups were behind numerous deadly attacks
                originating in Gaza and the West Bank. 24

        B.      The IRGC and Its Quds Force Form the Axis of Resistance.

        62.     Iran often provides material support to Foreign Terrorist Organizations through the

IRGC and its Quds Force.

        63.     The IRGC was established in the immediate wake of the 1979 Iranian revolution.

The IRGC defines itself as an agent of the Supreme Leader, to which it pledges its unflinching

loyalty. The IRGC leadership and the Supreme Leader both frequently speak about the IRGC as

the guardian of the principles of the revolution. The IRGC is dedicated to spreading fundamentalist

(Shi’a) Islamist principles throughout the world and establishing fundamentalist Islamist

governments in nations other than Iran.

        64.     The IRGC has its own military branches—an army, air force, navy—the purposes

of which are not to defend Iran’s borders, but to protect and advance the Islamic revolution,

including through paramilitary operations in the Middle East.




24
         Country Reports on Terrorism at 205, 206, U.S. DEP’T OF STATE, available at https://www.state.gov/wp-
content/uploads/2023/11/Country_Reports_on_Terrorism_2022-v3.pdf.



                                                     17
       Case 1:24-cv-03244-LLA            Document 1         Filed 11/17/24       Page 24 of 154




        65.     The IRGC also has a domestic militia, the Basij paramilitary force, with

approximately 600,000 members.

        66.     The IRGC also holds a controlling number of positions in the Iranian government

and its economy. IRGC veterans have served as governors of many of Iran’s thirty-one provinces.

        67.     The IRGC also controls many companies spanning a wide range of industries,

including petroleum production, construction, nuclear power, banking, and others—some of the

proceeds from which the IRGC uses for illicit purposes, including funding terrorism.

        68.     By one U.S. government estimate, the IRGC has between 150,000 and 190,000

personnel—not including the domestic militia.

        69.     The Quds Force is also one of the IRGC’s branches. Among its roles are to

establish, fund, equip, and train foreign Islamic revolutionary groups, including Hezbollah, Hamas,

PIJ, and others.

        70.     In essence, the IRGC-QF is charged with cultivating and supporting pro-Iran

proxies in foreign countries and coordinating with these militant groups to conduct terrorist

attacks.

        71.     According to the U.S. State Department’s most recent Country Reports on

Terrorism, “the IRGC-QF and the Ministry of Intelligence and Security remained Iran’s primary

actors involved in supporting terrorist recruitment, financing, and plotting across Africa, Asia,

Europe, and North and South America.” 25

        72.     By using groups as proxies, Iran has sought to achieve its goals in other regions

while simultaneously, if implausibly, denying responsibility for their actions.




25
         Country Reports on Terrorism 2022 at 5, U.S. DEP’T OF STATE, available at https://www.state.gov/wp-
content/uploads/2023/11/Country_Reports_on_Terrorism_2022-v3.pdf.



                                                    18
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24     Page 25 of 154




          73.   The leader of the IRGC-QF reports directly to the Supreme Leader.

          74.   General Soleimani was the leader of the IRGC-QF from 1998 until January 2020,

when he was assassinated by the United States. He was then succeeded by the current leader,

Esmail Qaani.

          75.   The IRGC-QF is responsible for providing material support to terrorist

organizations around the world. For example, the IRGC-QF provided the Taliban with small arms,

ammunition, rocket propelled grenades, mortars, plastic explosives, and more, intending to kill

and wound U.S. and NATO forces in Afghanistan. The IRGC-QF also supplied weapons and

training to Iraqi militias for use against U.S. and Coalition Forces following the U.S.-led invasion

of Iraq in 2003, including the use of explosively formed penetrators, improvised rocket assisted

munitions, rocket-propelled grenades, sniper fire, mortars, and operational and computer security.

The IRGC-QF also provided training and weapons to the Syrian military and pro-Assad forces,

and IRGC-QF troops and paramilitary volunteers fought on behalf of the Assad regime. The IRGC-

QF has also operated in Nigeria and Venezuela, and has attempted assassinations in the United

States.

          76.   Most relevant here, the IRGC-QF is the primary conduit through which Iran

provides Hamas, PIJ, Hezbollah, the PFLP, and the Houthis with material support in the form of

weapons, training, logistics, intelligence, and financing.

          77.   The IRGC-QF also manages the above-mentioned “Axis of Resistance”—a semi-

formal alliance among and between Iran, Syria, Hezbollah, Palestinian terror groups (e.g., Hamas,

PIJ, and the PFLP), Iraqi Shi’a militias, and the Houthis.

          78.   Although the members of the Axis of Resistance have their own interests, they work

together (under the direction of the IRGC-QF, with its coordination and material support) toward




                                                 19
       Case 1:24-cv-03244-LLA              Document 1         Filed 11/17/24         Page 26 of 154




the shared goals of weakening and, ultimately, destroying Israel and imposing costs on the United

States (including killing and injuring U.S. citizens) for seeking to maintain its influence in the

region—with the goal of expanding Iranian influence in the Middle East.

        79.      Since the Syrian civil war broke out in 2011-2012, the IRGC-QF has engaged in a

massive effort to support the Assad regime by providing weapons, financing, and logistics, training

Syrian forces, recruiting and training foreign fighters, and conducting military operations against

anti-Assad (mostly Sunni) forces.

        80.      Since the U.S.-led invasion of Iraq in 2003, the IRGC-QF has established, trained,

armed and funded various Shi’a militia to attack U.S. and Coalition Forces operating in Iraq and

later to subvert and subsume the Iraqi government and complete Iraq’s transformation into an

Iranian client state.

        81.      And as described further below, the IRGC-QF is also the primary conduit through

which Hamas, PIJ, Hezbollah, the PFLP, and the Houthis receive Iranian financing, weapons,

equipment, training, and logistics support.

        82.      In October 2007, the U.S. State Department designated the IRGC-QF under E.O.

13224, noting its material support to Hamas, PIJ, the PFLP and “a long history of supporting

Hizballah’s military, paramilitary, and terrorist activities” among other terrorist groups. 26

        83.      In 2017, Congress reaffirmed these findings in the Countering America’s

Adversaries Through Sanctions Act, Pub. L. 115-44, § 105(a), 131 Stat. 886, 892 (2017):

                 The Iranian Revolutionary Guard Corps-Quds Force (in this section referred
                 to as the “IRGC-QF”) is the primary arm of the Government of Iran for
                 executing its policy of supporting terrorist and insurgent groups. The IRGC-
                 QF provides material, logistical assistance, training, and financial support
                 to militants and terrorist operatives throughout the Middle East and South
26
        Fact Sheet, Designation of Iranian Entities and Individuals for Proliferation Activities and Support for
Terrorism, U.S. DEP’T OF STATE (Oct. 25, 2007), available at https://2001-2009.state.gov/r/pa/prs/ps/2007/
oct/94193.htm.



                                                      20
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24        Page 27 of 154




                Asia and was designated for the imposition of sanctions ... in October 2007
                for its support of terrorism.

As part of the same Act, Congress also extended these findings to the IRGC itself:

                The IRGC, not just the IRGC-QF, is responsible for implementing Iran’s
                international program of destabilizing activities, support for acts of
                international terrorism, and ballistic missile program.

        84.     In April 2019, the U.S. State Department designated the IRGC in its entirety

(including the IRGC-QF) as an FTO stating that “the designation highlights that Iran is an outlaw

regime that uses terrorism as a key tool of statecraft and that the IRGC, part of Iran’s official

military, has engaged in terrorist activity or terrorism since its inception 40 years ago.” 27

        85.     At all relevant times, Iran, including through the IRGC, has provided Hamas, PIJ,

the PFLP and Hezbollah with substantial material support and resources for the commission of

terrorist acts, within the meaning of 28 U.S.C. § 1605A, including the October 7 Attack and the

Subsequent Related Attacks.

        C.      Hamas’s Development and Iran’s Support for Hamas Prior to October 7.

        86.     Hamas is the most significant and deadly Palestinian terror organization.

        87.     Hamas was formed in the Gaza Strip in December 1987 by Sheikh Ahmed Yassin

and six others as an outgrowth of the Muslim Brotherhood and has the declared goals of globalizing

Islam through violent jihad (holy war), eliminating Israel, and establishing an Islamist state that

covers present-day Israel, the Gaza Strip, and the West Bank.

        88.     For example, Hamas’s original 1988 charter states that “[t]here is no solution to the

Palestinian problem except by Jihad.” The document is also replete with xenophobic, antisemitic

references and openly calls for a genocidal war of ethnic cleansing against Jews in “Palestine.” In



27
         Fact Sheet, Designation of the Islamic Revolutionary Guard Corps, U.S. DEP’T OF STATE (Apr. 8, 2019),
available at https://2017-2021.state.gov/designation-of-the-islamic-revolutionary-guard-corps/.



                                                     21
       Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24   Page 28 of 154




October 1988, in an interview to the Kuwaiti newspaper al-Anbaa, Khalil al-Quqa, who was then

considered to be the aide of Sheikh Yassin, said: “Allah gathered the Jews in Palestine not for them

to have a homeland, but with the intent that it will become their mass grave.” In the Jordan Times,

on October 12, 1997, an article quoted Yassin as saying, “Hamas’s goal is to establish an Islamic

state on the ruins of Israel.”

        89.     Because of Hamas’s history of conducting terror attacks, as noted above, the United

States designated Hamas as an SDT in 1995, under E.O. 12947; an FTO in 1997, under 8 U.S.C.

§ 1189; and an SDGT in 2001, under E.O. 13224. In addition, the United States has designated

numerous Hamas leaders and fundraisers as Specially Designated Nationals, thereby freezing their

assets, as a result of their activities for Hamas.

        90.     Since its inception, Hamas has seen itself as a direct competitor to the Palestine

Liberation Organization (PLO) and the Palestinian Authority (PA), which the PLO established as

part of the Oslo Peace Accords in the early 1990s.

        91.     Even before the Oslo Peace Accords, Hamas made great (and largely successful)

efforts to take over the student councils at universities throughout the West Bank and Gaza by

developing its student organization, the “Islamic Bloc” (Al-Kutla al-Islamiya). Hamas also

prioritized taking over trade unions, commercial organizations, and the bureaucracies that control

Palestinian communications institutions (such as the Palestinian Journalists’ Syndicate). It also

took control of the United Nations Relief and Works Agency for Palestine Refugees in the Near

East (“UNRWA”) in Gaza as well as various purported charitable societies and so-called “zakat”

(tithing) committees in the West Bank.

        92.     Hamas historically operated in the Palestinian Territories (the Gaza Strip and the

West Bank), Lebanon, and Syria. It was formally pushed out of Jordan in the late 1990s (but




                                                     22
        Case 1:24-cv-03244-LLA        Document 1        Filed 11/17/24     Page 29 of 154




continues to operate clandestinely there) and currently maintains significant operations in Turkey,

Qatar, and Algeria.

        93.    In 2006, Hamas won the general PA elections in Gaza, attaining a parliamentary

majority, and in 2007 it seized power in Gaza after a violent coup (it has held no elections since).

Its takeover of Gaza resulted in the expulsion of the PA security services from the Gaza Strip in

May-June 2007. From that point in time forward, Hamas maintained absolute political and military

control of the Gaza Strip.

        94.    Politically, Hamas is governed by a main Political Bureau (or Politburo) of

approximately 15 members. From 1996 until May 2017 the Chairman was Khaled Mashal. Ismail

Haniyeh then served as Chairman from May 2017 until his assassination in July 2024. In August

2024, Yahya Sinwar was selected as Chairman, and he served until he was killed on October 16,

2024.

        95.    Hamas’s main Political Bureau is elected by a Shura Council, which comprises

members from the four local political bureaus, one each for Gaza, the West Bank, prisoners in

Israel, and the diaspora.

        96.    Yahya Sinwar led the Gaza Political Bureau (replacing Ismail Haniyeh) from

February 2017 until he was chosen as head of Hamas’s main Political Bureau in August 2024 after

Haniyeh’s death.

        97.    Hamas’s social network raises funds through “charitable” contributions. It attained

its widespread power in the Palestinian Territories by providing social services to Palestinian

communities while also providing regular employment for Hamas leaders and field commanders.

        98.    Moreover, Hamas has used the mosques, schools, orphanages, medical clinics,

sports leagues, and summer camps under its control to indoctrinate Palestinians in the Muslim




                                                23
       Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24       Page 30 of 154




Brotherhood’s ideology, to recruit young Palestinians into the ranks of Hamas, to incite violence

against Israelis (and Jews specifically) and to provide logistical and operational support for its core

terror apparatus, the Qassam Brigades.

        99.    The Qassam Brigades commits murderous attacks within Israel, the West Bank,

and Gaza. The Qassam Brigades were founded at the start of the 1990s and, before the October 7

Attack, numbered more than thirty thousand terrorists. They were directly subordinate to the top

Hamas leadership, particularly in the Gaza Strip. They were (and are) responsible for perpetrating

terror attacks for Hamas, and they have murdered thousands of Israeli civilians and numerous U.S.

citizens.

        100.   Hamas proudly proclaims its strategies of using violent attacks to terrorize the

civilian population and to influence government officials in Israel and the United States. Since its

founding, Hamas has launched numerous violent attacks, including bombings, suicide attacks,

rocket attacks, shootings, stabbings, and vehicular attacks, in support of that aim.

        101.   The Qassam Brigades are infamous for their suicide terror attacks. To take just a

small set of examples: in 1996, Hamas suicide bombers killed 45 people in two separate bombings

of buses on Jaffa Road in Jerusalem. In June 2001, a Hamas suicide bomber attacked the

Dolphinarium disco in Tel Aviv, killing 21, the majority of whom were teenagers, and wounding

more than 100. In August 2001, a Hamas suicide bombing of a Sbarro pizzeria in Jerusalem killed

16 people, including three Americans, and wounded approximately 130. In December 2001, two

Hamas suicide bombers perpetrated an attack on Ben Yehuda Street in Jerusalem killing 11 and

wounding approximately 188. In March 2002, a Hamas suicide bomber attacked a Passover seder

at a hotel in Netanya, which included many elderly survivors of the Holocaust, killing 30 people

and wounding approximately 140. In June 2002, a Hamas suicide bomber blew up bus 32A in




                                                  24
      Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24     Page 31 of 154




Jerusalem killing 19 and wounding approximately 50. In March 2003, a Hamas suicide bomber

blew up bus 37 in Haifa, killing 17 and injuring approximately 53. In June 2003, a Hamas suicide

bomber blew up bus 14A in Jerusalem killing 17 and wounding approximately 100.

       102.    From 2007 through the October 7 Attack, Hamas also fired thousands of rockets at

Israeli civilian targets, killing and wounding scores of civilians, some of whom were U.S. citizens.

       103.    In the years leading up to the October 7 Attack, Hamas also expanded its efforts at

hostage taking to gain leverage in negotiations with the Israeli government. Infamously, Hamas

held kidnapped IDF soldier Gilad Shalit hostage for more than five years, until his release in

October 2011, in exchange for 1,027 terrorists held by Israel. One of those exchanged prisoners

was Yahya Sinwar who would go on to lead Hamas and mastermind the October 7 Attack. In 2014,

Hamas also kidnapped, and murdered, three teenagers, including a U.S. citizen.

       104.    Since 2007, when Hamas first seized control of the Gaza Strip, it has successfully

subordinated the other prominent terrorist organizations that operate in its territory, most notably

PIJ, the PFLP, AAMB, and the PRC.

       105.    The first three are political rivals of Hamas. The PRC is largely a creature of

Hamas’s creation. But all of them are able to set aside their differences for the common goal of

attacking Israel.

       106.    In July 2018, Hamas established a Joint Operations Room in Gaza which effectively

placed PIJ, the PFLP, the PRC and other terrorist organizations under its operational control in the

Gaza Strip.

       107.    These organizations then participated in the annual “Strong Pillar” paramilitary

exercises under Hamas’s sponsorship, which included drills in which attacks against Israeli

military structures and kidnappings were staged.




                                                25
       Case 1:24-cv-03244-LLA               Document 1           Filed 11/17/24         Page 32 of 154




        108.     As a result, both during the October 7 Attack and in the months of conflict in Gaza

that followed, PIJ (and other Gaza-based terrorist organizations) largely acted under the direction

and command of Hamas’s Qassam Brigades while maintaining its unique organizational identity.

        109.     As noted above, Iran’s substantial material support for Hamas is longstanding.

Starting in the early 1990s, Hamas staged a representative in the Iranian capital of Tehran. Over

the next 20-plus years, Iran provided material support to Hamas that has been well-documented,

including in numerous court decisions. 28

        110.     A February 6, 2004, Congressional report noted that Hamas received financial aid

from Iran, which, according to one estimate, was ten percent of Hamas’s annual budget. 29

        111.     In December 2006, after Hamas won a majority of the legislative seats for the PA,

Hamas’s then “Prime Minister,” Ismail Haniyeh, visited Tehran, where he met with Supreme

Leader Ayatollah Khamenei and President Mahmoud Ahmadinejad. Iran reportedly gave Hamas

$250 million.

        112.     After Hamas violently assumed control of the Gaza Strip in 2007, three weeks of

conflict broke out between Israel and Hamas beginning in December 2008 and lasting through

January 2009.

        113.     Iran then increased its aid to Hamas, including by providing more advanced rockets.

“The victory of the people of Gaza was a miracle of God, and the Islamic Republic definitely has

a share in this victory,” said Khaled Mashal, head of Hamas’s Political Bureau at that time. 30


28
         See, e.g., Bennett v. Islamic Republic of Iran, 507 F. Supp. 2d 117, 123-24 (D.D.C. 2007); Stern v. Islamic
Republic of Iran, 271 F. Supp. 2d 286, 292-295 (D.D.C. 2003); Weinstein v. Islamic Republic of Iran, 184 F. Supp.
2d 13, 21-22 (D.D.C. 2002).
29
          Congressional Research Service, Foreign Terrorist Organizations at 28-29 (Feb. 6, 2004), available at
https://fas.org/irp/crs/RL32223.pdf.
30
         Wilson Center, Iran, Hamas & Palestinian Islamic Jihad,                 Oct.   11,   2023,   available   at
https://www.wilsoncenter.org/article/iran-hamas-and-palestinian-islamic-jihad.



                                                        26
       Case 1:24-cv-03244-LLA                 Document 1          Filed 11/17/24          Page 33 of 154




         114.     In February 2012, Ismail Haniyeh, then one of Hamas’s most senior political

leaders in Gaza, visited Iran. 31 During that visit, Iranian leader Khamenei hailed the Palestinian

Resistance. 32

         115.     The IRGC-QF has provided Hamas and PIJ with Fajr-5 artillery rockets, among

other munitions, since at least 2012, and Syrian-made 302-millimeter rockets since at least 2014.

         116.     In November 2012, Ali Baraka, Hamas’s representative in Lebanon, stated in a

television interview that Iran was the principal military and financial supporter of the majority of

the Palestinian organizations in the Gaza Strip. Baraka further stressed that the ties between Hamas

and Iran were strategic and continued even after Hamas adopted its position opposing the Iran-

backed Syrian regime. Baraka claimed that during Israel’s Operation Pillar of Defense, which

occurred in November 2012, a senior Iranian official had contacted him daily for updates and had

relayed that Iran was ready to provide military and other material support during the operation, in

the name of its ideological and moral commitment to the cause.

         117.     On November 21, 2012, Khaled Mashal, then Chairman of the Hamas Political

Bureau, thanked Iran for its role in arming and funding Hamas in the Gaza Strip. At a press

conference in Cairo, Egypt, shortly before the announcement of a ceasefire agreement between

Israel and the Palestinian factions in Gaza, Mashal said that he was grateful for the Iranian role in

aiding Gaza and thanked Iran for “arms and funding.” 33




31
        Anthony H. Cordesman, The Gulf Military Balance: Volume I, The Conventional and Asymmetric
Dimensions at 160, Center for Strategic and International Studies, Jan. 31, 2014.
32
         Office of the Supreme Leader (Feb. 12, 2012), available at http://www.leader.ir/fa/content/9144/-ϞϴϋΎϤγ΍-έ΍ΪϳΩ
̶ϣϼγ΍-ΏϼϘϧ΍ -ήΒϫέ-ΎΑ-ϪϴϨϫ (last visited Nov. 10, 2024); AL-JAZEERA (Qatar), Feb. 12, 2012, available at
http://www.aljazeera.net/news/international/2012/2/12/ΔϳϮδΘϟ΍-Ϧϣ-αΎϤΣ-έάΤϳ-ϲΌϨϣΎΧ.
33
         Israeli Ministry of Foreign Affairs, Iranian Weapons in Gaza (Nov. 22, 2012), available at
http://mfa.gov.il/MFA/ForeignPolicy/Iran/SupportTerror/Pages/Iranian_weapons_in_Gaza_22-Nov-2012.aspx.



                                                         27
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24        Page 34 of 154




        118.    Iranian support for Hamas increased again in 2013 and 2014. “The U.S. State

Department’s Country Report on Terrorism 2014 notes that Iran is not shy about its willingness to

finance Hamas. ‘Since the conclusion of [Operation Protective Edge] … Iranian governmental

officials have publicly stated their willingness to resume Iran’s military support of Hamas.’ The

report goes on to note that ‘historically, Hamas has received funding, weapons, and training from

Iran.’” 34

        119.    In 2014, Reuters reported that, according to diplomatic sources, Iran had previously

given Hamas $250 million per year.

        120.    In September 2015, the Times of Israel reported, “Iran has sent suitcases of cash—

literally—to Hamas’s military wing in Gaza…. [Iran] handed over the suitcases [of cash], by way

of couriers, directly to the leaders of [Hamas]’s military wing in the Gaza Strip.”

        121.    The U.S. Department of State confirmed in its 2014 Country Reports on Terrorism

that “Iran continued to sponsor terrorist groups around the world, principally through its Islamic

Revolutionary Guard Corps-Quds Force (IRGC-QF). These groups included Lebanese Hizballah,

several Iraqi Shia militant groups, [and] Hamas ….” 35

        122.    Furthermore, during the 2014 Israel-Hamas conflict, IRGC-QF commander

Qassem Soleimani sent a message to Palestinian terror groups in which he pledged his support for

Hamas and groups in their fight against Israel:

                Greetings to my brothers, political heads of Hamas and Islamic Jihad and
                all the Resistance groups… Greeting to commanders and operatives of [Izz
                al-Din] Al-Qassam (Hamas’s military wing), Saraya Al-Quds [Palestine
                Islamic Jihad’s military wing], Abu Ali Mostafa [PFLP], Nasser Salaheddin

34
         See Fraenkel v. Islamic Republic of Iran, 248 F. Supp. 3d 21, 29-30 (D.D.C. 2017) (subsequent history
omitted) (quoting Country Reports on Terrorism 2014, U.S. DEP’T OF STATE, available at
https://www.state.gov/documents/organization/239631.pdf).
35
       Country Reports on Terrorism 2014, at 8, U.S. DEP’T OF STATE, available at https://www.state.gov/
documents/organization/239631.pdf.



                                                     28
       Case 1:24-cv-03244-LLA              Document 1         Filed 11/17/24         Page 35 of 154




                 [Popular Resistance Committees], Al-Aqsa Martyrs Brigades [Fatah]…
                 Just like in the past we have put into action our religious duty to support the
                 resistance, we will continue this duty and will push on with our support and
                 aid until the moment of victory, until the resistance on the ground, in the air
                 and sea will be transformed into a hell for the Zionists. The murderers and
                 the mercenaries should know that we will not withhold not even for a minute
                 our support for the resistance and our standing behind the Palestinian nation,
                 and that we don’t have a grain of hesitation in this regard. 36

        123.     In December 2014, the spokesman of Hamas’s military wing, Abu ‘Ubaida,

publicly thanked Iran for its funding and weapons:

                 [W]e have only to thank those whom Allah enlisted to take part in this
                 development... first and foremost the Islamic Republic of Iran, which did
                 not withhold from us funds, weapons and [other forms of aid] and helped
                 us in our resistance by supplying us with missiles that pulverized the Zionist
                 strongholds during the attacks and battles we waged against the occupier,
                 and also supplied us with quality anti-tank missiles that crushed the
                 legendary Zionist Merkava [tank]. 37

        124.     The Hamas–Iran relationship was affected by the Syrian civil war. Iran supported

the Assad regime, which was fighting a brutal campaign against largely Sunni anti-Assad forces.

The Assad regime (with massive support from the IRGC-QF) committed countless atrocities

against its own Syrian civilians (including deploying poison gas against them).

        125.     Hamas, a radical Sunni supremacist organization, refused to support Assad (a

longtime patron of Hamas) in his war against Syria’s Sunni population and in some cases, actively

contributed to the fight against the regime, a decision in tension with Iran’s interests.




36
          The Jerusalem Center for Public Affairs, Iran’s IRGC Quds Force Commander: “The Palestinian Resistance
Movement Will Make the Sea, the Land, and Skies into Hell for the Zionists” (July 31, 2014), available at
http://jcpa.org/irans-revolutionary-guard/; Fars (Iran) (July 31, 2014), https://www.farsnews.com/printable.php?
nn=13930509000094 (in Farsi).
37
         Middle East Media Research Institute, Hamas Senior Officials At Movement’s 27th Anniversary
Celebrations: We Will Not Recognize Zionist Entity Or Be Satisfied With A Palestinian State Within 1967 Borders;
We Thank Iran For Supplying Us With Weapons, Missiles (Dec. 16, 2014), available at
https://www.memri.org/reports/hamas-senior-officials-movements-27th-anniversary-celebrations-we-will-not-recog
nize-zionist.



                                                      29
       Case 1:24-cv-03244-LLA               Document 1          Filed 11/17/24         Page 36 of 154




        126.     Although the relationship was somewhat strained during this period, Hamas and

Iran continued to maintain strong ties, and the IRGC-QF continued to provide Hamas with funding,

training, weapons, and other logistical and material support.

        127.     In August 2017, Yahya Sinwar, until recently Hamas’s most senior leader in the

Gaza Strip, stated, “Hamas continues to train its people for the mission of liberated Palestine, and

the Iranian Islamic Republic plays a central role in all that’s related to this goal through financial

and military aid and providing training for the Izz al-Din al-Qassam Brigades.” 38

        128.     Sinwar also declared, in August 2017, that “[r]elations with Iran are excellent and

Iran is the largest supporter of the Izz [a]l-D[i]n al-Qassam Brigades with money and arms.” 39

        129.     Documents recently seized from Hamas offices in Gaza make clear that Iranian

support for Hamas took on many forms, including non-lethal training. For example, attached as

Exhibit 1 to the Complaint is a letter from Yahya Sinwar to the HR Department of the Qassam

Brigades dated September 9, 2019.

        130.     In the letter, Sinwar informs the administrative staff of Hamas’s terror apparatus

that Iran is offering scholarships (in Iran) to 18 Qassam Brigades operatives–twelve to receive

bachelor’s degrees, four to receive master’s degrees and two to be selected for doctorates.

        131.     Sinwar notes that fields of study will include: “computer engineering,

programming, Farsi studies, political science, special forces, naval forces, or any specialty needed

by the divisions and the specialties.” Only terror operatives with a grade point average above 80%

would be considered for the BA program.


38
        Lt.-Col. (ret.) Michael Segall, Hamas: Qassem Soleimani Gave Us Suitcases Stuffed with $22 Million Cash,
JCFA, Jan. 7, 2021, available at https://jcpa.org/hamas-qassem-soleimani-gave-us-suitcases-stuffed-with-22-million-
cash/.
39
         After Syria fall-out, Hamas ties with Iran restored – Hamas Chief, REUTERS, Aug. 28, 2017, available at
https://www.reuters.com/article/world/after-syria-fall-out-hamas-ties-with-iran-restored-hamas-chief-idUSKCN1B8
1LK/.



                                                        30
       Case 1:24-cv-03244-LLA                 Document 1          Filed 11/17/24          Page 37 of 154




         132.     The U.S. State Department’s yearly Country Reports on Terrorism from 2016 to its

most recently published 2022 report all state that Iran provides support to Hamas, often specifying

that the support included weapons, funding, and training. 40

         133.     The U.S. State Department’s yearly Country Reports on Terrorism for 2020 noted

that “,UDQDOVRSURYLGHVXSWRௗPLOOLRQDQQXDOO\LQFRPELQHGVXSSRUWWRPalestinian terrorist

groups, including Hamas, Palestine Islamic Jihad, and the Popular Front.” 41

         D.       Iran Provided Material Support to Palestinian Islamic Jihad (PIJ).

         134.     PIJ was founded in or around 1980-81 by Fathi Shiqaqi and Abd al-Aziz Awda

(also known as Sheikh Obdeh).

         135.     PIJ seeks “the establishment of an Islamist Palestinian state and the destruction of

the state of Israel. The Islamic Jihad believes Palestinian liberation and the seizure of Jerusalem

for the Islamic world would serve as a catalyst for a wider Islamic revolution across the Arab and

Muslim world.” 42

         136.     Shiqaqi and Awda were residents of Gaza who professed admiration for the Iranian

Revolution.


40
         Country Reports on Terrorism 2016 at 304, U.S. DEP’T OF STATE, available at https://www.state.gov/wp-
content/uploads/2019/04/crt_2016.pdf; Country Report on Terrorism 2017 at 218, available at https://www.state.gov/
wp-content/uploads/2019/04/crt_2017.pdf; Country Reports on Terrorism 2018 at 212, available at https://www.sta
te.gov/wp-content/uploads/2019/11/Country-Reports-on-Terrorism-2018-FINAL.pdf; Country Reports on Terrorism
2019 at 199, available at https://www.state.gov/wp-content/uploads/2020/06/Country-Reports-on-Terrorism-2019-
2.pdf; Country Reports on Terrorism 2020 at 200, available at https://www.state.gov/wp-content/uploads
/2021/07/Country_Reports_on_Terrorism_2020.pdf; Country Reports on Terrorism 2021 at 214, available at
https://www.state.gov/wp-content/uploads/2023/02/Country_Reports_2021_Complete_MASTER.no_maps-011323-
Accessible.pdf; Country Reports on Terrorism 2022 at 206, available at https://www.state.gov/wp-content/uploads
/2023/11/Country_Reports_on_Terrorism_2022-v3.pdf.
41
         Country Reports on Terrorism 2020 at 304, U.S. DEP’T OF STATE, available at
https://www.state.gov/reports/country-reports-on-terrorism-2020/. See also the 2022 report at 277: “Iran provides up
to $100 million annually in combined support to Palestinian terrorist groups, including Hamas, Palestine Islamic Jihad,
and the Popular Front for the Liberation of Palestine-General Command.” https://www.state.gov/reports/country-
reports-on-terrorism-2022/.
42
        “Palestinian Islamic Jihad (Islamic Jihad),” attachment to “Palestinian Islamic Jihad Listed as a Terrorist
Organization,” Office of the Australian Attorney General, Media Release 055/2004, May 3, 2004.



                                                         31
           Case 1:24-cv-03244-LLA             Document 1           Filed 11/17/24          Page 38 of 154




           137.   In 1981, Shiqaqi wrote a book about his admiration of the Islamic Republic of

Iran. 43

           138.   Following the assassination of Egyptian President Anwar Sadat in 1981, Shiqaqi

was expelled from Egypt and returned to Gaza, where he formally established PIJ.

           139.   After the start of the Palestinian uprising against Israel in December 1987 known

as the First Intifada, PIJ openly and loudly proclaimed the need for terrorist attacks on Israeli

civilians. Consequently, the Israeli government expelled Shiqaqi and Awda to Lebanon in 1988,

where they formed close relationships with Hezbollah and held press conferences with Iranian

officials.

           140.   Since 1988, scores of PIJ operatives from the Palestinian Territories have received

Iranian military and terrorist training at bases run by the IRGC in Lebanon and in Iran itself. Iran

has provided PIJ with explosives and weapons, as well as the training required to use them.

           141.   Unlike Hamas, PIJ made little effort to develop a social and educational

infrastructure or attract a mass following. Shiqaqi believed that a campaign of spectacular terrorist

attacks against Israel in the name of revolutionary Islam would inspire a popular revolt. Even

though both groups grew out of the Muslim Brotherhood, PIJ minimized the role of social activity

in favor of militant activity, while Hamas gave prominence to social welfare activity and

proselytizing, even as it engaged in lethal terror campaigns.

           142.   PIJ’s operatives soon began training at Hezbollah camps in Lebanon, under the

supervision of the IRGC-QF, and carried out some joint operations with Hezbollah against Israeli

forces in south Lebanon during the 1990s.


43
          PIJ and Hamas were fierce rivals in the late 1980s and early 1990s, largely a result of ideological differences
relating to PIJ’s affinity for—and Hamas’s rejection of—Iran’s central ideology, the principle of waliyat al faqih, that
is, rule by the (Shi’a) clerisy. PIJ and Hamas have since worked together with the shared goal of attacking (and
destroying) Israel.



                                                          32
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24        Page 39 of 154




        143.    In 1993, Shiqaqi acknowledged that he received Iranian funding and channeled it

to operatives in Gaza and the West Bank. “Iran gives us money and supports us,” he said in an

interview with Newsday, “then we supply the money and arms to the occupied territories and

support the families of our people. Just about all of it goes there because that’s where most of our

organization is.” 44

        144.    PIJ has long been known for executing terrorist attacks targeting Israeli civilians.

For example, in 1995, PIJ claimed responsibility for a deadly string of terrorist attacks, including

twin suicide bombings in January that killed twenty-two people in Beit-Lid, an attack in April that

killed eight people in Kfar Darom, and a suicide bombing in August that killed five people in

Jerusalem.

        145.    By 1996, Iran’s support for PIJ was at least several million dollars per year, if not

more, and increased in the years since, despite the organization’s relatively small size.

        146.    Because of PIJ’s history of conducting terror attacks, as indicated above, the United

States designated PIJ as an SDT in 1995 under E.O. 12947; an FTO in 1997 under 8 U.S.C. §

1189; and an SDGT in 2001 under E.O. 13224. In addition, the United States has designated

numerous PIJ leaders and fundraisers as Specially Designated Nationals, thereby freezing their

assets, as a result of their activities for PIJ.

        147.    In June 2002, PIJ leader Ramadan Abdullah Shallah met with Iran’s Supreme

Leader Ayatollah Ali Khamenei, who reportedly pledged to increase funds by 70 percent to cover

expenses for suicide bombings. “The Palestinian Islamic Jihad is another fruit of the Ayatollah

Khomeini’s fructuous tree,” Shallah reportedly said during his visit to Tehran.




44
        “Terrorism Inc.: Islamic Jihad Founder Admits Funding by Iran,” NEWSDAY, Apr. 11, 1993.



                                                     33
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24        Page 40 of 154




        148.    During one of the brief conflicts between Israel and Gaza-based terrorist

organizations in 2012, Iran supplied PIJ with Fajr-5 rockets.

        149.    Ziad al Nakhala, PIJ’s deputy chairman at the time, stated to the Paltoday website

that: “We would like to thank our brothers in Iran for the great sacrifices they made to deliver this

weapon to us for the sake of defending the Palestinian people.” The weapons were delivered to the

Gaza Strip via Egypt, he added, noting that Iran-pledged shipments would continue in the future.

“The weapons used by the resistance [PIJ] – the whole world knows that they come mostly from

Iran or were purchased with Iranian funding,” Shallah said. 45

        150.    That same year, PIJ relocated its headquarters from Damascus to Tehran due to the

civil war in Syria.

        151.    In May 2013, PIJ spokesman Daoud Shihab told al-Monitor, “All of the weapons

in Gaza are provided by Iran, be they weapons intended for the Hamas movement or for the PIJ ...

everyone knows that Iran is financing us.” Shihab insisted that, of the many Arab and Muslim

factions that support Palestinian militancy, “the largest share of this financial and military support

is coming from Iran.” 46

        152.    In February 2014, Iranian officials hosted a PIJ delegation. PIJ’s delegation met

with Iranian President Hassan Rouhani, Foreign Minister Javad Zarif, and parliament speaker Ali




45
         Daniel Levin, Iran, Hamas & Palestinian Islamic Jihad, Wilson Center, Oct. 11, 2023, available at
https://www.wilsoncenter.org/article/iran-hamas-and-palestinian-islamic-jihad; The Meir Amit Intelligence and
Terrorism Information Center, Operation Pillar of Defense – Update No. 6 (Nov. 22, 2012), available at
https://www.terrorism-info.org.il/en/20430/.
46
        Asmaa al-Ghoul, Palestinian Islamic Jihad: Iran Supplies All Weapons in Gaza, AL-MONITOR, May 14,
2013, available at http://www.al-monitor.com/pulse/originals/2013/05/gaza-islamic-jihad-and-iranian-arms.html.



                                                     34
       Case 1:24-cv-03244-LLA               Document 1          Filed 11/17/24         Page 41 of 154




Larijani. PIJ member Ramadan Abdullah was quoted during the meeting as saying “Iran has

always been the main supporter of the Palestinian nation’s cause and goals.” 47

        153.     In the past 15 years, PIJ’s forces in Gaza have focused on developing capabilities

for rocket attacks. By one estimate, between 2005 and 2015, Hamas, PIJ, and other Gaza-based

militants fired more than 12,000 rockets into Israel, killing at least 10 Israelis, injuring more than

1,100, and causing more than $50 million in property damage.

        154.     The U.S. State Department’s yearly Country Reports on Terrorism from 2016 to its

most recently published 2022 report, all state that Iran provides support to PIJ, often specifying

that the support included weapons, financing, and training.

        155.     From February 23-24, 2020, PIJ fired nearly 100 rockets toward Israel causing at

least a dozen injuries. And from May 10-21, 2021, PIJ, together with Hamas, fired more than 4,000

rockets toward Israel, killing 11 civilians and one soldier.

        156.     Regarding these attacks, PIJ official Ramez al-Halabi told an Iraqi television station

on May 7, 2021, “I am proud to say that the rockets that are used to pound Tel Aviv have an Iranian

signature on them, the signature of Qassem Soleimani [then-head of the IRGC].” He stated that

PIJ militants “were trained by the IRGC and that Iranian money was used to buy weapons for the

armed factions in Gaza and Lebanon.” He also thanked Iran for providing “weapons, money, and

food” to the Palestinian people. 48




47
          Adam Kredo, Iran Hosts Palestinian Islamic Jihad Leaders, FREE BEACON, Feb. 5, 2014, available at
http://freebeacon.com/national-security/iran-hosts-palestinian-islamic-jihad-leaders/.
48
        Middle East Media Research Institute, Hamas, Islamic Jihad Officials: Iran Provides Our Missiles, Weapons,
Funds, And Food, Our Gunmen “Were Trained By Our Brothers In The IRGC”; Without Iran’s Assistance, We
Wouldn’t Be Able To Fire Rockets At Tel Aviv; Qassem Soleimani Personally Oversaw Transfer Of Rockets To Gaza
(May 12, 2021), available at https://www.memri.org/reports/hamas-islamic-jihad-officials-iran-provides-our-missiles
-weapons-funds-and-food-our-gunmen.



                                                       35
       Case 1:24-cv-03244-LLA                Document 1          Filed 11/17/24         Page 42 of 154




        157.     Also in 2021, senior PIJ official Ramez Al-Halabi said that rockets used to target

Israel “bear the signature of Iran and Soleimani,” that the IRGC trained PIJ members, and that

Iranian money was used to buy weapons in Gaza. He added that every home in Gaza has

Soleimani’s portrait, and “it is they [Iran] who support us with weapons, money, and food.”

Meanwhile Yahya Sinwar announced Hamas’s “complete gratitude ... to the Islamic Republic of

Iran, which has spared us and the other Palestinian resistance factions nothing in recent years. They

have provided us with money, weapons, and expertise.” 49

        158.     On August 5-7, 2022, PIJ fired approximately 1,100 additional rockets at Israel.

        159.     Iranian leaders praised PIJ for participating in the Hamas-led October 7 Attack. In

an October 8, 2023, telephone call, the late former Iranian president Ebrahim Raisi told the

secretary general of PIJ, “What happened in the occupied territories and in the battle with the

usurping Zionist regime was a huge, unique event in the past 70 years, and you really made the

Islamic community happy with this innovative and victorious operation.” 50

        E.       Hezbollah – Iran’s Most Important Proxy.

        160.     As noted above, Hezbollah is an Arabic word meaning “Party of God.”

        161.     It is the dominant political and military power in Lebanon, and one of the world’s

deadliest terrorist organizations, as well as the world’s most heavily-armed non-state actor.

        162.     From Hezbollah’s inception, it has had an uninterrupted agency relationship with

Iran. “‘Hezbollah has been Iran’s proxy ever since [Hezbollah’s founding], and it is estimated

that,’ today, ‘Iran provides Hezbollah with as much as $700 million–$1 billion per year’, in the




49
         Id.
50
          President’s phone call with SG of the Palestinian Islamic Jihad Movement, Official Website of the President
of the Islamic Republic of Iran (Oct. 8, 2023), available at https://president.ir/en/147044.



                                                         36
       Case 1:24-cv-03244-LLA              Document 1         Filed 11/17/24         Page 43 of 154




form of cash, training, intelligence, and weapons.” Fritz v. Islamic Republic of Iran, 320 F. Supp.

3d 48, 60 (D.D.C. 2018) (quoting expert testimony of Dr. Matthew Levitt).

        163.     The U.S. State Department’s most recent Country Reports on Terrorism states that

“Iran continues to provide Hizballah with most of its funding, training, weapons, and explosives,

as well as political, diplomatic, monetary, and organizational aid. Iran’s annual financial backing

to Hizballah—which has been estimated to be hundreds of millions of dollars annually—accounts

for the overwhelming majority of the group’s annual budget.” 51

        164.     Hezbollah first emerged during the Lebanese civil war in the early 1980s as a militia

comprising Shi’a followers of Ayatollah Khomeini.

        165.     From its first moments, Hezbollah received Iranian funding, training, and direction.

Its terror apparatus, the Islamic Jihad Organization (“IJO”), was created, nurtured, and deployed

by the IRGC in order to serve Iran’s objectives.

        166.     And since at least 2006, Hezbollah fighters have trained in Iran in both offensive

and defensive urban warfare.

        167.     Hezbollah has a deep connection to Iran’s ideology and goals. It is a Shi’a

organization that considers the Supreme Leader of Iran to be the leader of all Shi’ite Muslims, and

as a result, in effect, Hezbollah views itself as a tool of the Iranian revolution that Iran can deploy

as it wishes.

        168.     Hezbollah’s aims and goals were published in February 1985 in a letter entitled

“The Hezbollah Program.”




51
         Country Reports on Terrorism at 276, U.S. DEP’T OF STATE, available at https://www.state.gov/wp-content
/uploads/2023/11/Country_Reports_on_Terrorism_2022-v3.pdf.



                                                      37
       Case 1:24-cv-03244-LLA              Document 1         Filed 11/17/24         Page 44 of 154




        169.     The Hezbollah Program states: “We are the sons of the umma – the party of God

the vanguard of which was made victorious by God in Iran.…We obey the orders of one leader,

wise and just, that of our tutor and faqih who fulfills all the necessary conditions: Ruhollah Musawi

Khomeini,” who was the Supreme Leader of Iran at the time. With respect to the United States,

the Hezbollah Program states:

                 The US has tried, through its local agents, to persuade the people that those
                 who crushed their arrogance in Lebanon and frustrated their conspiracy
                 against the oppressed (mustad’afin) were nothing but a bunch of fanatic
                 terrorists whose sole aim is to dynamite bars and destroy slot machines.
                 Such suggestions cannot and will not mislead our umma, for the whole
                 world knows that whoever wishes to oppose the US, that arrogant
                 superpower, cannot indulge in marginal acts which may make it deviate
                 from its major objective. We combat abomination and we shall tear out its
                 very roots, its primary roots, which are the US. All attempts made to drive
                 us into marginal actions will fail, especially as our determination to fight
                 the US is solid. 52

        170.     Hezbollah pursues those objectives through violent terrorist activity including

suicide bombings, assassinations, hostage takings, hijackings, and more recently, firing rockets,

mortars, and missiles.

        171.     For example, Hezbollah committed infamous and deadly attacks on U.S. citizens

in Beirut including the April 18, 1983, car bomb attack on the U.S. Embassy, which killed 63

Americans; the October 23, 1983, truck bomb attack on the U.S. Marine barracks, which killed

241 Americans, and the September 20, 1984, car bomb attack on the U.S. Embassy annex, which

killed 24 Americans.

        172.     Hezbollah is also responsible for the 1996 bombing of the Khobar Towers in Saudi

Arabia, which killed 19 U.S. servicemen, and wounded 498.




52
         Doctrine of Hezbollah, Wilson Center, Oct. 20, 2023, available at https://www.wilsoncenter.org/article/
doctrine-hezbollah.



                                                      38
      Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 45 of 154




       173.    Hezbollah’s attacks have not been limited to the Middle East region. For example,

on April 12, 1984, Hezbollah attacked a restaurant near a U.S. Air Force base in Spain, killing 18

U.S. servicemen and injuring 83 people. As another example, on July 18, 1994, Hezbollah bombed

the Asociación Mutual Israelita Argentina, a Jewish community center, in Buenos Aires, killing

86 people and injuring more than 200.

       174.    Additionally, Hezbollah has an extremely well-funded military that is more

powerful than the Lebanese armed forces.

       175.    Since the mid-1990s, Hezbollah has launched numerous bombardments of civilian

sites in northern Israel, which continue through this day. For example, in November 1995,

Hezbollah fired Katyusha rockets into northern Israel. In March 1996, Hezbollah again fired

rockets into northern Israel, wounding 36 people. In August 1997, Hezbollah again fired rockets

on northern Israel. In July and August 2006, Hezbollah launched rockets that killed Israelis and

harmed U.S. citizens.

       176.    Hezbollah also engaged in border clashes with the Israeli military. On October 7,

2000, Hezbollah terrorists captured three Israeli soldiers patrolling the security fence between

Israel and Lebanon. The purpose of the abduction was to ransom the soldiers in a prisoner

exchange. The soldiers’ bodies were returned to Israel in January 2004 in a prisoner exchange; the

date and circumstances of their deaths remain unknown.

       177.    In another infamous example from July 2006, Hezbollah launched an anti-tank

missile attack on two armored Humvees patrolling on the Israeli side of the border fence. The

attack killed three Israeli soldiers, and Hezbollah abducted two more using them to barter them for

the release of Lebanese prisoners held in Israel. This led to a 34-day war between Israel and




                                                39
      Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24     Page 46 of 154




Hezbollah. Those two soldiers’ bodies were returned to Israel in a June 2008 exchange; the

circumstances of their deaths remain unknown.

       178.     Border skirmishes continued. For example, in August 2013, four Israeli soldiers

were wounded when they stepped on a landmine placed by Hezbollah. In January 2015, Hezbollah

fired missiles at an Israeli convoy—allegedly in retaliation for an airstrike in Syria that killed

Hezbollah members—in the Golan Heights killing two soldiers. In September 2019, Hezbollah

launched rockets into Israel targeting a military base and launched an anti-tank missile at an IDF

vehicle.

       179.     Hezbollah also assists the IRGC and the IRGC-QF in their terror operations outside

of Lebanon.

       180.     While the IRGC–QF is responsible for managing Iran’s terror campaigns abroad, it

lacked Hezbollah’s operational and tactical experience in developing terrorist capabilities and

performing terrorist attacks against a modern military force.

       181.     Moreover, as an ethnically Persian, Farsi-speaking entity, the IRGC-QF was at a

disadvantage in recruiting and training Arabic-speaking recruits whether Shi’a Iraqis, Yemeni

Houthis, or Palestinians.

       182.     For that purpose, the IRGC–QF has long turned to Hezbollah, Iran’s most important

terror proxy, which had hard-earned experience in running terror campaigns against the IDF in

Lebanon, and which shared ethnic and cultural connections with Iraqis and to a lesser extent

Palestinians.

       183.     At the IRGC’s direction, Hezbollah and the IRGC–QF have worked symbiotically

for decades to develop Iran’s proxy capabilities throughout the region—with a special emphasis

on creating and strengthening Iran’s “Ring of Fire” enveloping Israel.




                                                40
      Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24     Page 47 of 154




       184.    After the 2003 U.S. invasion and overthrow of Saddam Hussein’s regime in Iraq,

Iran directed Hezbollah to create “Unit 3800” and began devoting increasing financial resources

to gain influence in Iraq and inflict casualties on American service members in Iraq.

       185.    Hezbollah’s Unit 3800 was established by Hassan Nasrallah, Hezbollah’s then-

leader (he was assassinated by Israel in 2024), at Iran’s direction to support Iraqi Shi’a terrorist

groups targeting Multi National Forces in Iraq.

       186.    Unit 3800 trained and advised various Shi’a militias in Iraq, later termed “Special

Groups.”

       187.    Hezbollah training camps in southern Lebanon and Iran, and Hezbollah’s expertise

in the use of military-grade roadside IEDs, kidnapping, communications, and small-unit

operations, were critical to the IRGC’s operations in Iraq between 2004 and 2011.

       188.    According to U.S. intelligence estimates, following the 2007 arrest of Hezbollah’s

senior operative in Iraq, the IRGC-QF provided Hezbollah and one of its local trainers up to $3

million in U.S. currency every month.

       189.    Hezbollah has also played a significant role in the Syrian civil war, which further

transformed Hezbollah’s fighters into a capable, disciplined, and deadly fighting force.

       190.    Hezbollah has long been an ally of the Ba’ath government of Syria, and the ruling

Assad family, as constituent members of the Iranian-led Axis of Resistance.

       191.    Even before the uprisings in Syria turned violent, Nasrallah declared Hezbollah’s

support for the Assad regime.

       192.    In the early years of the war, Hezbollah’s role was primarily to advise and support

the Syrian Army and other pro-Assad forces fighting against Sunnis, including by helping to

facilitate training by the IRGC-QF.




                                                  41
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24       Page 48 of 154




        193.    On August 10, 2012, the United States sanctioned Hezbollah under E.O. 13582—

an Executive Order specifically related to the Syrian civil war—for “providing training, advice

and extensive logistical support to the Government of Syria’s increasingly ruthless efforts to fight

against the opposition.” 53 The press release also stated that Hezbollah “coordinated its support to

the Government of Syria with the IRGC-QF … which serves as a conduit for Iran’s material

support to the Syrian General Intelligence Directorate.”

        194.    Despite the public funerals for Hezbollah fighters killed in Syria, Nasrallah denied

that Hezbollah was fighting alongside the Assad regime in a speech in mid-October 2012. Instead,

he stated that Hezbollah fighters were in Syria of their own accord to defend Lebanese Shi’a living

in villages near the border.

        195.    In early 2013, Hezbollah’s participation in the Syrian Civil War intensified. In April

2013, Nasrallah made two trips to Tehran where he met with Soleimani (then head of the IRGC-

QF), Khamanei, and other senior Iranian officials, where Nasrallah was pressed to deepen

Hezbollah’s participation in Syria.

        196.    That same month, Hezbollah led a ground assault, in coordination with the Syrian

Army, to recapture part of the Syrian city of Al-Qusayr.

        197.    Until Hezbollah withdrew from Syria in 2019, Hezbollah forces continued to fight

directly on behalf of pro-Assad forces, including in Homs, Aleppo, and Damascus—in addition to

continuing to provide training, advice, and logistical support and facilitating the IRGC-QF’s role.

        198.    These years of fighting in the Syrian civil war made Hezbollah a more experienced

and effective fighting force, far more prepared to face Israel’s armed forces.




53
        Press Release, Treasury Targets Hizballah for Supporting the Assad Regime, U.S. DEP’T OF THE TREASURY
(Aug. 10, 2012), available at https://home.treasury.gov/news/press-releases/tg1676.



                                                     42
      Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24      Page 49 of 154




       199.    Fighting for the Assad regime, however, meant that Hezbollah was responsible for

killing Sunni Arabs. This created a rift with Palestinian terror groups, and the Sunni world more

broadly. That rift would need to be bridged before the October 7 Attack.

       200.    As with Hamas, Hezbollah has extensive political and social functions as well.

       201.    Hezbollah entered parliamentary politics in 1992 after the end of the Lebanese civil

war and now has 62 seats in the 128-seat parliament. Practically speaking, Hezbollah is the

dominant force in Lebanese politics as much of its power comes from outside the political process.

Moreso, Hezbollah essentially governs and controls access into certain parts of Lebanon.

       202.    Socially, Hezbollah runs charities, hospitals, clinics, schools, agricultural centers,

and other civil institutions. It also provides construction and urban maintenance, including

providing water and sewer services, largely to reconstruct homes damaged through conflict with

Israel. As with Hamas, Hezbollah’s social services aid its efforts to spread propaganda, gain the

allegiance of the Lebanese population, and recruit new members.

       203.    Hezbollah was designated by the United States Government as an SDT in 1995, as

an FTO continuously since 1997, and as an SDGT continuously since 2001.

       204.    In addition, the United States has designated numerous Hezbollah leaders and

fundraisers as Specially Designated Nationals, thereby freezing their assets, as a result of their

activities for Hezbollah.

       F.      Iran Provided Material Support to the Houthis.

       205.    The Houthi movement emerged in northern Yemen in the 1990s under the

leadership of Hussein al-Houthi, dedicated to fighting the corrupt regime of Ali Abdullah Saleh.




                                                43
       Case 1:24-cv-03244-LLA               Document 1          Filed 11/17/24         Page 50 of 154




The Houthis are Zaydi Shi’a, or Zaydiyyah 54 and though motivated by local and sectarian

grievances, they quickly found support from the IRGC-QF because the Saleh regime was backed

by Saudi Arabia (and had a working relationship with the United States).

        206.     The Houthis adopted the slogan: “God is great, death to the U.S., death to Israel,

curse the Jews, and victory for Islam,” and came to emulate Hezbollah, widely seen as a role model

for a successful “resistance” (terrorist) organization in the Middle East.

        207.     The Houthis’ Ansarallah movement seeks to replicate Hezbollah’s perceived

success—reflected in the fact that when the Houthi leader, Badr al-Din, died in 2010, he passed

over five older sons to elevate the Houthis’ current leader, Abdul-Malik, who had joined him on

multiple visits to Iran and shared his vision of a Hezbollah-inspired Islamic revolution.

        208.     In 2011, the Houthi movement was part of a national uprising that overthrew Saleh,

but ultimately replaced him with Abdrabbuh Mansour Hadi, who had been Saleh’s vice president

(and a Sunni Muslim backed by Saudi Arabia).

        209.     Much of Yemen’s army remained loyal to Saleh even after he was deposed, and he

eventually joined forces with the Houthis and captured Yemen’s capital, Sanaa, in January 2015.

        210.     In March 2015, the Saudis attempted to prevent the Houthi-Saleh rebellion from

consolidating control of the country and forged a coalition to back them that included the United

Arab Emirates, Bahrain, and other traditional Saudi allies.

        211.     The war pushed the Houthis and Iran and Hezbollah closer together.

        212.     For more than a decade, the Houthis have evolved into an integral part of Iran’s

Axis of Resistance. General Abdul Reza Shahlai, a deputy commander in the IRGC-QF



54
         Shi’a Muslims are a minority within the Islamic world and Zaydis are a minority sect within Shi’a Islam,
doctrinally different from the Ayatollahs who rule Iran. The Zadiyyah take their name from Zayd bin Ali, the great-
grandson of Ali, Muhammad’s son-in-law, who is revered by all Shi’a communities.



                                                        44
      Case 1:24-cv-03244-LLA            Document 1     Filed 11/17/24     Page 51 of 154




responsible for orchestrating the deaths of hundreds of U.S. service members in Iraq from 2004 to

2011, was dispatched to Yemen to work with the Houthis perhaps as far back as 2015, though the

United States only confirmed his presence there in December 2019.

       213.    A Hezbollah military commander was similarly dispatched from Syria in 2015, and

in October 2020, an IRGC-QF officer was appointed as Iran’s ambassador to Yemen.

       214.    The Houthis rely on Iran and the Axis of Resistance to retain certain capabilities

crucial to their continued success in Yemen, and they have long presented Iran with an opportunity

to threaten Saudi Arabia’s southern border and expand Iranian influence into the Red Sea.

       215.    The IRGC-QF smuggles key components for missiles and UAVs into Yemen,

where the Houthis have been taught to assemble them locally.

       216.    On November 4, 2017, the Houthis fired a ballistic missile at the international

airport in Riyadh. The Saudi Foreign Minister, Adel al Jubeir, called the attack an act of war by

Iran. “It was an Iranian missile, launched by Hezbollah, from territory occupied by the Houthis in

Yemen,” he said.

       217.    In response to the attack, Saudi Arabia imposed a near-total blockade on Yemen.

       218.    After almost three years of brutal warfare, Saleh broke with the Houthis (again)

and was killed shortly thereafter on December 4, 2017.

       219.    In 2018, Houthi missile attacks on Saudi Arabia became increasingly common.

       220.    The Houthis joined the Axis of Resistance’s efforts against Israel on October 19,

2023, when they launched 19 cruise missiles and drones toward Israel. All but one was apparently

intercepted by a U.S. navy destroyer.




                                               45
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24     Page 52 of 154




       221.    On October 27 and 31, Israel intercepted several attack drones and an Iran-made

Zolfaqar Medium Range Ballistic Missile, which was intercepted by an Israeli Arrow 2 interceptor

missile near Eilat.

       222.    The Houthis also launched at least eight salvos of cruise missiles and long-range

explosive drones at Israel, focused on the southern port of Eilat.

       223.    In parallel to strikes on Israel, the Houthis attacked shipping and U.S. military

vessels in the Red Sea.

       224.    On November 14, 2023, the Houthis escalated again by threatening to attack Israeli

vessels in the Bab al-Mandab Strait and Red Sea.

       225.    On November 19, 2023, a helicopter-borne Houthi assault team and more than a

dozen speedboats seized an Israeli-owned tanker called the Galaxy Leader.

       226.    On July 19, 2024, the Houthis launched a drone strike on Tel Aviv that killed one

person and wounded more than a dozen other people.

       227.    The drone, named “Jaffa” by the Houthis, was an extended-range Iranian-made

Sammad-3 drone that flew across Egypt, arriving from the west, over the Mediterranean coast to

evade Israeli air defense systems.

       G.      Iran Provided Material Support to the Popular Front for the Liberation of
               Palestine (PFLP)

       228.    The Popular Front for the Liberation of Palestine (PFLP) is an FTO based in the

Gaza Strip and the West Bank.

       229.    It combines Arab nationalism with Marxist-Leninist ideology, viewing the

destruction of Israel as integral to the struggle to remove Western capitalism from the Middle East

and ultimately establish a Communist Palestinian state in its place.




                                                 46
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24        Page 53 of 154




       230.    The PFLP is also part of the Palestine Liberation Organization and maintains a

variety of front organizations for political and fundraising purposes, including Samidoun, a sham

charity that serves as one of its most important international fundraisers.

       231.    The PFLP carried out attacks across the world during the 1970s and was actively

involved in numerous terrorist attacks in Israel during the Second Intifada from 2000 to 2005,

including suicide bombings.

       232.    On January 23, 1995, pursuant to Executive Order 12947, the PFLP was designated

an SDT.

       233.    This designation made it illegal for any United States person or entity to engage in

any unlicensed transactions or dealings involving the property or interests of the PFLP.

       234.    On October 8, 1997, pursuant to 8 U.S.C. § 1189 and by publication in the Federal

Register, the United States Secretary of State designated the PFLP an FTO.

       235.    As a result of this designation, it became illegal for any person within the United

States or subject to its jurisdiction to provide material support or resources to the PFLP.

       236.    The PFLP’s designation as an FTO has remained in place since October 8, 1997.

       237.    On October 31, 2001, pursuant to Executive Order 13224, the PFLP was designated

an SDGT.

       238.    The PFLP’s designation as an SDGT has remained in place since October 31, 2001.

       239.    The U.S. State Department’s yearly Country Reports on Terrorism from 2016 to its

most recently published 2022 report, all state that Iran provides support to the PLFP, often

specifying that the support included weapons and financing. Prior to October 7, the PFLP in Gaza

placed itself under the overall command of Hamas as part of the so-called Joint Operations Room.




                                                 47
       Case 1:24-cv-03244-LLA                Document 1          Filed 11/17/24         Page 54 of 154




        240.     The PFLP’s terror cells operating in PA-controlled territory (including Gaza),

received funding and training from the IRGC and Hezbollah. 55

        241.     In June 2021, a PFLP delegation, including its Deputy Secretary-General, Abu

Ahmad Fouad (a/k/a Ahmad Muragha), attended the swearing in ceremony for the late Iranian

president, Ebrahim Raisi.

        242.     Raisi stressed that “Iran stands with all its capabilities alongside the Palestinian

resistance to achieve its goals.” 56

        243.     PFLP representatives also met with the Iranian ambassador to Syria in June 2023

to affirm its commitment to the “Axis of Resistance” and discuss continued Iranian support for the

PFLP and their joint efforts against Israel and the United States.

        244.     On October 7, 2023, the PFLP posted several pictures on its official telegram

channel, Abu Ali Mustafa Brigades. They showed PFLP operatives attacking Israeli targets.

        245.     The PFLP also issued the following statement:

                 Cells of the martyr Abu Ali Mustafa Brigades stormed several [military]
                 points in the Gaza envelope and have inflicted verified losses in the Zionist
                 ranks. The cells have returned safely to their bases, and other cells
                 are operating in the field now to inflict more losses in the ranks of the
                 occupation army troops and the herds of their settlers.

        246.     That same day the PFLP’s terror apparatus, the so-called “Abu Ali Mustafa

Brigades,” also issued a statement:

                 “The Al-Aqsa flood” campaign is a campaign of the Palestinian people in
                 all its resistance forces. In light of the heroic sights made possible by the
                 heroes of the resistance inside the occupied lands…we in the Abu Ali
                 Mustafa Brigades emphasize the following: We announce a state of

55
         See, e.g., https://www.timesofisrael.com/shin-bet-pflp-terror-cells-with-ties-to-iran-hezbollah-busted-in-we
st-bank/. Iran’s financial support for the PFLP dates back more than a decade. See, e.g., Hazem Balousha, Iran
Increases Aid to PFLP Thanks to Syria Stance, AL-MONITOR, Sept. 17, 2013.
56
         See https://www.maannews.net/news/2046837.html. Around the same time, the PFLP held a military parade
where its fighters displayed pictures of the late IRGC-QF commander Qassem Soleimani. See https://www.alalam.ir/
news/5630433/.ΓΰϏ-ϲϓ-ΎϳήϜδϋ-Ύοήϋ-ϢψϨΗ-ϦϴτδϠϓ-ήϳήΤΘϟ-ΔϴΒόθϟ΍-ΔϬΒΠϟ΍.



                                                        48
       Case 1:24-cv-03244-LLA             Document 1       Filed 11/17/24      Page 55 of 154




                maximum mobilization within the ranks of our fighters, and we work on the
                field on the ground (sic) in several axes side by side the comrades of blood
                and arms. We stand with our brothers in the [Izz ad-Din] Al-Qassam
                Brigades and with all the resistance forces, and fight alongside them this
                campaign which will be noted in history. We call upon all resistance forces
                inside and outside of Palestine to take their positions in the trenches of
                confrontation which stretch now throughout all the area. Glory to the
                martyrs and victory to the resistance… 57

        247.    On October 7, 2023, the PFLP’s official website also posted the following

statement:

                On this day, the nature of the conflict and the dignity of the Arab nation are
                regained…. [the] PFLP calls the sons of our heroic people across Palestine
                to actively participate in the ‘Al-Aqsa flood’ campaign, each from his
                location and with whatever means he possesses, in order to bring an
                onslaught on the enemy’s army and its settlers…and to hail attacks on
                them in every inch of the land of Palestine. The Front emphasized its call to
                all who carries arms, and especially the sons of the [PA] security forces to
                join in the campaign of the Palestinian people against its enemy and to
                position themselves in the natural place of every free Palestinian that fights
                to end the occupation….

        248.    The next day, the PFLP posted a video, “scenes from the storming of the martyr

Abu Ali Mustafa Brigades’ fighters into military installations of the enemy, east of Khan Younis

[on the border with Israel].”

        249.    The U.S. government has confirmed that the PFLP was one of the terrorist

organizations that “participat[ed] in the horrific attacks against Israeli civilians on October 7,

2023.” 58




57
        Available at https://tinyshorten.com/GovmW.
58
        Press Release, United States and Canada Target Key International Fundraiser for Foreign Terrorist
Organization PFLP, U.S. DEP’T OF THE TREASURY (Oct. 15, 2024), available at https://home.treasury.gov/
news/press-releases/jy2646.



                                                      49
       Case 1:24-cv-03244-LLA               Document 1          Filed 11/17/24         Page 56 of 154




        H.       The Iran Defendants Provided the Material Support Described Herein
                 Through Their Officials, Employees, and Agents.

        250.     The Iran Defendants provided the material support to the terrorist organizations,

operatives and agents described herein through their officials, employees, and agents, as defined

in § 1605A(a), who acted within the scope of his or her office, employment, or agency.

        251.     The IRGC is an agent of Iran, under its complete control.

II.     Iran Specifically Financed, Supported, And Approved the October 7 Attack.

        252.     The massacres of October 7, 2023, and the ensuing conflict, were the culmination

of a multigenerational terror campaign sponsored by Iran, implemented by the IRGC, and

spearheaded by Hamas, intended as a first salvo in a final campaign to destroy the State of Israel.

        A.       Hamas Begins to Emulate Hezbollah.

        253.     Hamas seized full control of the Gaza Strip in 2007 from the Fatah-dominated

Palestinian Authority (“PA”) using its Qassam Brigades and other paramilitaries to drive PA

security services from the Strip. 59 It executed Fatah supporters after the 2007 takeover, raided the

PA’s former offices, and suppressed all threat to its rule through murder, torture, and indefinite

detention.

        254.     Hamas then began a transition from a terrorist organization whose operational

capabilities were the product of Qassam Brigades terror cells operating under the overall command

of the organization’s political leadership to an organization that controls territory and oversees a

paramilitary organization capable of launching significant rocket attacks on Israel, and one

ultimately able to perpetrate the October 7 Attack.



59
         “Fatah” is a reverse acronym for the Arabic translation of the “Palestinian National Liberation Movement”—
the largest Palestinian faction behind the PLO and the Palestinian Authority. Though virulently anti-Israel, its
leadership initially supported the Oslo Peace Accords with Israel (which were opposed from the outset by Hamas and
PIJ).



                                                        50
       Case 1:24-cv-03244-LLA              Document 1          Filed 11/17/24        Page 57 of 154




        255.       That transition was the product of: (1) Hamas’s sole control of Gaza’s territory

following the Israeli government’s withdrawal from Gaza in 2005, (2) lessons Hamas learned in

successive smaller scale conflicts with Israel between 2009 and 2021, and (3) guidance and support

from the IRGC-QF and Hezbollah, including significant financial support, tactical training,

intelligence sharing, strategic planning, and the provision of new, advanced weapons to further

threaten Israel.

        256.       Once Hamas gained full control of the Gaza Strip in 2007, it made concerted efforts

to emulate Hezbollah’s operational structures.

        257.       Like Hezbollah, Hamas had succeeded in subverting and ultimately taking over

governmental functions, and like Hezbollah it had grown from a lethal terrorist organization

operating with political and social infrastructure to a de facto governing authority with a near

monopoly on force and concrete control of territory.

        258.       Hamas admiringly observed how Hezbollah had driven the IDF out of southern

Lebanon in the late 1990s and established the nascent Radwan Force in the 2000s. 60 It also admired

how, unlike Hezbollah’s original Islamic Jihad Organization (“IJO”) cells, the Radwan Force

operated more like conventional army and special forces units, rather than terror cells.

        259.       Hamas’s Qassam Brigades, then led by Ahmed Jabari (assassinated by Israel on

November 14, 2012), Muhammad Deif, and Marwan Issa, watched these developments and began

attempting to replicate the Radwan Force and build its own semi-conventional forces as a strategic

offensive capability.




60
        The Radwan Force is named in honor of the late Imad Mughniyeh, the long-time head of Hezbollah’s IJO,
who was assassinated in a joint U.S.-Israeli operation in 2008. Mughniyeh was known as “Hajj Radwan.” The Radwan
Force was likely responsible for kidnapping three Israeli soldiers in July 2006, which triggered the 2006 Lebanon
War.



                                                       51
        Case 1:24-cv-03244-LLA                 Document 1           Filed 11/17/24          Page 58 of 154




         260.     Emulating Hezbollah, Hamas began positioning military infrastructure in dense

population centers and in (and under) schools and hospitals; using civilians as human shields for

terrorist operatives (both to deter Israeli reprisals and to use the suffering of its own civilians to

place diplomatic pressure on Israel); directing rocket and mortar fire against Israeli population

centers; and conducting training exercises and public military displays both to improve the

organization’s operational readiness and as a propaganda tool to legitimize its rule.

         261.     In 2012, Israeli intelligence uncovered a Hezbollah plan (funded and supplied by

the IRGC) whose objective was to seize and hold territory in northern Israel. The plan called for

the Radwan Force to infiltrate from Lebanon into Israel (in part using undetected tunnels running

beneath the Israeli-Lebanese border), enter Israeli communities, and establish defensive perimeters

using Israeli civilians as human shields to withstand the IDF’s counterattacks. The sheer ambition

of the plan and the evidence that the IRGC-QF had approved its objectives, not only confirmed

that Hezbollah was no longer content with using insurgent tactics to wage a low-intensity war with

Israel along the Lebanese border, but also signaled Iran’s willingness to escalate its “Ring of Fire”

policy when opportunities presented themselves.

         262.     Yahya Sinwar took overall control of the leadership of the Qassam Brigades in

2012 in the Gaza Strip (Muhamad Deif and Marwan Issa remained its most senior operational

commanders), and in late 2012, he paid a secret visit to Tehran. 61 Before then, Sinwar had been in

Israeli prison from 1988 to 2011 until he was released 62 in the Gilad Shalit prisoner exchange.




61
         In a speech delivered in Gaza on December 25, 2017, Sinwar described his 2012 visit and meeting with the
late head of the IRGC-QF, Qassem Soleimani. See https://www.youtube.com/watch?v=qiipX7h7Boo.
62
         In January 1988, Sinwar was arrested and sentenced to four life sentences for murdering four Palestinians
suspected of collaboration with Israel. In his statement before the military court, he said: “I ask that I be sentenced to
death so that my blood will be the first to be spilled and I will be a torch for the mujahideen.” See
https://web.archive.org/web/20171010104442/https://www.paldf.net/forum/showthread.php?t=602970.



                                                           52
       Case 1:24-cv-03244-LLA              Document 1          Filed 11/17/24        Page 59 of 154




        263.     Sinwar and Hamas took note of Hezbollah’s aspirations and growing capabilities,

including Hezbollah’s ambitious 2012 plan to infiltrate Israel.

        264.     Hamas’s military continued to develop significant ground forces, an extensive

tunnel network to conceal its rocket launchers, and command and control capabilities, all of which

were in place well before 2014 fighting between Hamas and Israel in Gaza and Israel. 63

        265.     In 2013, Hamas established a unit—the Nukhba (“elite”) Force built in the image

of Hezbollah’s Radwan Force—created to commit attacks in Israeli territory through the attack

tunnels. The force, which originally numbered 5,000 operatives, would later lead the assault on

Israel on October 7.

        266.     The Nukhba Force was trained intensively, and its recruits underwent religious

indoctrination. Many of its commanders trained in Iran or in Hezbollah camps in Lebanon under

the supervision of Qassem Soleimani and, after his death in 2020, under his replacement, Esmail

Qaani (a/k/a Ismail Ghaani).

        267.     On February 13, 2017, Yahya Sinwar was elected head of Hamas’s political bureau

in Gaza (and re-elected in March 2021), effectively becoming Hamas’s supreme leader in Gaza.

        268.     Shortly thereafter, in May 2017, Ismail Haniyeh was elected chairman of Hamas’s

Political Bureau and then relocated to Qatar, the site of Hamas’s most important headquarters

outside of Gaza. He replaced Khaled Mashal (longtime chairman of Hamas’s Political Bureau),

who was, in relative terms, on less friendly terms with the IRGC-QF.

        269.     With Sinwar leading Hamas in Gaza and Haniyeh leading Hamas’s Political Bureau

abroad, Hamas’s coordination with and support from Iran, the IRGC, and Hezbollah intensified.




63
          In July 2014, Israel launched Operation Protective Edge in response to Hamas’s kidnapping and murder of
three Israeli teenagers, including U.S. national Naftali Fraenkel.



                                                       53
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24        Page 60 of 154




        270.    Indeed, Hamas openly acknowledged the support it received from Iran. For

example, in May 2019, in a speech delivered in Gaza, Yahya Sinwar admitted that “without the

help from Iran with weaponry, we couldn’t have attained military capabilities... Iran supplied us

with rockets and also supported us financially and technically in developing the rockets we used

to bomb Tel Aviv. And this was during a time when the Islamic nation gave up on us. Therefore,

we needn’t be condemned for our gratitude to Iran, it is our duty to thank whoever supports and

helps us.” 64

        271.    A few months later, the Qassam Brigades sent candidates for training, and academic

and military education in Iran in fields including software, computer engineering and special forces

training.

        272.    Members of a clandestine unit of the Qassam Brigades traveled from Gaza (through

Egypt and Turley) to Iran for special training supervised by the IRGC-QF in flying drones.

        B.      Yahya Sinwar’s “Big Project” with Iran’s Axis of Resistance.

        273.    Although the precise planning for October 7 was a tightly kept secret, the broader

outlines of Hamas’s policy and its role within Iran’s “Axis of Resistance” was discussed openly

years before the attack was launched.

        274.    It may be many years before a very clear picture of the precise unfolding of these

events emerges, but it appears that Hamas, Hezbollah, and the IRGC pulled off a “double bluff”

in planning the October 7 operation—deceiving Israel by openly stating their intentions in a way

that convinced Israel that they were saber-rattling rather than carrying out a concrete plan of attack.




64
        Ronni Shaked, Hamas, the Road to 7th October 2023, The Truman Research Institute for the Advancement
of Peace, available at https://israelbehindthenews.com/wp-content/uploads/2024/06/Chapter-4-Hamas-The-road-to-
7th-October-2023-1.pdf. See also https://www.youtube.com/watch?v=GRZlPFpKGf8.



                                                     54
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24      Page 61 of 154




       275.      As noted above, in July 2018, Hamas established a Joint Operations Room in Gaza

to coordinate with eleven resistance factions active in Gaza, including PIJ, PFLP, AAMB and the

PRC. The Joint Operations Room united the disparate terrorist organizations operating in the Gaza

Strip under one command and worked to coordinate their activities.

       276.      Since at least 2021, the IRGC-QF also oversaw the creation of a “Joint Operations

Room” in Lebanon, where senior Hezbollah, Hamas, PIJ, and IRGC officials met and coordinated

their efforts against Israel, often under the auspices of Muhammad Izadi, the now deceased IRGC-

QF official who served as the head of the Palestinian Office of the IRGC-QF in Lebanon.

       277.      Hamas, Hezbollah, and the IRGC all knew that Israeli intelligence had extensive

surveillance capabilities and had likely compromised their communications over the course of

several years.

       278.      Therefore, total concealment of the October 7 operation from Israeli intelligence

was effectively impossible.

       279.      The best way to disguise the October 7 operation as part of the “double bluff” was

to publicly disclose meetings among Hamas, the IRGC-QF, and Hezbollah, to publicly mention

the Joint Operations Room in Lebanon and to speak openly of a future decisive attack by the “Axis

of Resistance” against Israel while at the same time, providing signals that the Axis of Resistance

did not actually intend to engage in the very attack for which it was really preparing.

       280.      Starting in 2018, Hamas adopted a strategy of limiting its attacks against Israel,

mixing seemingly civilian tactics (like rioting at the security fence line on the Gaza border) with

low-intensity military tactics.

       281.      Hamas’s objective was to maintain low-level pressure on Israel without provoking

a substantial Israeli response—a stance that gradually lulled Israeli intelligence and military




                                                 55
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 62 of 154




analysts into believing that Hamas wished to avoid a major conflict and was more interested in

improving economic conditions in Gaza and maintaining its rule.

       282.    Israel therefore made a deliberate effort to target primarily PIJ when retaliating

against rocket fire from the Gaza Strip and it used the Egyptian government as an intermediary to

both warn and assure Hamas that it did not intend to escalate its operations against Hamas as long

as Hamas did not take actions that would provoke a major response.

       283.    For example, at a press conference held on May 26, 2021, following a relatively

contained confrontation with Israel in May 2021 (Operation Guardian of the Wall), Sinwar

expressly and directly disclosed collaboration among the Axis of Resistance:

               During the war we were in continuous contact with our brothers in the field,
               and in some of the special areas with the brothers in Lebanon [Hezbollah],
               and there was a high level of coordination, and we made it clear to our
               brothers in Lebanon, in Hezbollah and in the Guards [of Iran’s Revolution]
               and other factors, that this [the round of confrontation in May 2021] only a
               message we are sending to the enemy, and this is not a real campaign, and
               we are sure that if this campaign develops, it will grow and strengthen, we
               are sure that there will be a real and active intervention of the resistance on
               all fronts.

               We emphasize, I attended the meeting last night [May 25, 2021] and I was
               completely satisfied with this decision of Sheikh Hassan Nasrallah, may our
               Lord protect him by the will of Allah, the Sovereign of the Worlds, and we
               are fully certain that any attack on the holy places will be a real regional
               war against it [against Israel], and I have already described it [this scenario],
               by the will of Allah, the Sovereign of the Worlds, and we are sure that all
               of us, our entire [Palestinian] nation, our entire [Arab and Islamic] nation,
               all the active forces of our [Arab and Islamic] nation, all our resistance
               forces, and all the struggle and resistance forces will be [active] in the next
               campaign [against Israel] if Al-Aqsa Mosque will call us [for help] … and
               if the enemy behaves stupidly, then he will find that things will get
               significantly worse... the barrages [rockets] launched [from Lebanon] and
               the [unmanned] aircraft that was launched [from Lebanon] were in full
               coordination between the resistance in Lebanon [Hezbollah] and between
               the resistance in the Gaza Strip [Hamas] and in joint action.

               There was also a high level of intelligence coordination, and we passed on
               to our brothers in Lebanon, in the Lebanese resistance and others
               [information that was] very useful in the intelligence effort and which also


                                                  56
       Case 1:24-cv-03244-LLA                 Document 1          Filed 11/17/24          Page 63 of 154




                  served the resistance [Hamas] in its tactical moves in the Gaza Strip. The
                  activity was a very good activity, and we have a very good horizon for the
                  development of this activity. We clearly warned, we said that this was only
                  a short promo, and if [a significant event] happens, by the will of Allah, the
                  Sovereign of the Worlds, and Al-Sayed Nasrallah was honored and
                  declared, there will be a regional war if our holy places are harmed, and
                  this will lead to an open conflict, by the will of Allah. 65

          284.    This kind of public statement served two purposes: to rally support for Hamas

among the Palestinian public with a show of defiance to Israeli military action and to lull Israeli

intelligence into believing that Sinwar was merely saber-rattling and exaggerating Hamas’s

intentions.

          285.    In fact, Hamas was preparing for Sinwar’s “Big Project”—a multi-prong attack,

coordinated with Hezbollah and the IRGC-QF, to annihilate the State of Israel.

          286.    To this end, Hamas held a conference in Gaza on September 30, 2021, under the

banner “Ensuring the End of Days—Palestine After Liberation.” Its participants included senior

Hamas leaders such as Yahya Sinwar, whose opening remarks to the conference explained:

                  The conference’s activities are in accord with our assessment that victory is
                  near. The liberation of Palestine from the sea to the river is at the heart of
                  our strategic vision, it is now closer than ever before. Towards that goal,
                  we are hard at work and are making great efforts both above and below the
                  ground, out at sea and in the skies.... we can see our independence
                  flourishing and are therefore preparing for what will follow....” 66

          287.    Again, the regularity of this type of apocalyptic rhetoric was likely intended to lull

Israeli intelligence into the view that Hamas’s military buildup (e.g., tunnels, rocketry, and

training) was unremarkable—what mattered, instead, was that Hamas’s observable conduct

reflected an aversion to major confrontation with Israel.


65
         For more details see Halevi, Jonathan D., From Hamas’s Point of View, Jerusalem Center for Security and
Foreign Affairs, https://jcpa.org.il/article/from-the-point-of-view-of-hamas-october/ (last accessed October 20, 2024).
[Arabic text translated into Hebrew, then English.]
66
          See text reported by THE PALESTINIAN PRESS AGENCY, Sept. 30, 2021, available at https://safa.ps/post/
313372.



                                                         57
       Case 1:24-cv-03244-LLA                Document 1          Filed 11/17/24         Page 64 of 154




         288.     Sinwar’s “Big Project” to bring about the “End of Days” required both a steady

stream of weapons and money from Qatar and Iran and other sources, as well as a special budget

to plan and execute the attack outside of channels carefully monitored by Israeli intelligence. For

this, he needed clandestine financial and logistical support from the IRGC-QF to supplement the

substantial financial and logistical support already provided by Iran and Qatar to Hamas.

         289.     Hamas documents recovered in recent months illuminate the IRGC’s separate

transfers of funds to Yahya Sinwar and Ismail Haniyeh for their personal use and discretionary

allocation to the Qassam Brigades’ “projects.” Attached as Exhibit 2 to the Complaint is a short

report from Deputy Commander of the Qassam Brigades, Marwan Issa, to Yahya Sinwar itemizing

dates and transfers of millions of dollars paid to Sinwar and Haniyeh from 2014 to 2020. As

evidenced by the fact that Issa was providing the accounting, these payments to Sinwar reflect

“off-budget” transfers made by the IRGC to his discretionary fund, largely for the benefit of the

Qassam Brigades, but separate and apart of the regular funding streams provided to Hamas by the

IRGC.

         290.     While the Iranian regime cherishes its own apocalyptic visions, 67 the financial

support (and later, coordination and approval of the October 7 Attack) that the IRGC provided to

Hamas was likely offered for more prosaic geopolitical reasons—namely, the expansion of Iran’s

sphere of influence in the region, the coalescing of its Axis of Resistance alliance system, and

Iran’s recognition that the destruction of the State of Israel (or at least its crippling) was a necessary

prerequisite to Iran’s dreams of hegemony in the Middle East.



67
          That vision involves the Hidden—or Twelfth—Imam, which plays a dominant role in Iran’s ruling Shi’a
theology. In simplistic terms, this is a messianic belief that, when injustice and evil capture the world, the Hidden
Imam (the Shi’a messiah or “Mahdi”) will appear to fight a violent apocalyptic battle between his forces against the
infidels to unite the world under Islam. Rather than wait for the Mahdi’s return, Iran’s clerics view their role as
preparing for his return by creating an Islamic civilization.



                                                        58
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24        Page 65 of 154




        291.    As Hamas regrouped after its latest round of fighting with Israel in May 2021, the

broad outlines of its “Big Project” came into sharper focus, and Hamas’s relationship with Iran

took on even greater importance.

        292.    According to a report by The New York Times, on October 12, 2024, Hamas

documents recovered by the IDF first hint at the October 7 Attack in January 2022, “when the

minutes [of the meeting] show that Hamas leaders discussed the need to avoid getting dragged into

minor skirmishes to focus on ‘the big project.’ Israeli intelligence officers found that Hamas

leaders repeatedly used the same phrase in similar contexts ….” 68

        293.    But if the “Big Project” was truly to succeed—and receive not only backing from

the IRGC-QF but also genuine coordination on multiple fronts—Hamas needed to repair its

relationship with the Assad regime in Syria which was fully backed by Iran and Hezbollah.

        294.    As noted above, Hamas (a branch of the Sunni Muslim Brotherhood movement)

had backed Muslim Brotherhood affiliates (armed Sunni terrorist groups) fighting against

Hezbollah and the Assad regime during the Syrian civil war.

        295.    This created not only a rift between Hamas and the Syrian regime, but also fostered

lingering distrust between Hezbollah’s leadership and Hamas, particularly distrust of Khaled

Mashal’s faction within Hamas, which was perceived to be less enthusiastic about reliance on

Iranian support for the organization.

        296.    Hamas, now led outside of Gaza by Haniyeh instead of Mashal, urgently wanted to

improve ties with Damascus, to increase trust and coordination with Hezbollah, and to solidify its

plan for the “Big Project.”



68
         Bergman, R., Rasgon, A., Kingsley, P., Secret Documents Show Hamas Tried to Persuade Iran to Join Its
Oct. 7 Attack, NEW YORK TIMES, Oct. 12, 2024, available at https://www.nytimes.com/2024/10/12/world/middleeast
/hamas-israel-war.html.



                                                     59
       Case 1:24-cv-03244-LLA                Document 1           Filed 11/17/24         Page 66 of 154




         297.     In the meantime, Hamas continued its “double bluff” strategy. In an April 30, 2022,

speech, Yahya Sinwar addressed Palestinian terrorists held in Israeli prisons, foreshadowing a

conflict with Israel to release them:

                  And we say clearly, we made a firm and clear decision and according to
                  which we, by the permission of Allah, may He be glorified and exalted,
                  clean the prisons of all our Palestinian and Arab prisoners, and it will not
                  last. The time for this, with the permission of Allah may he be praised and
                  exalted. It won’t take long for that, by Allah’s permission he will be praised
                  and exalted, and all arenas are open [for a military confrontation with
                  Israel], and there will be no red lines that prevent us from fulfilling our
                  duty towards the prisoners, at the will of Allah is the Lord of the world. We
                  will not abandon you. We will not show weakness in regard to your rights,
                  and we see ourselves, despite all that we have invested, as having failed [in
                  the matter of the prisoners], but by Allah’s will, the Lord of the World, our
                  Lord will help us and enable us to fulfill our duty to you. 69

         298.     Hamas documents recovered in Gaza also include a letter written a few weeks later

by Ismail Haniyeh to key IRGC-QF commander Muhammad Said Izadi 70 (a/k/a Hajj Ramadan)

on June 10, 2022. (Exhibit 3 to the Complaint.) In that letter Haniyeh discusses a letter from Izadi

describing Izadi’s meeting with Hassan Nasrallah, Hamas leader Khalil al-Hayya, and another

individual identified as “Abu Hamdan.” The subject of that meeting was resumption of Hamas’s

relationship with the Assad regime in Syria, referred to in the correspondence as “the decision.”

Haniyeh states:

                  As soon as he returned from Lebanon, Brother Abu Usama [Khalil al-
                  Hayya] updated me on the meeting and what occurred during the meeting,
                  including a lengthy conversation and ideas that help build this connection,
69
         See Halevi, Jonathan D., From Hamas’s Point of View, Jerusalem Center for Security and Foreign Affairs,
available at https://jcpa.org.il/article/from-the-point-of-view-of-hamas-october/.
70
          In 2018, Israel’s U.N. Ambassador stated that Izadi was spearheading the strengthening of ties between
Hamas and Hezbollah and cited high-level meetings between Izadi and Saleh al-Arouri, the deputy head of Hamas’s
Political Bureau. The following year, the ambassador told the U.N. Security Council “with the help of Saleh al-Arouri,
Hamas’ deputy political chief, and Saeed Izadi, the head of the Palestinian branch of the Iranian Quds Force, Iran is
trying to turn Judea and Samaria into a fourth military front against Israel.” Izadi was designated as an SDGT in 2019
because he “materially assisted, sponsored, or provided financial, material, or technological support for, or goods or
services to, HAMAS.” Press Release, Treasury Targets Wide Range of Terrorists and Their Supporters Using
Enhanced Counterterrorism Sanctions Authorities, U.S. DEP’T OF TREASURY (Sept. 10, 2019), available at
https://home.treasury.gov/news/press-releases/sm772.



                                                         60
      Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24      Page 67 of 154




               in a way that optimizes the situation we are all in, as we are all in the same
               boat. We are in the process of studying and deliberating what had been
               accomplished between you, at the level of the team that monitors the
               decision’s implementation.

       299.    Haniyeh goes on to thank the IRGC-QF commander “for allocating a sum of five

million dollars, which is to be sent to me, and I request that you inform me what I should send to

the Brothers in Gaza, based on what you had mentioned to Brother Abu Usama [Khalil al-Hayya].”

       300.    Hamas documents recovered in Gaza also include a letter written by Ismail Haniyeh

to Yahya Sinwar on September 24, 2022. (Exhibit 4 to the Complaint.) In the letter, Haniyeh

emphasizes Hamas’s internal efforts to achieve a consensus to reconcile with the Assad regime in

Syria—primarily to further cement relations with Hassan Nasrallah and Hezbollah, who backed

Assad throughout the Syrian civil war.

       301.    Furthermore, the document describes Hamas’s continuing efforts to normalize its

relationship with the Assad regime in Syria, but notes that while the “the majority of the movement

supports the decision,” there remained significant “noise” from some quarters within the

organization that opposed the initiative. The letter emphasizes the need to “leave no room for

excuses from brother Abu al-Walid [Khaled Mashal] and his group,” suggesting that Mashal and

his faction within Hamas were obstructing Haniyeh and the Gaza leadership of Hamas. It goes on

to criticize Mashal’s motives:

               We understand that Abu al-Walid’s [Khaled Mashal] opposition [to
               normalization with the Assad regime] is based on personal issues and not
               substantive ones. If the Syrians would open the door for him, he will be
               running towards them. However, our current priority is to proceed with the
               decision and take the step of meeting with the Syrian president, in line with
               the proposal put forth by his Eminence, A-Sayyid [Hasan Nasrallah].

       302.    Haniyeh goes on to assert that Hamas was strengthening its ties with Russia and

forming strong relationships with Algeria, while simultaneously maintaining its existing ties with

Turkey, Qatar, and Egypt. He believed “restoring relations with Syria, along with our strategic


                                                61
       Case 1:24-cv-03244-LLA               Document 1         Filed 11/17/24         Page 68 of 154




partnerships with Iran and Hezbollah, will significantly enhance the [Hamas] movement’s

position and balance of power. This approach leverages the [Hamas] movement’s formidable

military capabilities in Gaza and its growing presence in the West Bank.”

        303.     Lastly, Haniyeh complains that his own funding streams from Turkey and Qatar

have not been flowing reliably over the past four months and that the Qassam Brigades needs to

work through the IRGC-QF commander, Muhammad Said Izadi, to facilitate more regular

payment streams.

        304.     Shortly after this correspondence, in late October 2022, Khalil al-Hayya and senior

Hamas spokesman in Lebanon Osama Hamdan formally met with Bashar al-Assad in Damascus.

Al-Hayya said Assad was “keen on Syria’s support to the Palestinian resistance” and called his

visit a “glorious day.” 71

        305.     Another Hamas document recovered in Gaza includes a memorandum written by

Marwan Issa to Yahya Sinwar and Khalil al-Hayya on December 18, 2022, after Hamas’s

relationship with the Syrian regime had been officially restored. (Exhibit 5 to the Complaint.)

Among other subjects, the memo lists various bullet points concerning Iran and Hezbollah:

             x   An agreement has been reached with Brother Abu Usama [Khalil al-Hayya]
                 that it is vital to visit the Brothers in the Hezb [Hezbollah] and the Iranian
                 state, in order to convey a clear message on the future of the joint activities
                 against the Zionist occupation. We will, of course, update Abu al-Abd
                 [Ismail Haniyeh] on this position, and the visit will need to be secret and
                 urgent. Due to the sensitivity of this message, no one other than Abu al-Abd
                 [Ismail Haniyeh] should be acquainted with the content of these meetings.
             x   It has been concluded that a clear message must be conveyed to A-Sayyid
                 Hasan Nasrallah that if Iran or the resistance in Lebanon [Hezbollah] would
                 face a war in the future, we, the Hamas Movement and the Al-Qassam, are
                 fully prepared to participate, in full force, in those battles, as we hope that
                 in such confrontations (the war), as a basic principle, we’ll turn that

71
        Albert Aji and Bassem Mroue, Militant Hamas group back in Damascus after years of tension, ASSOCIATED
PRESS, Oct. 19, 2022, available at https://apnews.com/article/iran-bashar-assad-middle-east-hamas-hezbollah-ab2ffa
fa0bd5700425cc4781f4b35c26.



                                                       62
      Case 1:24-cv-03244-LLA                 Document 1          Filed 11/17/24   Page 69 of 154




                  opportunity into a fateful confrontation with the occupation, with the
                  intention of that confrontation spelling the end of the occupation, if Allah
                  wills it.
              x   Moreover, in that same message, if a confrontation erupts between us and
                  the occupation on the future of Jerusalem and Al-Aqsa, and if an open
                  confrontation results, in principle, what is needed is for the Axis of
                  Resistance to intervene, headed by the Hezb [Hezbollah] and the other
                  factions (Iraq, Yemen, and Syria). It is up to the [Syrian Arab] Republic to
                  decide whether to participate, and we haven’t set this as a condition for it,
                  but it is of paramount importance that the Hezb [Hezbollah] take an active
                  role.
              x   Obviously, these messages should first be conveyed to A-Sayyid Hasan
                  [Nasrallah], as well as to Hajj Esmail Qaani [head of the IRGC-QF] and to
                  the head of the Guard [IRGC]. If possible, contact should be made with the
                  Guide 72 so that he can be updated on this important position.
              x   Naturally, what we intend to achieve with this position is to create a true
                  ally for the resistance and its axis, especially in the strategic matters tied to
                  resisting the occupation. We don’t mean the potential tactical
                  confrontations, because not everyone needs to participate in such
                  confrontations, which could occur vis-a-vis Iran or the resistance in Gaza
                  [Hamas] (of the usual type).
              x   It was confirmed that in the context of this strategic overview and direction,
                  the basic principle is that we agree with our Brothers in Iran that financial
                  support of at least 7 million per month will be approved, over the course
                  of the year, in order to mobilize and prepare for these types of
                  confrontations comfortably. It would be good if Brother Abu Usama
                  [Khalil al-Hayya] were to request that a 3-4 month advance payment be
                  made, as an advance payment made with the first payment, in order to
                  expedite the pace of preparations and our side’s readiness.
          306.    The memorandum goes on to discuss various topics concerning coordination

among the Qassam Brigades, Hezbollah, the IRGC, and other players within the “Axis of

Resistance” on Hamas’s “strike force” in southern Lebanon. It makes clear that Hamas’s

preparations and ultimate attack plans are deeply coordinated with (and substantially financed by)

the IRGC and that the IRGC also mediated between disparate elements within its network of proxy

groups.


72
          The Guide (Murshid) is a title given to the Iranian Supreme Leader.



                                                         63
      Case 1:24-cv-03244-LLA            Document 1       Filed 11/17/24      Page 70 of 154




        307.      While the plans for the “Big Project” and closer coordination with Hezbollah were

proceeding, Hamas’s “double bluff” strategy continued as well. On January 5, 2023, an article

published in Palestine, the official Hamas newspaper, explicitly mentions the Joint Operations

Rooms in Lebanon, stating that “the people believe in the need to go to war in defense of the Al-

Aqsa Mosque and its sanctity” and “have full and complete trust in the wisdom of the resistance

leadership and its spearhead, the Al-Qassam Brigades and the joint [operations] room, in

determining the nature of the response, its timing and place.... There is no doubt that the response

will be on the scale of the crime... The campaign may be close, very close.”

        308.      On March 19, 2023, two months after publication of the article, Hassan Nasrallah

met with Saleh al-Arouri, the deputy leader of Hamas in Lebanon, further drawing attention to the

close ties between Hamas and Hezbollah.

        309.      A month later, on April 23, 2023, Azat Jamal (Ezzat Jamal), published an article on

the official website of the Qassam Brigades stating that not only does the Israeli deterrence (against

Hamas) no longer exist, but it will not be able to be restored in the foreseeable future in view of

the strengthening of the “Axis of Resistance,” which consists of Iran, Hezbollah, the military

coalition in the Gaza Strip led by Hamas, the Houthi regime in Yemen, and the military militias in

Iraq and Syria.

        310.      From April to June 2023, Iranian leaders—including Ayatollah Khamenei and

President Raisi—met publicly with Hamas and PIJ leaders in Iran and Syria to encourage further

acts of terrorism against Israel.

        311.      While these public meetings were taking place, in May 2023, secret discussions

also took place in Sidon, Lebanon, among a delegation of Hamas leaders, Hezbollah leaders, and

the IRGC.




                                                  64
       Case 1:24-cv-03244-LLA              Document 1          Filed 11/17/24        Page 71 of 154




        312.     The Hamas delegation was headed by Saleh al-Arouri, and the IRGC delegation

was headed by an IRGC operative based in Sidon, who was in charge of the armament file for the

Palestinian factions inside Lebanon.

        313.     After al-Arouri reviewed the project, he had several follow up meetings with

leaders of Hezbollah in the presence of Nasrallah.

        314.     According to documents seized by the IDF and disclosed by The New York Times,

at a meeting in May 2023, Hamas leaders said that they wanted to commit the October 7 Attack

by the end of 2023 because Israel had announced that it is developing a new type of laser that can

destroy Hamas rockets more effectively than its current air defense system [Iron Dome and David

Slingshot]. 73

        315.     This was followed up in June 2023, with a less clandestine meeting between IRGC-

QF commander Esmail Qaani and Hamas leader Ismail Haniyeh and PIJ leader Ziyad Al-Nakhala

in Tehran.

        316.     On June 19, 2023, Haniyeh also met with a delegation of high-level Iranian security

and military officials. 74 Haniyeh, accompanied by Saleh al-Arouri and other Hamas figures, also

met with the IRGC chief, Hossein Salami, and a number of his aides over a period of three days.

        317.     On June 21, 2023, Haniyeh publicly met with Iranian Supreme Leader Ayatollah

Ali Khamenei. 75




73
        See Bergman, R., et al., Secret Documents Show Hamas Tried to Persuade Iran to Join Its Oct. 7 Attack,
NEW YORK TIMES, Oct. 12, 2024, available at https://www.nytimes.com/2024/10/12/world/middleeast/hamas-israel-
war.html.
74
         See Haniyeh meets with the Secretary General of the Supreme National Security Council in Iran, AL QUDS,
June 19, 2023, available at https://www.alquds.com/en/posts/76699.
75
        See Iranian state media confirm meeting between Khamenei, Hamas’ Haniyeh in Tehran, REUTERS, Nov. 5,
2023, available at https://www.reuters.com/world/middle-east/iranian-state-media-confirms-meeting-between-kham
enei-hamas-haniyeh-tehran-2023-11-05.



                                                      65
       Case 1:24-cv-03244-LLA               Document 1           Filed 11/17/24         Page 72 of 154




        318.     Hamas’s “double bluff” strategy continued following this meeting with a June 22,

2023, article in the official Hamas newspaper Palestine specifically stating that the Axis of

Resistance members were coordinating and training in southern Lebanon and Gaza:

                 The Axis forces [the resistance] continue to gain strength and are ready for
                 the zero-hour confrontation with Zionist terrorism, and it is possible that the
                 military training conducted by the Axis forces of the resistance in southern
                 Lebanon and Gaza proves that the desire for victory rooted in the thinking
                 and way of the resistance organizations, which work in high coordination
                 among its components. This is what the leadership of the occupation state
                 fears, [as reflected] in the recent military trainings [of the IDF] from the
                 invasion of Hezbollah’s al-Radwan brigade into occupied northern
                 Palestine, and from dealing with this danger, and the continued
                 strengthening of joint coordination between the Palestinian resistance
                 organizations through the joint operations room and its performance at a
                 high level on the ground, we can say that the formation of the resistance
                 axis is a strong confirmation that the resistance cannot be eliminated by
                 force, since it has become an ingrained phenomenon in Islamic reality, and
                 it cannot be ignored or eliminated by force of arms, since the future belongs
                 to it. And she will fight until victory.” 76

        319.     Starting no later than August 2023, IRGC-QF commanders used the Joint

Operations Room in Beirut to conduct biweekly planning meetings with Hamas, PIJ, Hezbollah,

and other Iranian-backed terror groups. Iran’s foreign minister Hossein Amir-Abdollahian

attended at least two of these meetings. 77

        320.     On August 13, 2023, Hassan Nasrallah met publicly with Hamas and PIJ officials.

        321.     While these meeting were genuine, it is unlikely that they directly involved

planning the “Big Project” because the discussions included Abdollahian (who was unlikely to be



76
         See Halevi, Jonathan D., From Hamas’s Point of View, Jerusalem Center for Security and Foreign Affairs,
available at https://jcpa.org.il/article/from-the-point-of-view-of-hamas-october/.
77
          See Summer Said, Iran Helped Plot Attack on Israel Over Several Weeks, WALL STREET JOURNAL, Oct. 8,
2023, available at https://www.wsj.com/world/middle-east/iran-israel-hamas-strike-planning-bbe07b25; see also 500
Hamas, PIJ terrorists trained for October 7 attack in Iran last month – report, TIMES OF ISRAEL, Oct. 25, 2023,
available at https://www.timesofisrael.com/500-hamas-pij-terrorists-trained-for-october-7-attack-in-iran-last-month-
report; Emanuel Fabian, IDF says Iran directly aided Hamas before assault, TIMES OF ISRAEL, Oct. 25, 2023, available
at https://www.timesofisrael.com/liveblog_entry/idf-says-iran-directly-aided-hamas-before-assault.



                                                        66
       Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 73 of 154




included within the small, trusted group involved in operational planning) and PIJ operatives who,

while trusted to participate in the execution of the plan, were also not within the Qassam Brigades’

inner circle of trust.

        322.    By this time, having bankrolled the “Big Project” and solidified the coordination

between the Gaza leadership of Hamas and Hezbollah, the IRGC was prepared to approve the

operation and final preparations for it, but proposed some tactical modifications, including the

introduction of gliders into the attack plan.

        323.    After obtaining the green light from the IRGC-QF, al-Arouri was appointed as an

intermediary to deliver messages between the parties face-to-face in Lebanon to avoid using

electronic communication about the operation and its planning, and he also began making periodic

visits to Iran to hold further face-to-face discussions to implement the operation.

        324.    Under the auspices of the IRGC-QF, 50 Hamas operatives began an intensive 40-

day training program in Lebanon on August 5, 2023, to learn how to use gliders in combat

operations. The training operations took place in the village of Hawsh al-Qanaba, located in the

Bekaa Valley. The training exercises were supervised by Hezbollah, and Hamas was represented

by Muhammad Sinwar, Yahya Sinwar’s brother and one of the current surviving leaders of Hamas.

        325.    To cover for its increased tempo of activity and maintain the illusion that its

detectable training exercises were all part of Hamas’s inflammatory rhetoric (intended for

domestic consumption), Hamas published an article in Palestine on August 19, 2023, warning:

                The total war and the concerns of the occupation. With the passage of time,
                the dangers and threats in the environment of the Israeli occupation entity
                have intensified and the concerns become visible about the outbreak of a
                conflict or a total war... against the background the rapid changes in this
                arena, and the unprecedented developments in the various arenas in
                Palestine, Lebanon, Syria, Iraq, Yemen, and Iran, which became more
                capable of creating a deterrence equation in a confrontation with the enemy,
                after these fronts succeeded in developing capabilities in the field of



                                                 67
       Case 1:24-cv-03244-LLA              Document 1         Filed 11/17/24         Page 74 of 154




                 training, arming, and intelligence effort... the timing and circumstances of
                 this campaign depends on the leadership of the resistance, which is prepared
                 to choose the timing and the circumstances that serve the great goals that
                 the resistance seeks to achieve, first of all the inflicting the greatest defeat
                 on the Israeli enemy, which will push him to stop his occupation of Palestine
                 in the Arab lands once and for all. 78

        326.     On August 25, 2023, Hezbollah’s Al-Mayadeen television channel broadcast an

extensive interview with Saleh al-Arouri, the deputy leader of Hamas, where he presented his

assessment of Hamas’s relations with Israel, the preparations for an all-out confrontation against

it in coordination with the Axis of Resistance, and the expected nature of the campaign.

                 The all-out war has become an unavoidable issue, and we believe it is
                 necessary, we want it. We, the resistance, the axis of the resistance, [Arab
                 and Islamic] peoples, the Palestinian people, the [Islamic] nation want this
                 all-out campaign. We do not talk about it [about the war] in public. We
                 discuss it in closed rooms.

                 We meet with everyone. The components [partners to] the overall
                 campaign, and we all discuss it. We discuss its scenarios and its potential,
                 and we are convinced that we can … for sure, defeat them... We are
                 convinced that this [Israeli] entity, honestly, if it starts an all-out conflict,
                 its airspace will be closed, and IT will not be able to live without electricity,
                 the sea will be closed to it, without communication, [and in a state of]
                 curfew, the wheels of the economy will stop in an open campaign whose
                 end is unknown. We can do all this [mentioned above]. All resistance forces
                 can do this to change this situation, a real change. 79

        327.     Hassan Nasrallah met with Saleh al-Arouri again on September 2, 2023. Four days

later, al-Arouri gave an interview to Al Jazeera again expressing the view that a decisive

confrontation with the enemy was imminent.

        328.     On September 2, 2023, Hamas also published an article on the official website of

the Qassam Brigades warning of “the possibility that the enemy will launch a new aggression, one




78
         See Halevi, Jonathan D., From Hamas’s Point of View, Jerusalem Center for Security and Foreign Affairs,
available at https://jcpa.org.il/article/from-the-point-of-view-of-hamas-october/.
79
        Id.



                                                      68
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24       Page 75 of 154




of the manifestations of which will be the assassination of the leaders of the resistance [Hamas]

inside [Palestine] or outside [Palestine]” and warning that this would lead to “a severe reaction on

the part of the Palestinian resistance, and may develop into the entry of other fronts into the front

line, such as (Syria, Lebanon), and it is possible that other fronts will join in their wake.”

          329.   That same day, Nasrallah also met publicly with one of the leaders of the PFLP.

          330.   Two weeks later, on September 15, 2023, leaders of Hamas, PIJ and the PFLP met

publicly in Beirut.

          331.   While these public threats were being issued, between September 10 and 20, 2023,

senior leaders of Hezbollah and Hamas met with the IRGC in Nabatiyeh, at a villa used as a

Hezbollah safe house. Those in attendance included:

             x   Talal Hamiyah, a senior member of Hezbollah’s Islamic Jihad Organization;

             x   Marwan Issa, the deputy commander of the Qassam Brigades in Gaza; and

             x   Mohammed Pakpour, Commander in Chief of the IRGC Ground Forces.

          332.   The meeting was held to finalize the operational details of, and develop the

necessary plans to ensure proper coordination during, the October 7 Attack.

          333.   On September 23, 2023, leaders of the PFLP, Hamas and PIJ met again publicly in

Beirut.

          334.   The Wall Street Journal has reported that meetings in the Joint Operations Room

in Beirut culminated with an October 2 meeting in which Iran provided the green light for Hamas,

PIJ, and the other Iran-backed groups to launch the pre-planned attack against Israel, using Iranian

intelligence, training, and military supplies. 80


80
        See Summer Said, Iran Helped Plot Attack on Israel Over Several Weeks, WALL STREET JOURNAL, Oct. 8,
2023, available at https://www.wsj.com/world/middle-east/iran-israel-hamas-strike-planning-bbe07b25; see also
Jonathan Schanzer, Iran-Hezbollah Intelligence Center May Help Hamas Target Israel, FOREIGN POLICY, Sept. 13,



                                                     69
        Case 1:24-cv-03244-LLA               Document 1           Filed 11/17/24         Page 76 of 154




           335.   While it is conceivable that the “green light” was given at this meeting, it is more

likely that the discussions leading to the finalization of the plan were not discussed in consultation

with PIJ operatives—who would have been attending the meeting, but (again) were not within the

Qassam Brigades’ inner circle—and that the “green light” was given by the IRGC a few weeks

earlier.

           336.   Also on October 2, 2023, PIJ publicly mounted a training exercise on the occasion

of “Martyrs are the Harbingers of Victory” day, followed two days later by a military parade in

commemoration of its 36th anniversary as a terrorist organization in the Gaza Strip. Whether

intentionally or not, the flurry of PIJ activity in the days before the October 7 Attack, likely served

as a smokescreen concealing Hamas’s final preparations for the assault.

           337.   When, in the early morning of October 7, 2023, Hamas led the Iranian-financed-

and-approved attack against Israel, killing, kidnapping, and injuring Plaintiffs, among hundreds of

others, Hamas apparently did not fully follow the agreed upon coordinated plan approved by the

IRGC because neither Hezbollah nor the IRGC-armed and -trained Qassam Brigades operatives

in Lebanon attacked northern Israel in force on October 7 as “the Big Project” envisioned.

           338.   Whether Hamas’s action was motivated by a desire to “get a jump” on its allies and

claim more of the glory or was necessitated by pressing operational considerations—such as fear

of imminent discovery—the October 7 Attack was unquestionably financed and coordinated by

Iran.




2022, available at https://foreignpolicy.com/2022/09/13/iran-hezbollah-hamas-israel-beirut-lebanon-intelligence-sha
ring-center; Paul Kirby, Israel faces ‘long, difficult war’ after Hamas attack from Gaza, BBC, Oct. 8, 2023, available
at https://www.bbc.com/news/world-middle-east-67044182; Shay Khatiri, Why It’s Obvious Iran Approved Hamas
Attack, WALL STREET JOURNAL, Oct. 17, 2023, available at https://www.wsj.com/articles/why-its-obvious-iran-
approved-hamas-attack-khamenei-nuclear-deal-f394c477.



                                                         70
       Case 1:24-cv-03244-LLA               Document 1          Filed 11/17/24         Page 77 of 154




III.    The October 7 Attack.

        339.     On Saturday, October 7, 2023, Hamas launched Operation al-Aqsa Flood.

        340.     For the largely Jewish population of Israel, October 7, 2023, was the Sabbath and

the Jewish holiday of Simchat Torah, a festive day that celebrates the conclusion of the yearly

readings of the Torah. It was also the 50th anniversary of the Yom Kippur War.

        341.     At approximately 6:30 a.m., Hamas and PIJ terrorists fired thousands of rockets

and unleashed mortar fire from Gaza into Israel. According to the IDF, approximately 5,000

rockets were fired at Israel during the October 7 Attack, with approximately 4,000 fired within the

first four hours.

        342.     The rockets and mortars largely targeted the civilian population in a variety of

locations throughout southern Israel. Within the first few minutes of the October 7 Attack, alert

sirens sounded in approximately 30 Israeli communities near the Gaza border. These southern

communities, including the cities of Ashkelon, Ashdod, and Sderot, were the primary targets. But

explosions were recorded as far away as Herzliyya and Tel Aviv to the north of Gaza and the

Bedouin village of al-Bat to Gaza’s east, where rockets killed five people.

        343.     In accordance with the plan agreed to with the IRGC-QF, Hamas also launched

unmanned drones carrying incendiary weapons and fired additional projectiles at military posts

located along the Gaza-Israel border. 81 The goal was to disable the IDF’s surveillance equipment

and capabilities—its first line of defense along the border with Gaza.

        344.     Shortly after 6:30 a.m., under the cover of rocket fire, Hamas-led terrorists breached

the fence between the Gaza Strip and Israel in approximately 30 locations using explosives,




81
         Several “Shahab” explosive-laden drone models, likely based on the Iranian military design of its “Ababil-
2” drones were deployed by Hamas on October 7.



                                                        71
       Case 1:24-cv-03244-LLA              Document 1         Filed 11/17/24   Page 78 of 154




bulldozers, tractors, wire cutters, and other means. All told, there were more than one hundred

breaches of the border fence during the October 7 Attack.

        345.    Heavily armed terrorists entered Israel on foot or using pickup trucks, motorbikes,

and other vehicles.

        346.    Other Hamas operatives, utilizing their prior training with the IRGC-QF in

Lebanon, breached the defensive perimeters of nearby kibbutzim using paragliders, following the

operational plans developed in coordination with the IRGC-QF. 82

        347.    Other Hamas commandos landed by sea at Zikim beach in southern Israel.

        348.    The Hamas-led terrorists were armed with automatic rifles, extensive ammunition,

and rocket-propelled grenades (RPGs), anti-tank weapons, and more.

        349.    Some terrorists wore fatigues to resemble Israeli army uniforms or were dressed

like Israeli police to confuse Israeli security forces and civilians.

        350.    Some carried radios for communication and zip ties to restrain hostages.

        351.    Some wore “Go-Pro” or other body cameras that allowed them to capture video

footage of the horrific acts they committed that day.

        352.    Over the course of October 7, approximately 3,800 Hamas-led terrorists—

including from Hamas’s Qassam Brigades, PIJ’s Quds Brigades, and the PFLP’s Abu Ali Mustafa

Brigades, the PRC, and AAMB—crossed through the border fence. An additional 2,200 Gazans

also crossed over, some of them to participate in looting and acts of sadism or simply to witness

and celebrate the horror.

        353.    Large groups of attackers targeted specific towns and villages (listed from south to

north): Holit, Sufa, Nir Itzhak, Pri Gan, Talmei Yosef, Mivtachim, Yesha, Amioz, Magen, Nir Oz,


82
        These appear to have been single/double crewed paramotor gliders.



                                                      72
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24      Page 79 of 154




Nirim, Ein Hashlosha, Kissufim, Re’im, Be’eri, Alumim, Nahal Oz, Kfar Aza, Mefalsim, Yachini,

Nir Am, Sderot, Netiv Ha’asara, Karmia, Zikim beach, and Ofakim, as well as public spaces and

outdoor festivals, such as the Supernova music festival near kibbutz Re’im and the Psyduck music

festival located between Nirim and Nir Oz.

         354.   Ofakim was the easternmost town attacked on the ground that day.

         355.   Other terrorists focused their attacks on Israeli military installations. Terrorists

attacked the Re’im army base, which is the headquarters of the IDF’s Gaza Division, taking control

of the base before the IDF repelled them later on October 7.

         356.   They also attacked the army base at Nahal Oz, killing more than 60 Israeli soldiers

and taking six as hostages.

         357.   Hamas also attacked military posts at key crossing sites, including at the Erez

checkpoint, in the north of Gaza, and the Kerem Shalom crossing, located near Israel’s border with

Egypt.

         358.   They also attempted to take over the base in Zikim, the site of the amphibious

landing.

         359.   Terrorists also laid ambushes on key roads leading from areas of Israel near the

Gaza border and targeted arriving Israeli Security Forces, including positions at junctions along

Road 232 where they ambushed civilians trying to escape and shot at medical transport and

security forces.

         360.   The horror of the October 7 Attack has been widely reported. Hamas-led terrorists

tried to murder as many people as they could. They infiltrated communities shooting at anything

that moved, killing and wounding men, women, children, and babies. Some people were killed in

sprays of machine gun fire; others were executed at close range. The terrorists used grenades to




                                                 73
       Case 1:24-cv-03244-LLA             Document 1         Filed 11/17/24        Page 80 of 154




kill en masse and burned victims alive. They lit homes on fire, where people suffocated and burned

in their safe rooms. They tortured and committed sexual violence against women and girls

including rape, assault, and mutilation. They beheaded the living and the dead, sometimes laughing

while doing so. They looted and burned homes, destroying entire communities. On the roads,

terrorists killed people in their cars and in the street. Cars riddled with bullets and burned from

RPGs and anti-tank weapons littered the roads.

        361.    Some survivors witnessed their loved ones being killed, wounded, or tortured, as

they too were fearful for their own lives. People hid in their saferooms, in public shelters, under

dead bodies, and wherever else they could. For the duration of the October 7 Attack, they were

gripped with horror that they would also be killed, tortured and/or kidnapped. The extreme mental

anguish of their experience will be with them forever. Even those who were not present were filled

with the horror of what was happening to their family members, sometimes communicating by cell

phone with those under siege. More than one year later, the horror of the October 7 Attack still

haunts the survivors.

        362.    According to the U.S. Secretary of State, after reviewing some of the footage and

pictures from the day: “It’s hard to find the right words. It’s beyond what anyone would ever want

to imagine, much less, God forbid, experience … A baby, an infant, riddled with bullets. Soldiers

beheaded. Young people burned alive. I could go on, but it’s simply depravity in the worst

imaginable way.” 83

        363.    The Hamas-led terrorists also took hostages to use as a bargaining chip for the

release of prisoners in Israeli jails. In all, 251 people from Israel were captured during the October



83
         Shannon C. Crawford, Blinken describes images of Hamas attack victims, pledges, US support on trip to
Israel, ABC News, Oct. 12, 2023, available at https://abcnews.go.com/International/blinken-meets-hamas-attack-
survivors-pledges-us-support/story?id=103925374.



                                                     74
      Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 81 of 154




7 Attack and brought to Gaza, including women, very young children, the elderly, and the bodies

of victims murdered on October 7.

       364.    As of the filing of this Complaint, 97 hostages from October 7 remain unaccounted

for, including four Americans believed to be alive, and the bodies of four Americans who were

murdered, including Itay Chen, whose estate and family members are Plaintiffs.

IV.    Iran’s “Ring of Fire” and the Multiple Conflicts That Resulted from the October 7
       Attack.

       365.    Fighting continued inside Israeli territory on October 8 as the IDF fought the

remaining Nukhba Force operatives even after the main assault had stalled.

       366.    At the same time, Hezbollah joined the fray by firing anti-tank guided munitions

(ATGMs), rockets, drones, missiles, and other standoff weapons at Israeli military and civilian

targets, killing and wounded many, including Omer Balva, whose estate and family are Plaintiffs,

and forcing more than 50,000 Israelis to flee their homes.

       367.    Between October 7, 2023, and August 18, 2024, the average Hezbollah strike

occurred about 3 km into Israel. Between August 18 and the beginning of September, the average

depth of a Hezbollah strike was approximately 4 km. During the week of September 22, the

average depth of a Hezbollah strike was 28 km.

       368.    However, neither the Radwan Forces, nor the Qassam Brigades stationed in

Southern Lebanon, crossed the border in force as originally agreed upon.

       369.    The IRGC-QF likely did not initiate that contemplated ground assault into northern

Israel because they were caught off guard by Hamas’s unilateral decision to initiate the “Big

Project” on its own timetable.

       370.    Instead, for 10 months, Hezbollah (and to a lesser extent Hamas’s forces in

Lebanon) struck northern Israel on a daily basis “in solidarity” with Hamas in Gaza, and the



                                               75
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24      Page 82 of 154




Houthis in Yemen have launched missiles and drones at Israel periodically, but without risking a

full-scale war with Israel.

       371.    In response to the October 7 Attack and the taking of over 200 hostages by Hamas,

Israeli ground operations in the northern Gaza Strip began on October 27, 2023, with advances

along three axes: a southward drive along the western coast toward al Shati camp, a southwestward

drive into Beit Hanoun, and a westward drive from Juhor ad Dik to the western coast, thereby

cutting the Gaza Strip in half and isolating the northern Strip from the southern Strip.

       372.    Hamas began a delaying operation in which it sought gradually to trade space for

the time in which it expected that international pressure and domestic pressure to liberate the

hostages would force Israel to suspend operations.

       373.    For the past year, the IDF has engaged in violent confrontations with Hamas, PIJ,

PFLP, AAMB, and PRC operatives seeking to inflict casualties on Israeli forces in the Gaza Strip.

       374.    To date, over 700 IDF soldiers, including several dual American-Israeli citizens,

have been killed and many more injured (often severely injured) and many of the hundred or more

hostages held by Hamas and its co-conspirators, some of them U.S. citizens, have been murdered

by their captors.

V.     The Plaintiffs Were Harmed by Defendants’ Conduct.

       A.      The Weiser Family

       375.    Roey Weiser was a citizen of the United States and a resident of the State of Israel

when he was murdered by Hamas on October 7, 2023. He was 21 years old.

       376.    Roey was on his base guarding the Erez Crossing into Gaza. The Erez Crossing is

a border crossing between the Gaza Strip and Israel, located at the northern end of the Gaza Strip




                                                 76
       Case 1:24-cv-03244-LLA                Document 1          Filed 11/17/24         Page 83 of 154




between the Israeli kibbutz 84 of Erez and the Palestinian town of Beit Hanoun. That crossing is a

place where food and goods are regularly transported into Gaza, and where thousands of Gazans

come and go to work in Israel or for medical care.

        377.     Early in the morning of October 7, 2023, Hamas terrorists breached the Erez

Crossing.

        378.     Although Roey was not on guard at the time, he leapt into action. One of two

commanders at the outpost, he assigned soldiers to positions, provided updates on the situation,

and ensured that as many non-combatant soldiers as possible reached the security room.

        379.     Seeing that his comrades were not reaching the security room because they were

pinned down by attacking Hamas terrorists, he conceived of a daring maneuver to outflank the

terrorists.

        380.     He led three soldiers out of cover and traveled under fire to join additional soldiers

to draw fire away from their other comrades.

        381.     For more than one hour, Roey and his comrades fought a fierce battle against

Hamas terrorists, killing dozens of them.

        382.     Running low on ammunition, Roey and his comrades decided to retreat to the safe

room area, but Hamas terrorists ambushed them along the way, killing Roey.

        383.     Thanks to Roey’s tactical thinking and his heroism, at least 12 of his fellow soldiers

were saved.

        384.     Roey’s parents, Naomi Feifer-Weiser and Yisrael Weiser, bring this action on

behalf of the Estate of Roey Weiser.



84
         A kibbutz refers to a community in Israel where historically, all wealth was held in common and profits were
reinvested in the community. Many kibbutzim have moved toward a more privatized approach, but continue to
maintain a shared and family-oriented lifestyle.



                                                        77
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24       Page 84 of 154




       385.    Plaintiff Naomi Feifer-Weiser also brings this action individually. She is a citizen

of the United States and is a resident of the State of Israel. She is the mother of Roey Weiser.

       386.    Plaintiff Yisrael Weiser also brings this action individually. He is a citizen of the

United States and a resident of the State of Israel. He is the father of Roey Weiser.

       387.    Plaintiff Shani Weiser is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Roey Weiser.

       388.    Plaintiff Nadav Weiser is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Roey Weiser.

       389.    As a direct and foreseeable result of the October 7, 2023, attack, the Plaintiff Estate

of Roey Weiser suffered conscious pain and suffering and economic loss.

       390.    Plaintiffs Naomi Feifer-Weiser, Yisrael Weiser, Shani Weiser, and Nadav Weiser

have experienced severe mental anguish and extreme emotional distress as a direct and foreseeable

result of the attack on and the death of Roey Weiser.

       B.      The Morell Family

       391.    Maoz Morell was a citizen of the United States and a resident of the State of Israel

when he was murdered by Hamas. He was 21 years old.

       392.    In April 2022, Maoz was drafted into the IDF’s elite Paratroopers Brigade’s

reconnaissance unit.

       393.    On October 7, 2023, Maoz was on holiday from the IDF. As soon as he learned of

Hamas’s attack on Israel, he collected his army equipment and rushed to the fighting underway in

Re’im—the site of the Supernova music festival and a kibbutz of the same name, both of which

were under heavy attack from Hamas terrorists.

       394.    Maoz was relocated to Gaza, where he fought for seven weeks. During that time,

he was only able to call home once. The voicemail he left for his mother spanned 11 seconds, and


                                                 78
      Case 1:24-cv-03244-LLA            Document 1       Filed 11/17/24      Page 85 of 154




said: “Hi Mommy, it’s Maoz. Everything is sababa [Hebrew slang for great]. That’s it. I’ve

updated you.”

          395.   Maoz was injured on February 15, 2024, while fighting in the southern Gaza Strip.

He and his unit were positioned in an evacuated house when Hamas terrorists threw a grenade

inside one of the rooms, injuring many of the soldiers situated there. Maoz, who was in a different

room, immediately entered the room under attack and started administering medical support to the

wounded.

          396.   Once Maoz provided whatever support he could, he went up to the roof to assist

those engaged in active combat with the Hamas terrorists on the ground who were continuing to

attack.

          397.   An IDF tank providing cover fired at one of the buildings where the Hamas

terrorists were located. The blast dispersed fragmentation, a large piece of which struck Maoz in

his head, critically injuring him.

          398.   While Maoz was in the hospital, hundreds of his friends came to visit him. His

parents were told there was no hope for his recovery, but Maoz lived until February 19, 2024,

when he succumbed to his wounds.

          399.   Maoz’s parents, Varda and Eitan Morell, bring this action on behalf of the Estate

of Maoz Morell.

          400.   Plaintiff Varda Morell also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Maoz Morell.

          401.   Plaintiff Eitan Morell also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Maoz Morell.




                                                  79
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 86 of 154




       402.    Varda and Eitan Morell also bring this action on behalf of their minor child, E.E.M.

E.E.M. is a citizen of the United States and is a resident of the State of Israel. He is the brother of

Maoz Morell.

       403.    Varda and Eitan Morell also bring this action on behalf of their minor child, C.M.

C.M. is a citizen of the United States and is a resident of the State of Israel. She is the sister of

Maoz Morell.

       404.    Plaintiff Shachar Yehuda Morell is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Maoz Morell.

       405.    Plaintiff Mordechai Eliezer Menachem Morell is a citizen of the United States and

is a resident of the State of Israel. He is the brother of Maoz Morell.

       406.    Plaintiff Dov Yerachmiel Morell is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Maoz Morell.

       407.    As a direct and foreseeable result of the February 15, 2024, attack, the Plaintiff

Estate of Maoz Morell suffered conscious pain and suffering and economic loss.

       408.    Plaintiffs Varda and Eitan Morell, E.E.M., C.M., Shachar Yehuda Morell,

Mordechai Eliezer Menachem Morell, and Dov Yerachmiel Morell have experienced severe

mental anguish and extreme emotional distress as a direct and foreseeable result of the attack on

and the death of Maoz Morell.

       C.      The Leiter Family

       409.    Moshe Yedidyah Leiter was a citizen of the United States and a resident of the State

of Israel when he was killed by Hamas on November 10, 2023. He was 39 years old.

       410.    Moshe Leiter was a father of six children. He served in the IDF until he was 33,

when he retired from active duty as a Major. He then entered medical school and completed his

studies in August 2023, and was scheduled to begin hospital residency on October 8, 2023, the day


                                                  80
      Case 1:24-cv-03244-LLA            Document 1           Filed 11/17/24    Page 87 of 154




after the October 7 Attack. At the time of his death, he was serving as a company commander in

the reserves.

       411.     Moshe Leiter and three other IDF reservists were murdered by a Hamas booby trap

in the Beit Hanoun area of Gaza while inspecting a tunnel entrance.

       412.     Plaintiff Jay Michael (Yechiel) Leiter is a citizen of the United States and is a

resident of the State of Israel. He is the father of Moshe Leiter.

       413.     Plaintiff Chana Leiter is a citizen of the United States and is a resident of the State

of Israel. She is the mother of Moshe Leiter.

       414.     Plaintiff Neriya Dov Leiter is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Moshe Leiter.

       415.     Plaintiff Sara Bracha (Leiter) Attias is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Moshe Leiter.

       416.     Plaintiff David Elimelech Leiter is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Moshe Leiter.

       417.     Plaintiff Sophia (Leiter) Redler is a citizen of the United States and is a resident of

the State of Israel. She is the sister of Moshe Leiter.

       418.     Plaintiff Samuel Yair Leiter is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Moshe Leiter.

       419.     Plaintiff Noam Elisha Leiter is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Moshe Leiter.

       420.     Plaintiff Amikam Tzion Leiter is a citizen of the United States and is a resident of

the State of Israel. He is the brother of Moshe Leiter.




                                                   81
       Case 1:24-cv-03244-LLA              Document 1          Filed 11/17/24   Page 88 of 154




       421.     Plaintiffs Jay Michael (Yechiel) Leiter, Chana Leiter, Neriya Dov Leiter, Sara

Bracha (Leiter) Attias, David Elimelech Leiter, Sophia (Leiter) Redler, Samuel Yair Leiter, Noam

Elisha Leiter, and Amikam Tzion Leiter have experienced severe mental anguish and extreme

emotional distress as a direct and foreseeable result of the attack on and the death of Moshe Leiter.

       D.       The Balva Family

       422.     Omer Balva was a citizen of the United States and a resident of Montgomery

County, Maryland, when he was murdered by Hezbollah on October 20, 2023. He was 22 years

old.

       423.     Omer was recalled to Israel from his home in Maryland, shortly after Hamas’s

attack on October 7, 2023. Before his flight, he bought supplies he knew the soldiers in his unit

might need, including knee pads, elbow pads, and earmuffs. Omer and his childhood friend spent

Omer’s last night in Maryland packing a duffel bag full of gear.

       424.     On Friday, October 20, 2023, Omer was killed at Netu’a, a moshav 85 in northern

Israel near the Lebanese border, after being struck by an antitank missile fired by Hezbollah from

Lebanon. Omer’s unit was located approximately two miles from the Lebanon border at the time.

       425.     Omer’s parents, Eyal Balva and Sigalit Balva, bring this action on behalf of the

Estate of Omer Balva.

       426.     Plaintiff Eyal Balva also brings this action individually. He is a citizen of the United

States and is a resident of the State of Maryland. He is the father of Omer Balva.

       427.     Plaintiff Sigalit Balva also brings this action individually. She is a citizen of the

United States and is a resident of the State of Maryland. She is the mother of Omer Balva.




85
       A moshav refers to an Israeli cooperative farming village.



                                                       82
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24      Page 89 of 154




       428.    Plaintiff Shahar Balva is an Israeli citizen and a resident of the State of Maryland.

She is the sister of Omer Balva.

       429.    Plaintiff Itai Haim Balva is a citizen of the United States and is a resident of the

State of Maryland. He is the brother of Omer Balva.

       430.    Plaintiff Barak Balva is a citizen of the United States and is a resident of the State

of Maryland. He is the brother of Omer Balva.

       431.    As a direct and foreseeable result of the October 20, 2023, attack, the Plaintiff

Estate of Omer Balva suffered conscious pain and suffering and economic loss.

       432.    Plaintiffs Eyal Balva, Sigalit Balva, Shahar Balva, Itai Haim Balva, and Barak

Balva have experienced severe mental anguish and extreme emotional distress as a direct and

foreseeable result of the attack on and death of Omer Balva.

       E.      The Rousso Family

       433.    Ofek Rousso was a citizen of the United States and a resident of the State of Israel

when he was murdered by Hamas. He was 21 years old.

       434.    Just months before, Ofek had completed the grueling training course of Shayetet

13, an elite IDF combat unit that is often analogized to the U.S. Navy SEALs. Within his unit, he

was selected to serve as a combat medic, and trained to provide first aid to his fellow soldiers.

       435.    On October 7, 2023, Ofek was on routine standby duty at his base. Early in the

morning, when reports of the ongoing terror attacks started to surface, Ofek and several other

soldiers from his unit were called to respond.

       436.    They first set out for Ofakim, one of the towns that had been infiltrated by Hamas

terrorists. By the time Ofek and his fellow soldiers arrived there, no terrorists remained, and Ofek

provided medical treatment to several civilians.




                                                   83
      Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24     Page 90 of 154




       437.    At 4:15 p.m., Ofek arrived at Kibbutz Be’eri, along with several dozen soldiers

from Shayetet 13. They rushed into the kibbutz. For many hours, under the harshest of conditions,

Ofek and his comrades went from house to house, fighting Hamas terrorists and rescuing civilians.

Ofek provided medical attention to both civilians and soldiers, including a family with four

children that his team had saved.

       438.    Ofek and his fellow soldiers took their first break around 1:45 a.m. in the early

hours of October 8, 2023. His unit had been fighting all day without food or water, wearing heavy

combat gear, and bearing witness to horrific atrocities against the residents of Kibbutz Be’eri. But

the shooting soon resumed, and Ofek immediately responded.

       439.    At 2:15 a.m., Ofek heard the shout of a fellow soldier who had been hit with fire

and needed a medic. Ofek was lying in a cover position about ten meters away. Ofek was the only

medic in the group. He signaled to his commander that he was going to the wounded soldier, got

approval, and immediately rushed toward him. Just as Ofek began treating his wounded comrade,

he was attacked by a burst of gunfire from Hamas terrorists. One of the bullets struck Ofek’s right

temple, killing him.

       440.    Ofek died on Sunday, October 8, 2023, at 2:15 a.m. His final messages to his father,

Yaniv, read “Go to sleep, everything’s fine, we’ll talk tomorrow. Goodnight.”

       441.    On the afternoon of October 8, Yaniv first learned from a father of one of the

soldiers in Ofek’s unit that Ofek had been hurt. Yaniv began contacting anyone he could who

might provide him with more information about Ofek. No one gave him any answers. Yaniv did

not know if his difficulty in gathering information was a product of the chaos unfolding in southern

Israel or if something had happened to Ofek and the army was withholding information.




                                                84
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 91 of 154




       442.    Days went by without any contact from Ofek. The Rousso family experienced

tremendous stress as they awaited any word about their son’s fate. It was not until 3:40 a.m. on

October 11, 2023, that the doorbell rang. Two IDF officers had arrived to deliver the worst possible

news to Ofek’s parents, Yaniv and Fanny, and his sister, Inbar.

       443.    Ofek’s parents, Yaniv and Fanny Rousso, bring this action on behalf of the Estate

of Ofek Rousso.

       444.    Plaintiff Yaniv Rousso also brings this action individually. He is a citizen and

resident of the State of Israel. He is the father of Ofek Rousso.

       445.    Plaintiff Fanny Rousso also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Ofek Rousso.

       446.    Plaintiff Inbar Rousso is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Ofek Rousso.

       447.    As a direct and foreseeable result of the October 8, 2023, attack, the Plaintiff Estate

of Ofek Rousso suffered conscious pain and suffering and economic loss.

       448.    Plaintiffs Yaniv Rousso, Fanny Rousso, and Inbar Rousso have experienced severe

mental anguish and extreme emotional distress as a direct and foreseeable result of the attack on

and the death of Ofek Rousso.

       F.      The Chen Family

       449.    Itay Chen was a citizen of the United States and a resident of the State of Israel

when he was murdered by Hamas. He was 19 years old.

       450.    On October 7, 2023, Itay was serving on the Israel-Gaza border with his tank unit,

the Seventh Armored Brigade’s 75th Battalion. Itay was killed during an intense battle with Hamas

terrorists following their breach of Israel’s borders, and he was taken to Gaza.




                                                 85
      Case 1:24-cv-03244-LLA              Document 1      Filed 11/17/24          Page 92 of 154




        451.    Itay’s family last heard from him early that morning. Two days later, the Chen

family learned that the IDF considered Itay to be missing in action, and that he was likely being

held in captivity by Hamas.

        452.    For months, Itay’s family believed that Itay was being held alive as a hostage in

Gaza. The Chen family became, and has remained, outspoken advocates for the families of

hostages being held by Hamas.

        453.    In March 2024, five months after the attacks, Itay’s family received word that Itay

had in fact been killed on October 7, 2023. The IDF was able to confirm his death based on

intelligence and findings it had obtained from troops operating in Gaza.

        454.    United States President Joe Biden released a statement on March 12, 2024, recalling

when “Itay’s father and brother joined me at the White House, to share the agony and uncertainty

they’ve faced as they prayed for the safe return of their loved one. No one should have to endure

even one day of what they have gone through.”

        455.    Itay’s parents, Ruby and Hagit Chen, bring this action on behalf of the Estate of

Itay Chen.

        456.    Plaintiff Ruby Chen also brings this action individually. He is a citizen of the United

States and is a resident of the State of Israel. He is the father of Itay Chen.

        457.    Plaintiff Hagit Chen also brings this action individually. She is a citizen and

resident of the State of Israel. She is the mother of Itay Chen.

        458.    Plaintiff Roy Chen is a citizen of the United States and is a resident of the State of

Israel. He is the brother of Itay Chen.




                                                  86
        Case 1:24-cv-03244-LLA         Document 1       Filed 11/17/24      Page 93 of 154




        459.   Ruby and Hagit Chen also bring this action on behalf of their minor child A.C. A.C.

is a citizen of the United States and is a resident of the State of Israel. He is the brother of Itay

Chen.

        460.   As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Itay Chen suffered conscious pain and suffering and economic loss.

        461.   Plaintiffs Ruby Chen, Hagit Chen, Roy Chen, and A.C. have experienced severe

mental anguish and extreme emotional distress as a direct and foreseeable result of the attack on

and the death of Itay Chen.

        G.     The Shay Family

        462.   Yaron Oree Shay was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas on October 7, 2023. He was 21 years old.

        463.   Yaron was the youngest child of Plaintiffs Izhar and Hilla Shay and the younger

brother of Plaintiffs Shir, Lior, and Ophir Shay.

        464.   He was born in New Jersey on December 13, 2001, and moved to Israel with his

family when he turned four. He attended the American School in Israel for four years and was a

proud dual American-Israeli citizen.

        465.   For several weeks prior to October 7, Yaron was serving on active duty within a

special unit of the Nahal Brigade of the IDF that was stationed at the Gaza border at the Kerem

Shalom military base, guarding the southern end of the Gaza Strip around the Kerem Shalom

border crossing between Israel and Gaza.

        466.   His parents had planned to travel to Yaron’s base on the Gaza border as part of a

pre-planned visit with their son on October 7.




                                                 87
       Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 94 of 154




       467.    Yaron messaged his parents by WhatsApp at 6:29 a.m. on October 7 to tell them

that Israel had been attacked, they should not come to visit, and he would update them later in the

day.

       468.    He subsequently sent a message via WhatsApp to his uncle who lived in another

kibbutz within the Gaza envelope warning him of the attack. It was the only warning that kibbutz

received that morning.

       469.    Yaron and two other soldiers from his unit drove to the entrance of the nearby

kibbutz at Kerem Shalom and held off dozens of Hamas Nukhba terrorists for more than an hour.

Their heroic battle saved the lives of hundreds of civilians at the kibbutz and the adjacent military

base. Sometime between 8 and 9 a.m., Yaron was severely wounded and eventually airlifted to a

hospital in Jerusalem where he was pronounced dead. His two comrades were both wounded in

the same firefight but survived.

       470.    Yaron’s parents lost contact with him after his initial message to them at 6:29 a.m.,

and they called various military personnel during the following 24 hours trying to obtain

information about him, to no avail.

       471.    The October 7 Attack caused confusion and chaos inside Israel, and reliable

information was difficult to obtain. On Sunday morning of October 8, Plaintiffs Izhar and Hilla

Shay received news that a number of Yaron’s fellow soldiers had been wounded, and that one of

them had been airlifted to Hadassah Ein Kerem Hospital in Jerusalem. Later that afternoon, they

decided to make their way to the hospital.

       472.    They arrived there on Sunday afternoon and encountered masses of other families

who were also looking for their loved ones.




                                                 88
       Case 1:24-cv-03244-LLA           Document 1      Filed 11/17/24      Page 95 of 154




          473.   Amid the chaos, Yaron’s mother stopped a female military officer tasked with

updating the families about the conditions and whereabouts of their relatives, asking if she had any

news about their son. The officer assured her that if something had happened to Yaron, the family

would have been notified by that point. Hilla pressed the officer and gave her Yaron’s full name –

Yaron Oree Shay.

          474.   The officer immediately recognized the unusual middle name and decided to inform

them that Yaron had been pronounced dead at the hospital the day before rather than force them

to wait for an official notification.

          475.   Plaintiff Izhar Shay immediately called his three surviving children to break the

news to them that their brother had died so they would hear it first from him before the media

announced it. Izhar had been a minister in the Israeli government, and as a public figure, the media

would have been keen to report this tragic news about his family. Indeed, moments after Izhar

finished relaying the terrible news to his children, Yaron’s death was made public and reported on

widely.

          476.   Izhar called his oldest son Lior first. Lior had been on his honeymoon in the south

of Argentina, and was on the second leg of his flight back to Israel after being called back to

emergency duty by his unit. Izhar then called Ophir, his middle son, who was also boarding a plane

back to Israel after cutting short a vacation in the Philippines. Lastly, Izhar called his daughter

Shir, who was at home with her husband and their then-two-month-old child.

          477.   There are special procedures for the delivery of tragic news about the death of a

soldier in the IDF which have been developed over many years and many thousands of cases.

Dedicated professionals are trained for a number of years before they are allowed to deliver news

of death to a victim’s family members, and there is a strict protocol which has to be followed. The




                                                 89
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 96 of 154




delivery of the tragic news about Yaron’s death to his parents by non-professionals at the hospital

and to his siblings by phone broke with this protocol, and added significant mental anguish and

extreme emotional distress to them.

       478.    All five surviving relatives of Yaron (Hilla, Izhar, Shir, Lior, and Ophir) required

emotional support counseling, and some continue to receive treatment.

       479.    Yaron’s parents, Hilla Shay and Izhar Shay, bring this action on behalf of the

Plaintiff Estate of Yaron Oree Shay.

       480.    Plaintiff Hilla Shay also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Yaron Oree Shay.

       481.    Plaintiff Izhar Shay also brings this action individually. He is a citizen and resident

of the State of Israel. He is the father of Yaron Oree Shay.

       482.    Plaintiff Shir Shay is a citizen of the United States and is a resident of the State of

Israel. She is the sister of Yaron Oree Shay.

       483.    Plaintiff Lior Shay is a citizen of the United States and is a resident of the State of

Israel. He is the brother of Yaron Oree Shay.

       484.    Plaintiff Ophir Shay is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Yaron Oree Shay.

       485.    As a direct and foreseeable result of the October 7 Attack, the Plaintiff Estate of

Yaron Oree Shay suffered conscious pain and suffering and economic loss.

       486.    Plaintiffs Hilla Shay, Izhar Shay, Shir Shay, Lior Shay, and Ophir Shay have

experienced severe mental anguish and extreme emotional distress as a direct and foreseeable

result of the attack and the death of Yaron Oree Shay. Hilla Shay quit her job as an interior designer




                                                 90
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 97 of 154




as a result of her son’s murder. Ophir Shay was only able to resume his professional career three

months after October 7, 2023, and worked part-time until June 2024.

       H.      The Ziering Family

       487.    Aryeh Ziering was a citizen of the United States and a resident of the State of Israel

when he was murdered by Hamas on October 7, 2023.

       488.    Aryeh was 27 years old, and a member of the IDF’s Oketz (canine) unit. He was at

his parents’ home for the Jewish holiday when he was called to duty in southern Israel to respond

to the October 7 Attack.

       489.    He went to his base to meet other members of his unit and get his combat gear and

headed to defend an instillation near Zikim, which had been attacked by Hamas.

       490.    Aryeh was killed sometime around midday on October 7 during a firefight with

Hamas terrorists.

       491.    Aryeh’s parents, Mark and Deborah Ziering, bring this action on behalf of the

Estate of Aryeh Ziering.

       492.    Plaintiff Mark Ziering also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Aryeh Ziering.

       493.    Plaintiff Deborah Ziering also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Aryeh Ziering.

       494.    After Aryeh left home that Saturday morning, Mark and Deborah did not hear from

him and assumed he and his unit were engaging the terrorists. Because Aryeh was an experienced

soldier and a strong, confident and seemingly indestructible young man, even though they worried

about him, his parents assumed he would be okay. Around 11:30 p.m. on Saturday night, after

some confusion in the notification, Mark and Deborah received a knock on the door from IDF

representatives notifying them of Aryeh’s death.


                                                 91
      Case 1:24-cv-03244-LLA            Document 1       Filed 11/17/24       Page 98 of 154




       495.    Plaintiff Eliana Ziering is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Aryeh Ziering.

       496.    On October 7, Eliana was in her apartment in Jerusalem which she shared with her

roommates. Like most people in Israel that day, Eliana learned of the attack that morning, but

unlike her siblings, she had completed her army service so when IDF representatives knocked on

her apartment door in the middle of the night (during the early hours of October 8), she assumed

they had come to summon her roommate (who was still doing her military service) to report for

emergency duty. Unfortunately, the knock on the door was for her and she was notified of her

brother’s death.

       497.    Plaintiff Yonatan Ziering is a citizen of the United States and is a resident of the

State of Israel. He is the brother of Aryeh Ziering.

       498.    Like his brothers, Yonatan was called back to active duty in the IDF on the morning

of October 7 to respond to the attack. At some point during the day, he learned from a fellow

soldier that Aryeh had been shot, but he did not assume the worst because he could not imagine

his older brother would fall in the battle. He was later informed by his commanding officer that

Aryeh had been killed and was sent home to join his family.

       499.    Plaintiff Tal Ziering is a citizen of the United States and is a resident of the State of

Israel. She is the sister of Aryeh Ziering.

       500.    Tal was also at home with her parents on October 7 but left to go back to the army

that morning once she was notified that she was needed. She was later informed by her

commanding officer that Aryeh had been killed and was sent home to join her family.

       501.    As a direct and foreseeable result of the October 7, 2023, attack, the Plaintiff Estate

of Aryeh Ziering suffered conscious pain and suffering and economic loss.




                                                  92
         Case 1:24-cv-03244-LLA        Document 1       Filed 11/17/24      Page 99 of 154




         502.   Plaintiffs Mark Ziering, Deborah Ziering, Eliana Ziering, Yonatan Ziering, and Tal

Ziering have experienced severe mental anguish and extreme emotional distress as a direct and

foreseeable result of the attack on and the death of Aryeh Ziering.

         I.     The Glisko Family

         503.   Itai Glisko was a citizen of the United States and a resident of the State of Israel

when he was murdered by Hamas on October 7, 2023. He was 20 years old.

         504.   Itai was born in New Jersey and moved with his family to Israel as a baby. On

October 7, 2023, he had served in the IDF for just twenty months.

         505.   Itai was not scheduled to be on base on October 7; he had plans to spend the Jewish

holiday with his parents and brothers. A friend went on leave that day, and Itai offered to take his

place.

         506.   Itai was positioned 500 meters from the Gaza border when 3,000 terrorists invaded.

         507.   He sent his family a WhatsApp message at 6:30 a.m. telling them not to worry, and

that he was in a bomb shelter. His family turned on the news and continued to message him.

         508.   The severity of the attack became apparent quickly, and at 11:00 a.m., Itai messaged

his family saying he was not sure if his messages would be his last. Throughout the attack on Itai’s

base, Itai, along with the battalion’s medic, evacuated the wounded into the base’s dining room to

receive first aid.

         509.   At 2:30 p.m., Hamas terrorists burned the entrance to the dining room to try and

suffocate the soldiers who were sheltering inside. Itai and three more troops went out to fight and

try to save the others. At 5:00 p.m., the army arrived to rescue those who had survived. Twenty-

four soldiers were saved.

         510.   For four days, Itai’s family did not know what had happened to him. They tracked

his phone, whose GPS location was 20 kilometers away from Itai’s base. They checked every list


                                                 93
      Case 1:24-cv-03244-LLA            Document 1         Filed 11/17/24      Page 100 of 154




of kidnapped and missing Israelis, but his name was not on them. They held out hope that Itai was

still alive until October 11, 2023, when the IDF knocked on the Gliskos’ door to inform them that

Itai had been killed.

          511.   The State of New Jersey honored Itai by issuing a proclamation that was delivered

to the Glisko family’s home. In part, it reads:

          Be It Resolved by the Senate and General Assembly of the State of New Jersey:

          That this Legislature hereby salutes the memory of Itay Ofek Glisko, pays tribute to
          his valiant service, and extends sincere sympathy and profound condolences to all
          who mourn his passing.

          512.   Itai’s parents, Oren and Liat Glisko, bring this action on behalf of the Estate of Itai

Glisko.

          513.   Plaintiff Oren Glisko also brings this action individually. He is a citizen and

resident of the State of Israel and the father of Itai Glisko.

          514.   Plaintiff Liat Glisko also brings this action individually. She is a citizen and resident

of the State of Israel and the mother of Itai Glisko.

          515.   Plaintiff Ori Glisko is a citizen and resident of the State of Israel and the brother of

Itai Glisko.

          516.   Oren and Liat Glisko also bring this action on behalf of their minor child, Y.G.

Y.G. is a citizen and resident of the State of Israel and the brother of Itai Glisko.

          517.   As a direct and foreseeable result of the October 7, 2023, attack, the Plaintiff Estate

of Itai Glisko suffered conscious pain and suffering and economic loss.

          518.   Plaintiffs Oren Glisko, Liat Glisko, Ori Glisko, and Y.G. have experienced severe

mental anguish and extreme emotional distress as a direct and foreseeable result of the attack on

and the death of Itai Glisko.




                                                    94
      Case 1:24-cv-03244-LLA             Document 1       Filed 11/17/24      Page 101 of 154




           J.     The Schenkolewski Family

           519.   Yakir Schenkolewski was the second youngest child of Plaintiff Tova

Schenkolewski and her husband Ariel Schenkolewski, and the brother of Yehuda, Aviraz, Ofer,

and Renana. He was 21 years old when he was killed by Hamas terrorists in the Gaza Strip.

           520.   Yakir was born in Israel and lived with his parents and siblings in Kibbutz Migdal

Oz. He enlisted in the Israel Defense Forces and was proud of his service with the 188th Armored

Brigade’s 53rd Battalion. Just before he enlisted, Yakir learned that he had a medical issue with his

foot that would prevent him from becoming a combat soldier candidate. He delayed his enlistment

by four months in order to complete physical therapy and thus be eligible to become a combat

soldier.

           521.   Prior to October 7, 2023, Yakir was serving on active duty with his tank unit.

           522.   On the morning of October 7, Yakir’s parents and eldest brother, Yehuda, with his

wife and children, were at the family home. They were woken up by Ariel’s phone, which was

receiving calls and messages alerting the family that Israel had been attacked.

           523.   The family went to their synagogue, where they saw many people outside,

including the rabbi and security forces. The family learned that war had broken out, and everyone

in the kibbutz was instructed to shelter in place because the fighting could reach them.

           524.   Later in the evening of October 7, Yakir called his parents to tell them that his unit

had been called up to go south and assist with efforts to repel the attack. Within twenty-four hours,

Yakir’s three older brothers had been drafted into service as well: Yehuda as a tank commander,

Aviraz as part of a special army ranger unit, and Ofer as security for Kibbutz Migdal Oz.

           525.   For the next two months, Yakir was on the front lines of Israel’s war against Hamas

in the south of Israel and Gaza. He had intermittent access to his cell phone, and his family waited

anxiously to hear from him during periods when he could not be in contact. During one


                                                   95
      Case 1:24-cv-03244-LLA         Document 1        Filed 11/17/24    Page 102 of 154




conversation, Yakir asked his mother if she would tell him to stop serving. His mother responded

that as much as she did not want him to be in danger, she knew Yakir would be angry if she tried

to stop him. Yakir agreed and said “yes, I am supposed to go.”

       526.    On two occasions during this time, Yakir was allowed to visit his family for short

periods of leave.

       527.    On Wednesday, November 29, 2023, Yakir’s parents and younger sister Renana

came to visit him in the south. On the morning of December 1, 2023, he called to tell his family

that his unit was preparing to go back into Gaza. Yakir’s parents lost contact with him before he

entered Gaza and waited anxiously for his next call.

       528.    The following Monday, on December 4, 2023, Yakir’s tank came under fire by

Hamas terrorists from a short range. Yakir and two other soldiers in his tank were killed in the

blast. The tank driver was badly wounded but survived.

       529.    That day, three officers knocked on the door of the Schenkolewski family home.

Tova was home alone and opened the door. As soon as she saw the officers, she knew her son had

been killed.

       530.    Her husband Ariel and son Ofer returned home from synagogue a few minutes later.

Tova and Ariel immediately broke the news that Yakir had died to their other children so that they

would hear of their brother’s death from their family before the media announced it. Shortly

thereafter, Yakir’s death was made public.

       531.    Plaintiff Tova Schenkolewski is a citizen of the United States and is a resident of

the State of Israel. She is the mother of Yakir Schenkolewski.




                                               96
       Case 1:24-cv-03244-LLA         Document 1       Filed 11/17/24   Page 103 of 154




        532.   Plaintiff Tova Schenkolewski experienced severe mental anguish and extreme

emotional distress as a direct and foreseeable result of the attack on and the death of Yakir

Schenkolewski.

        K.     The Haggai Family

        533.   Judy Weinstein Haggai and Gad Haggai were U.S. citizens and residents of the

State of Israel when they were murdered by Hamas on October 7, 2023.

        534.   They lived in Kibbutz Nir Oz and shared four children, Iris Weinstein Haggai, Ahl

Haggai, Rahm Haggai, and Zohar Haggai, and seven grandchildren. Judy is also survived by her

95-year-old mother.

        535.   Judy was an English teacher who worked with children with special needs, and also

used meditation and mindfulness techniques to treat children suffering from anxiety caused by

years of rocket fire over the kibbutz from Gaza.

        536.   On Saturday, October 7, Judy and Gad took a walk around their kibbutz and its

surrounding nature, as they did every Saturday morning.

        537.   The couple was in the field when the first sirens sounded at 6:30 am. They heard

the rockets and took shelter by lying flat on the ground.

        538.   Their daughter texted Judy upon hearing of the attacks, and Judy responded, “We’re

outside. Face down in the field. We see tons of rockets.”

        539.   Around 6:50 a.m., Hamas terrorists passed Judy and Gad, who were lying down on

the ground, on motorcycles. They shot Gad in the head, and Judy once in the face and once in the

arm.

        540.   At 7:15 a.m., an Israeli ambulance service called Judy, who described her

husband’s fatal injury and her own injury. Terrorists, however, had taken over the roads, and the

ambulance never arrived.


                                                97
     Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24     Page 104 of 154




       541.    Judy’s phone was shut off by 7:26 a.m., and she was not heard from again.

       542.    Terrorists picked up the couple’s bodies and brought them into Gaza.

       543.    For weeks, Judy and Gad’s family did not know what had happened to their loved

ones. They did not know whether the couple was dead.

       544.    Then, when Judy was not released during the November 2023 hostage release, their

family members came to believe she was the last American woman still held hostage in Gaza.

       545.    On December 22, 2023, it was reported that Gad had been murdered and his body

was being held in Gaza. One week later, the news came that Hamas had also killed Judy and her

lifeless body was being held in Gaza.

       546.    In response to the tragic news, President Biden first released a statement that said

he was “heartbroken by the news” and praying “for the well-being and safe return” of Judy.

       547.    Then, upon the announcement that Judy had also been murdered, President Biden

issued another statement, which said that he and First Lady Jill Biden “are devastated to learn” of

her death. He added that he “will never forget what their daughter, and the family members of

other Americans held hostage in Gaza, have shared with [him]. They have been living through hell

for weeks. No family should have to endure such an ordeal.”

       548.    Judy and Gad’s children and siblings have suffered immeasurably. Initially, they

believed that Judy and Gad had been badly injured but were being held alive in Gaza. Then, when

they learned that Judy and Gad had been murdered, they still could not find peace, as their bodies

are still being held in Gaza. Knowing that the terrorists continue to hold Judy and Gad’s bodies is

torture for their family members. Their grief is overbearing.

       549.    Judy Weinstein Haggai and Gad Haggai’s daughter, Iris Weinstein Haggai, brings

this action on behalf of the Estates of Judy Weinstein Haggai and Gad Haggai.




                                                98
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 105 of 154




        550.    Plaintiff Iris Weinstein Haggai also brings this action individually. She is a citizen

of the United States and is a resident of the State of Israel.

        551.    Plaintiff Ahl Haggai is a citizen of the United States and is a resident of the State

of Israel. He is the son of Judy Weinstein Haggai and Gad Haggai.

        552.    Plaintiff Rahm Haggai is a citizen of the United States and is a resident of the State

of Israel. He is the son of Judy Weinstein Haggai and Gad Haggai.

        553.    Plaintiff Zohar Haggai is a citizen of the United States and is a resident of the State

of Israel. She is the daughter of Judy Weinstein Haggai and Gad Haggai.

        554.    As a direct and foreseeable result of the October 7, 2023, attack, the Plaintiff Estates

of Judy Weinstein Haggai and Gad Haggai suffered conscious pain and suffering and economic

loss. Plaintiffs Iris Weinstein Haggai, Ahl Haggai, Rahm Haggai, and Zohar Haggai have

experienced severe mental anguish and extreme emotional distress as a direct and foreseeable

result of the attack on and the deaths of Judy Weinstein Haggai and Gad Haggai.

        L.      Rosenfeld Family

        555.    Maya Treger Rosenfeld was a citizen of the United States and a resident of the State

of Israel when she was injured by Hamas on October 7, 2023.

        556.    Maya and her husband, Dvir Rosenfeld, lived in Kfar Aza with their then-11 months

old son, Z.R. On the morning of October 7, Z.R. woke his parents up early. Soon after, at about

6:00 a.m., they heard loud explosions, so the family headed into their safe room, which was their

baby’s room.

        557.    Dvir left the house briefly to bring the family’s dogs inside. He returned without

the dogs, but left the door open for them. The Rosenfelds were later told by a neighbor that five

terrorists passed by their house right after Dvir went back inside, and likely did not enter because

the door was open. The terrorists assumed that the house was already under attack.


                                                  99
      Case 1:24-cv-03244-LLA            Document 1        Filed 11/17/24      Page 106 of 154




       558.       The Rosenfeld family hid in their safe room for the next 24 hours, hearing terrorists

roaming outside and explosions periodically throughout the ordeal. They had lost electricity and

were without air conditioning, water or food throughout the extremely hot day and night. Dvir held

the door closed the entire time, and Maya held the baby and kept him quiet, which sometimes

meant covering his mouth with her hand.

       559.       Maya and Dvir received constant WhatsApp messages about neighbors and other

people they knew who had been murdered as well as people who were injured and needed help.

They felt helpless; they knew if they went out to try to assist others, they would likely be killed.

       560.       For example, Dvir’s sister messaged Maya at about 6:55 a.m. to tell her that she

and her twin babies were safe.

       561.       Hours later, at about noon, Maya and Dvir received a message that the twins needed

to be rescued. Dvir wanted to go, but Maya begged him not to. She continues to feel guilty for not

letting him go.

       562.       That night, while still barricaded in their safe room, Maya and Dvir were told that

Dvir’s sister and brother-in-law were killed. They found out later that Dvir’s sister was shot

through a window and then shot a second time when the terrorists entered the house. After the

terrorists shot Dvir’s brother-in-law, they left the twin babies in the house as bait, and shot at

anyone who tried to rescue them. The babies were left in the safe room with their dead father for

14 hours.

       563.       Maya and Dvir received messages during the ordeal that they needed to stay in their

safe room and could not be rescued yet. They heard that terrorists were burning down houses, and

so they kept feeling the walls of their room to see if their own house was on fire. At some point

that night, their mobile phones died.




                                                  100
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 107 of 154




       564.    At about 5:30 a.m. on October 8, Maya and Dvir woke up to guns in their faces.

The IDF had come to evacuate them, and warned them that terrorists were still outside, and they

had just minutes to pack and leave.

       565.    The soldiers took them to another building within the kibbutz, where they joined

19 other civilians who had also been evacuated from their homes. The building had no electricity,

water, or food. The group stayed there for almost five more hours while the IDF fought off the

terrorists that continued to attack the kibbutz. Maya, Dvir and their son were released at about

10:00 a.m., and learned more about the devastation that had taken place. Over 60 residents of their

kibbutz had been murdered, among them Dvir’s sister, brother-in-law, and cousin. The family’s

babysitter was kidnapped into Gaza along with 17 others. Two of the hostages have died in Gaza.

       566.    Maya, Dvir and their son have not been back in their home since the attack.

       567.    Maya and Dvir attend therapy together and individually; they’ve lost weight from

not eating, and suffer from nightmares. It took each of them months to return to work; Maya

currently works on a part-time schedule. She misses her sister-in-law immensely; the two had

babies at the same time and were in the maternity ward together. Maya suffered a miscarriage

recently, and attributes her loss to the stress and grief the attack caused her.

       568.    As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Maya

Treger Rosenfeld suffered severe mental anguish and extreme emotional distress.

       569.    Plaintiff Dvir Rosenfeld is a citizen and resident of the State of Israel.

       570.    Maya Treger Rosenfeld and Dvir Rosenfeld also bring this action on behalf of their

minor son Z.R., a citizen and resident of the State of Israel.




                                                 101
     Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24      Page 108 of 154




       571.    Plaintiffs Dvir Rosenfeld and Z.R. have experienced severe mental anguish and

extreme emotional distress as a direct and foreseeable result of the attack on Maya Treger

Rosenfeld.

       M.      The Levy Family

       572.    Roy Joseph Levy was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas on October 7, 2023.

       573.    Roy moved from Massachusetts to Israel as a child with his family, and spent his

career in the IDF and had achieved the rank of colonel at the time of his death.

       574.    On the morning of October 7, Roy received a call informing him of the unfolding

attacks in southern Israel. He left his house by 7:45 a.m. after warning his wife that it would be a

long day.

       575.    Roy then drove south and headed straight into the battle – ordinarily a highly

unusual move for a colonel. Around this time, Roy spoke to his brother Iddo, instructing Iddo to

shelter in place and telling him that he was on a mission to save lives. These were the last words

that Roy’s family ever heard from him.

       576.    At approximately 10:30 a.m., Roy arrived in the vicinity of Re’im (near the Gaza

border), where he encountered heavy gunfire from Hamas terrorists who had infiltrated the area.

Roy engaged the terrorists. Advancing from home to home, under heavy gunfire and massively

outnumbered by terrorists, Roy liberated captives and saved families. Many lived to tell how Roy

personally saved them from captivity, torture, and death.

       577.    In the course of the battle, Roy was shot in his wrist. He paused to bandage the

wound and kept fighting. He then took another more serious wound to his torso. Nonetheless, Roy

pushed through the pain to pick up his rifle and continue fighting.




                                                102
      Case 1:24-cv-03244-LLA            Document 1       Filed 11/17/24      Page 109 of 154




       578.       At about 1:30 p.m., as Roy was attempting to stop further murders and kidnappings

of civilians in Re’im, a Hamas terrorist shot Roy in the heart.

       579.       At about 5 p.m., Roy’s brother Iddo received a call from a friend, asking about Roy

because the friend had heard a rumor about Roy having been shot, possibly killed. Roy had not

answered any calls or messages from his family, who were anxiously checking on his well-being.

Nor did he return home that night.

       580.       At about 1:30 a.m. on October 8, two officers appeared on Yael Levy

Oppenheimer’s doorstep to deliver the tragic news of Roy’s death.

       581.       Plaintiff Eliyahu Levy is a citizen and resident of the State of Israel. He is Roy’s

oldest brother.

       582.       Plaintiff Iddo Moshe Levy is a citizen of the United States and a resident of the

State of Israel. He is Roy’s brother.

       583.       Plaintiff Nir Yehezkel Levy is a citizen and resident of the State of Israel. He is

Roy’s youngest brother.

       584.       Plaintiffs Eliyahu Levy, Iddo Moshe Levy, and Nir Yehezkel Levy have

experienced severe mental anguish and extreme emotional distress as a direct and foreseeable

result of the attack on and the death of Roy Joseph Levy.

       N.         The Shalom Family

       585.       On October 7, 2023, Ram Shalom, age 24, was attending the Supernova music

festival near Kibbutz Re’im in Israel. He was there with ten friends when the festival was overrun

by Hamas terrorists, who proceeded to massacre more than 350 civilians.

       586.       At 6:30 a.m. on October 7, Ram and his friends fled the festival at the sight and

sounds of rockets.




                                                  103
      Case 1:24-cv-03244-LLA           Document 1           Filed 11/17/24   Page 110 of 154




       587.    By around 8:00 a.m. on October 7, Ram had escaped the Nova festival by car. An

hour or two later, he and his friend left the car to hide and shelter by the side of the road. As

shooting erupted around them, they remained quiet. In a surviving video from where Ram was

sheltering among vehicles to the side of the road, automatic gunfire can be heard, followed by Ram

observing: “these are not soldiers, they are terrorists.”

       588.    Shortly thereafter, the terrorists approached Ram’s hiding spot. Ram was

determined not to allow himself and those around him to be executed. He attacked one of the

terrorists but other terrorists fired a rocket propelled grenade at Ram’s position, murdering Ram

and most of those hiding with him.

       589.    For the next few hours, Ram’s mother, Nurit, and his brother, Plaintiff Tom

Shalom, made every call and inquiry they could to locate Ram. For hours and then days, they heard

nothing.

       590.    On Monday, October 9, 2023, Tom flew to Israel. No news arrived of Ram for two

more days.

       591.    On Thursday, October 12, 2023, two army officers knocked on Nurit Shalom’s

door. They informed Nurit and Tom that Ram had been murdered on October 7.

       592.    Thousands attended Ram’s funeral and visited during the shiva period. Tom stayed

in Israel for weeks trying to piece together Ram’s final moments.

       593.    Plaintiff Tom Shalom is a U.S. citizen and the brother of Ram Shalom.

       594.    Plaintiff Tom Shalom has experienced severe mental anguish and extreme

emotional distress as a direct and foreseeable result of the attack on and the death of Ram Shalom.

       O.      The Beniashvili / Ben Zvi Family

       595.    Sagiv Baylin Ben Zvi, is the son of Plaintiff Guram Beniashvili, a U.S. citizen.




                                                 104
      Case 1:24-cv-03244-LLA            Document 1       Filed 11/17/24     Page 111 of 154




        596.      Sagiv was 24 years old when he was murdered by Hamas terrorists while fleeing

the Supernova music festival.

        597.      At around 2:00 am on October 7, Sagiv returned home from work and then drove

with a friend to attend the Nova music festival. The last thing he said to his mother was that she

should not worry and that he would be back home in a few hours.

        598.      At around 6:30 am, as alarms blared around the music festival, Sagiv had just left

the festival, driving home in his friend’s car. Between 6:55 and 7:00 a.m., Sagiv reached the road

into the town of Mefalsim in search of a place to shelter.

        599.      As Sagiv drove to the entrance of Mefalsim, he encountered a contingent of Hamas-

led terrorists ambushing cars and murdering civilians. One terrorist launched a rocket propelled

grenade at Sagiv’s car. Sagiv swerved, avoided the grenade, and took a hard right turn.

        600.      The Mefalsim town gates were closed, as Mefalsim’s residents were fighting off

the attack.

        601.      A group of terrorists executed an assault on Sagiv’s car and a terrorist approached

the car and shot Sagiv in the head and then murdered his friend, Roni Petrovski, who died next to

Sagiv in the passenger seat.

        602.      At 9:18 a.m. on October 7, Sagiv’s mother filed a missing person report with the

Israeli police.

        603.      Sagiv’s relatives in Israel began scouring hospitals, going room to room and then

car to car, looking for him among the wounded victims and hoping that he had been brought in for

medical treatment. They posted to Facebook, Instagram, and Twitter seeking any news of Sagiv.

        604.      At 9:41 a.m., Sagiv’s phone tracked to the Indonesian Hospital in Gaza.




                                                  105
      Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 112 of 154




       605.    For three days after October 7, there was no news of Sagiv. His parents spent those

days in agony, calling hospitals for any sign of Sagiv and not getting any sleep. Then, on October

11, 2023, security personnel from Mefalsim informed Sagiv’s parents that the car he was driving

had been found outside Mefalsim, bullet-ridden, blood-soaked, but with no sign of Sagiv. The

seatbelts had been cut.

       606.    On October 15, 2023, Israeli authorities informed Sagiv’s parents that he had been

kidnapped by Hamas and taken to Gaza.

       607.    His family joined a group advocating for hostages; they printed posters. New York

newspapers covered Guram’s search for his missing son.

       608.    The New York Daily News quoted Guram Beniashvili: “I am trying everything, with

everyone, to try to find my son…. I called everyone…. You sit down and wait and wait and wait

and you don’t know what you are waiting for.”

       609.    For 19 days, Sagiv’s parents experienced extreme emotional agony, believing that

their son was not only missing and injured, but also being held captive under the Hamas-controlled

Indonesian Hospital in Gaza, where his phone was last located online.

       610.    On October 25, 2023, Israeli authorities recovered Sagiv’s body and informed his

parents. The next day, Sagiv’s funeral was held in Israel.

       611.    Plaintiff Guram Beniasvhili has experienced severe mental anguish and extreme

emotional distress as a direct and foreseeable result of the attack on and the murder of Sagiv Baylin

Ben Zvi.

       P.      The Airley Family

       612.    Benyamin Airley was a citizen of the United States and a resident of the State of

Israel when he was murdered by Hamas. He was 21 years old.




                                                106
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 113 of 154




        613.    Benyamin Airley was a member of the Paratroopers Brigade’s 101st Battalion in

the IDF.

        614.    On November 18, 2023, Benyamin was fighting Hamas terrorists in the northern

Gaza Strip when he was murdered. Benyamin was in the Gaza Strip as a direct result of the October

7, 2023, terrorist attacks.

        615.    Benyamin and fellow soldiers were staying in a beach house in Gaza. They were

eating breakfast, when at 7:30 a.m., they were called to the scene of a house that had been invaded

by Hamas terrorists.

        616.    Benyamin insisted on joining his fellow soldiers on this mission, believing his

Negev gun would keep him safe. He and two other soldiers entered the house and began scouting

rooms. They saw a terrorist on the floor and assumed he was alone, but there was another hiding

behind a couch. That terrorist shot and killed all three of the soldiers.

        617.    Benyamin’s parents, Robert and Jennifer Airley, bring this action on behalf of the

Estate of Benyamin Airley.

        618.    Plaintiff Robert Airley also brings this action individually. He is a citizen of the

United States and is a resident of the State of Israel. He is the father of Benyamin Airley.

        619.    Plaintiff Jennifer Airley also brings this action individually. She is a citizen of the

United States and is a resident of the State of Israel. She is the mother of Benyamin Airley.

        620.    As a direct and foreseeable result of the November 18, 2023, attack, the Plaintiff

Estate of Benyamin Airley suffered conscious pain and suffering and economic loss.

        621.    Plaintiffs Robert Airley and Jennifer Airley have experienced severe mental

anguish and extreme emotional distress as a direct and foreseeable result of the attack on and the

death of Benyamin Airley.




                                                 107
        Case 1:24-cv-03244-LLA        Document 1       Filed 11/17/24      Page 114 of 154




         Q.     The Bours Family

         622.   Aaron Bours was a citizen of the United States and a resident of the State of Israel

when he was injured by Hamas. He was 33 years old at the time.

         623.   Aaron was in the United States, en route to a conference in Las Vegas on October

7, 2023. When he landed in Las Vegas, he had 20 messages from his wife trying to reach him to

inform him of the invasion of Israel by Hamas.

         624.   Aaron was called up to his IDF reserve unit, the Givati Brigade serving under the

Southern Command, almost immediately following the events of October 7, 2023.

         625.   Aaron was part of the ground invasion into Gaza. He was going house-to-house

looking for Hamas terrorists and Hamas tunnels for the combat engineers to destroy.

         626.   He was in Gaza for two weeks before he was injured.

         627.   On November 14, 2023, Aaron was with his unit heading toward a home in Beit

Hanoun in the Gaza Strip. His unit was the last to cross the street in open view of a school that was

affiliated with UNRWA. As is protocol, Aaron’s commander stopped to ask permission to enter

the house, and Aaron felt like someone was watching him. When he arrived at the house, he turned

back to see if his officer was behind him, but at that same time, Aaron heard two gunshots and saw

his officer and a communications person fall to the ground. Aaron saw at least two, and as many

as four, Hamas terrorists with AK-47s and a sniper shooting at them.

         628.   Aaron began to shoot back at the school. He stopped to look at his officer, who

according to Aaron, “looked terrible.” Aaron decided to attempt to rescue his officer to try to save

his life. Aaron ran to grab his officer, but was only able to travel a few feet before he was shot in

the right leg, shattering his bone. He was crawling back to the safety of the house when he was

shot in the left leg. He continued to crawl to the house and was rescued by the Unit 669 rescue

team.


                                                108
        Case 1:24-cv-03244-LLA         Document 1        Filed 11/17/24      Page 115 of 154




         629.   He was brought to Sheba Medical Center, where he underwent three surgeries to

his right leg, including a bone graft. Aaron spent five months in recovery and underwent months

of intensive rehabilitation afterward. In addition to the injuries to his legs, Aaron currently suffers

from difficulty concentrating and sleeping.

         630.   As a direct and foreseeable result of the November 14, 2023, attack, Plaintiff Aaron

Bours has suffered severe mental anguish and extreme emotional distress, and economic loss.

         R.     The Davidovich Family

         631.   Rivka Davidovich was a citizen of the United States and a resident of the State of

Israel when she was injured by Hamas. She was 33 years old at the time of the attack.

         632.   Rivka was at home in Ofakim, Israel, with her children on October 7, 2023. Her

husband and oldest son were at the synagogue from 6:00 a.m. until approximately 12:00 p.m.

because it was the Jewish holiday of Simchat Torah.

         633.   Rivka reports hearing many alarms and feeling a great deal of fear on October 7,

2023.

         634.   In the first week following October 7, 2023, neither Rivka, nor her family, left their

home, even to buy bread and milk, due to the intense fear and trauma. Remaining shut in her home

was extremely difficult because two of her children were diagnosed with ADHD and were

intensely affected by the atmosphere both inside and outside of the house.

         635.   Once the family was able to leave their home, the entire family, including Rivka,

received emotional and art therapy to process their trauma.

         636.   As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Rivka

Davidovich has suffered severe mental anguish and extreme emotional distress.




                                                 109
      Case 1:24-cv-03244-LLA          Document 1      Filed 11/17/24      Page 116 of 154




        S.     The Ben Zaken Family

        637.   Chana Sarah Ben Zaken was a citizen of the United States and a resident of the

State of Israel when she was injured by Hamas. She was 31 years old at the time.

        638.   Chana Sarah Ben Zaken was at home with her family in Ofakim, Israel, on October

7, 2023.

        639.   When the terrorists invaded Ofakim, Chana and her children hid in the safe room

in their home. Her husband, who was outside, saw the terrorists shooting in the vicinity of their

home.

        640.   Following the October 7 Attack, Chana and her family were displaced until

December 2023 from their home in Ofakim to Hever, a villa donated to refugees from the South.

        641.   Chana Sarah Ben Zaken suffers from anxiety, panic attacks, insomnia, and paranoia

as a result of the October 7, 2023, attack.

        642.   As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Chana

Sarah Ben Zaken has suffered severe mental anguish and extreme emotional distress, and

economic loss in the form of loss of the use of her property for an extended period of time.

        T.     The Goodman Family

        643.   Donald R. Goodman was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 70 years old at the time.

        644.   On October 7, 2023, Donald R. Goodman was at home in Kibbutz Nir Yitzhak,

with his wife and granddaughter. They were asleep at 6:30 a.m., when Mr. Goodman and his family

heard the alarm in their community instructing them to take cover within 15 seconds. They heard

booming sounds and 50-60 rocket attacks.

        645.   Mr. Goodman and his family got into their safe room with water and crackers and

attempted to get information on their cell phones.


                                               110
        Case 1:24-cv-03244-LLA        Document 1       Filed 11/17/24      Page 117 of 154




         646.   Hamas terrorists invaded Mr. Goodman’s home, smashed windows, destroyed his

computer, and stole money and kitchen appliances from his home.

         647.   Mr. Goodman and his family were also displaced from their home. When the IDF

released the alarm, the Goodmans were told to relocate into four shelters, each housing 120 people.

Mr. Goodman and his family slept on the floor and had no accessible bathroom.

         648.   As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Donald

Goodman has suffered severe mental anguish and extreme emotional distress, and economic loss

from damage inflicted upon his home and his loss of use of his property for a period of time after

the attacks.

         U.     The Hamo Family

         649.   Hadas Pnina Saffer Ben Hamo was a citizen of the United States and a resident of

the State of Israel when she was injured by Hamas. She was 31 years old at the time.

         650.   On October 7, 2023, Hadas was at home in Ofakim with her three young children,

ranging in age from five years old to less than a year old, when the terrorists invaded. Her husband

was in synagogue for the Jewish holiday of Simchat Torah, unaware of what was happening in

town.

         651.   Hadas’s next-door neighbors were shot by the terrorists, causing Hadas intense fear.

         652.   Hadas and her children were stuck in their home for two days.

         653.   Hadas suffers from psychological trauma, insomnia, and inability to rehabilitate to

normal life.

         654.   As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Hadas

Pnina Saffer Ben Hamo has suffered severe mental anguish and extreme emotional distress.




                                                111
        Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 118 of 154




         V.      The Klughaupt Family

         655.    Amichay Klughaupt was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 19 years old at the time.

         656.    Amichay was a member of the IDF when he was injured by Hamas terrorists on

December 8, 2023. Amichay’s commander was standing outside the door of their tank when

terrorists ambushed them. The commander was shot and fell into the tank, where Amichay

attempted, unsuccessfully, to resuscitate him by administering CPR. The tank was bombarded with

so many RPGs that it flipped over, landing upside down in a ditch on the side of the road. For the

next six hours before Amichay and his team were evacuated, Amichay believed he would die.

         657.    The attack resulted in two fingers detaching from Amichay’s hands, and shrapnel

to his thigh, back and hands.

         658.    Amichay has had two surgeries thus far, and a third will be necessary in the near

future to attempt to restore feeling and function to the re-attached fingers. The likelihood of success

is very low.

         659.    As a direct and foreseeable result of the December 8, 2023, attack, Plaintiff

Amichay Klughaupt has suffered severe mental anguish and extreme emotional distress, and

economic loss.

         W.      The Moses Family

         660.    Elitzur Moses was a citizen of the United States and a resident of the State of Israel

when he was injured by Hamas. He was 42 years old at the time.

         661.    On December 2, 2023, Elitzur was serving as a member of the IDF in Gaza when

he was wounded by a rocket-propelled grenade that was shot at him by a terrorist, injuring his left

hand.




                                                  112
      Case 1:24-cv-03244-LLA            Document 1        Filed 11/17/24      Page 119 of 154




        662.     Elitzur wrapped his injured hand and tried to continue fighting, but he was told he

had to leave battle and was sent to Barzillai Hospital. He had a 90% tear to the tendon in his hand,

which had to be surgically repaired at Sheba Hospital.

        663.     Plaintiff Dafna Moses is a citizen and resident of the State of Israel. She is the wife

of Elitzur Moses.

        664.     Elitzur Moses also brings this action on behalf of his minor child, T.Z., who is a

citizen and resident of the State of Israel.

        665.     As a direct and foreseeable result of the December 2, 2023, attack, Plaintiff Elitzur

Moses has suffered severe mental anguish and extreme emotional distress, and economic loss.

        666.     Plaintiffs Dafna Moses and T.Z. have experienced severe mental anguish and

extreme emotional distress as a direct and foreseeable result of the attack on and the injuries of

Elitzur Moses.

        X.       The Newman Family

        667.     David Newman was a citizen and resident of the State of Israel when he was

murdered by Hamas. He was 21 years old.

        668.     On October 7, 2023, David was attending the Nova Music Festival in Kibbutz

Re’im when terrorists invaded Israel and began attacking the people at the festival.

        669.     David was with his girlfriend at a party within the festival when they heard what

they thought were fireworks, but what turned out to be missiles. David remained calm and started

to leave the festival with his girlfriend. David and his girlfriend realized the attackers were inside

the festival, wearing Israeli military uniforms, so David told his girlfriend to lie down with her

hands covering her head. They would remain like that until the shooting subsided before trying to

flee. David and his girlfriend got to a large metal dumpster and climbed inside of it, with anywhere

between ten to fifteen other people. They hid in the dumpster, underneath garbage bags, for


                                                  113
      Case 1:24-cv-03244-LLA             Document 1    Filed 11/17/24      Page 120 of 154




approximately four hours. During their time hiding in the dumpster, David remained calm and

tried to keep the others calm as well.

       670.    David texted a friend who was a high-level official within the IDF asking to be

rescued. Unfortunately, his phone died before his location could be shared with the friend.

       671.    At some point, the group heard people outside the dumpster speaking in Arabic.

       672.    The terrorists came right up to the dumpster, and with David on top, began shooting.

Only four of the people hiding in the dumpster came out alive. David was shot dead.

       673.    Plaintiff Mitchel Newman is a citizen of the United States and is a resident of the

State of Israel. He is the father of David Newman.

       674.    Plaintiff Noach Newman is a citizen of the United States and is a resident of the

State of Israel. He is the brother of David Newman.

       675.    Plaintiff Gavriel Newman is a citizen of the United States and is a resident of the

State of Israel. He is the brother of David Newman.

       676.    Plaintiff Dvir Tuvia Newman is a citizen of the United States and is a resident of

the State of Israel. He is the brother of David Newman.

       677.    Plaintiff Batya Leah Sprei is a citizen of the United States and is a resident of the

State of Israel. She is the sister of David Newman.

       678.    Plaintiffs Mitchel Newman, Noach Newman, Gavriel Newman, Dvir Tuvia

Newman, and Batya Leah Sprei have experienced severe mental anguish and extreme emotional

distress as a direct and foreseeable result of the attack on and the death of David Newman.

       Y.      The Rothner Family

       679.    Avraham Rothner was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 22 years old at the time of the attack.




                                                114
     Case 1:24-cv-03244-LLA             Document 1        Filed 11/17/24      Page 121 of 154




       680.      On October 7, 2023, Avraham was in Kfar Aza kibbutz. He saw the brutality of the

Hamas terrorists firsthand and witnessed the murders of countless innocent Israeli civilians.

       681.      During the attack, he made great efforts to help the wounded, but many of those

died before Avraham’s eyes.

       682.      Avraham is suffering from severe PTSD and mental and emotional trauma as a

result of the events of October 7, 2023.

       683.      As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Avraham

Rothner has suffered severe mental anguish and extreme emotional distress, and economic loss.

       Z.        The Shindman Family

       684.      Nadav Benjamin Shindman was a citizen of the United States and a resident of the

State of Israel when he was injured by Hamas. He was 21 years old at the time.

       685.      Nadav was a member of the IDF on March 31, 2024.

       686.      On March 31, 2024, Nadav and his unit were in an armored IDF vehicle evacuating

the wounded when they were shot by an RPG. Nadav was injured by shrapnel and the shockwave

of the RPG.

       687.      Nadav still has three pieces of shrapnel in his throat, four in his arm, and one in his

knee. Nadav lives in constant pain, making daily tasks a challenge.

       688.      As a direct and foreseeable result of the March 31, 2024, attack, Plaintiff Nadav

Benjamin Shindman has suffered severe mental anguish and extreme emotional distress, and

economic loss.

       AA.       The Spitz Family

       689.      Aaron Moshe Spitz was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 21 years old at the time.

       690.      Aaron was a combat soldier in the Givati Brigade.


                                                  115
        Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24       Page 122 of 154




          691.   Aaron was severely injured on February 27, 2024, while serving as an IDF soldier

in the neighborhood of Zeitoun in the Northern Gaza Strip. Aaron lost both of his legs and his right

hand due to an explosion and was thought to be dead by fellow soldiers who viewed the attack.

Aaron had a weak pulse and was quickly evacuated and then air-lifted to Soroka Medical Center.

          692.   He underwent a complex and prolonged surgery while there. In total, Aaron

received over 30 blood transfusions to save his life and was unconscious for 41 days before waking

up.

          693.   Plaintiff Leah Spitz is a citizen of the United States and is a resident of the State of

Israel. She is the mother of Aaron Moshe Spitz.

          694.   Plaintiff Gavriel Binyamin Spitz is a citizen of the United States and is a resident

of the State of Israel. He is the father of Aaron Moshe Spitz.

          695.   Plaintiff Avital Miriam Spitz is a citizen of the United States and is a resident of

the State of Israel. She is the sister of Aaron Moshe Spitz.

          696.   As a direct and foreseeable result of the February 27, 2024, attack, Plaintiff Aaron

Moshe Spitz has suffered severe mental anguish and extreme emotional distress, and economic

loss.

          697.   Plaintiffs Leah Spitz, Gavriel Binyamin Spitz, and Avital Miriam Spitz have

experienced severe mental anguish and extreme emotional distress as a direct and foreseeable

result of the attack on and the injuries of Aaron Moshe Spitz.

          BB.    The Thaler Family

          698.   Aryeh Thaler was a citizen of the United States and a resident of the State of Israel

when he was injured in an attack committed by Hamas. He was 23 years old at the time of the

attack.




                                                  116
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 123 of 154




       699.    Aryeh was a graduate of the ultra-Orthodox Netzah Yehuda Battalion and an officer

in the IDF.

       700.    On December 8, 2023, Aryeh was fighting in Gaza when an IED exploded and a

large piece of shrapnel entered his lower abdomen, causing severe damage to his lower internal

organs and intense bleeding. He survived by being airlifted to Ashdod Hospital, while receiving

blood transfusions. He was on the operating table within an hour of being attacked. He spent 2.5

weeks in the hospital and is currently still in rehab.

       701.    Plaintiff Jeffrey Thaler is a citizen of the United States and is a resident of the State

of Israel. He is the father of Aryeh Thaler.

       702.    Plaintiff Karen Thaler is a citizen of the United States and is a resident of the State

of Israel. She is the mother of Aryeh Thaler.

       703.    Plaintiff Zev Thaler is a citizen of the United States and is a resident of the State of

Israel. He is the brother of Aryeh Thaler.

       704.    Plaintiff Eliyahu Thaler is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Aryeh Thaler.

       705.    Plaintiff Yosef Thaler is a citizen of the United States and is a resident of the State

of Israel. He is the brother of Aryeh Thaler.

       706.    Plaintiff Pesha Thaler is a citizen of the United States and is a resident of the State

of Israel. She is the sister of Aryeh Thaler.

       707.    Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

A.T., a minor child, as his legal guardians. A.T. is a citizen of the United States and is a resident

of the State of Israel. He is the brother of Aryeh Thaler.




                                                 117
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24     Page 124 of 154




          708.   Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

L.T., a minor child, as her legal guardians. L.T. is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aryeh Thaler.

          709.   Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

R.T., a minor child, as her legal guardians. R.T. is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aryeh Thaler.

          710.   Plaintiffs Jeffrey Thaler and Karen Thaler bring this action on behalf of Plaintiff

H.T., a minor child, as her legal guardians. H.T. is a citizen of the United States and is a resident

of the State of Israel. She is the sister of Aryeh Thaler.

          711.   As a direct and foreseeable result of the December 8, 2023, attack, Plaintiff Aryeh

Thaler has suffered severe mental anguish and extreme emotional distress, and economic loss.

          712.   Plaintiffs Jeffrey Thaler, Karen Thaler, Zev Thaler, Eliyahu Thaler, Yosef Thaler,

Pesha Thaler, A.T., L.T., R.T., and H.T. have experienced severe mental anguish and extreme

emotional distress as a direct and foreseeable result of the attack on and the injuries of Aryeh

Thaler.

          CC.    The Vardi Family

          713.   Laurie Vardi was a citizen and resident of the State of Israel when she was murdered

by Hamas. She was 24 years old.

          714.   Laurie Vardi was at the Nova Music Festival on October 7, 2023, when rockets

began to fall in the vicinity of the festival. She and her boyfriend got into their car and attempted

to leave, but then took shelter in a concrete bomb shelter near Kibbutz Alumim. Terrorists threw

a grenade at the bomb shelter, and Laurie went outside for air because of the smoke and was shot

and killed immediately outside the bomb shelter.




                                                 118
      Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24      Page 125 of 154




        715.   Plaintiff Ariel Vardi is a citizen of the United States and a resident of the State of

Massachusetts. He is the brother of Laurie Vardi.

        716.   Plaintiff Ariel Vardi has experienced severe mental anguish and extreme emotional

distress as a direct and foreseeable result of the attack on and the death of Laurie Vardi.

        DD.    The Zer-Chen Family

        717.   Leor Zer-Chen was a citizen of the United States and a resident of the State of Israel

when he was injured by Hamas. He was 25 years old at the time.

        718.   On October 7, 2023, Leor was in synagogue services in Ashkelon, Israel, when the

attacks began. Though Israeli security forces set up protection in the vicinity of the synagogue,

Leor was compelled to reach his family. It took him thirty minutes to reach his family by foot.

There were rockets landing in the streets near him, and armed people were all over. Leor feared

for his safety because he did not know if the armed people he saw were Israeli security forces or

terrorists, and he worried that his family would never see him again.

        719.   He was finally able to obtain a ride in an ambulance to his wife and son.

        720.   Leor has been diagnosed with depression as a result of the October 7 Attack.

        721.   Plaintiff Yaakov Zer-Chen is a citizen of the United States and is a resident of the

State of Israel. He is the son of Leor Zer-Chen.

        722.   As a direct and foreseeable result of the October 7 Attack, Plaintiff Leor Zer-Chen

has suffered severe mental anguish and extreme emotional distress.

        723.   Plaintiff Yaakov Zer-Chen has experienced severe mental anguish and extreme

emotional distress as a direct and foreseeable result of the attack on and the injuries of Leor Zer-

Chen.




                                                119
     Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24      Page 126 of 154




       EE.     The Edan Family

       724.    Smadar Mor Edan was a citizen of the United States and a resident of the State of

Israel when she was murdered by Hamas. She was 38 years old.

       725.    Roee Edan was a citizen and resident of the State of Israel when he was murdered

by Hamas. He was 43 years old. He was Smadar’s husband.

       726.    A.E. was a dual U.S.-Israeli citizen when she was kidnapped by Hamas on October

7, 2023. She was three years old when she was kidnapped. She was the youngest American hostage

to be taken on October 7, 2023.

       727.    M.E. was a dual U.S.-Israeli citizen when he saw his parents murdered and his sister

kidnapped by Hamas on October 7, 2023. He was nine years old.

       728.    Am.E. was a dual U.S.-Israeli citizen when she saw her parents murdered and her

sister kidnapped by Hamas on October 7, 2023. She was six years old.

       729.    On October 7, 2023, the family was at home in Kibbutz Kfar Aza, just a few miles

from the Gaza border.

       730.    After infiltrating the kibbutz, Hamas terrorists came into the home and shot and

killed Smadar in front of A.E., M.E., and Am.E. The three children ran outside and saw their father,

a newspaper photographer, running toward the house. Roee took A.E. into his arms with his other

children beside him.

       731.    Roee was shot from behind and fell with A.E. in his arms. M.E. and Am.E. thought

both their father and youngest sister were dead. They immediately ran back into their house and

hid on shelves in a closet next to where their mother’s body lay.

       732.    Roee collapsed on top of A.E., but his body had shielded her from the bullets. She

managed to free herself and ran, covered in her father’s blood, to a neighbor’s house where she

took shelter with Avihai and Hagar Brodetz and their children.


                                                120
        Case 1:24-cv-03244-LLA         Document 1        Filed 11/17/24      Page 127 of 154




         733.   Avihai went outside to defend the kibbutz while A.E. stayed with Hagar and her

children. A.E., Hagar Brodetz, and the Brodetz children were taken hostage into Gaza.

         734.   A.E. was held in Gaza for 50 days before being released as part of 4-day ceasefire

between Israel and Hamas on November 26, 2023. She celebrated her fourth birthday in captivity

in Gaza.

         735.   M.E. and Am.E. hid in the closet next to where their mother’s body lay for nearly

14 hours. They had a phone and spoke with a social worker for a long part of this time, but it was

not clear if it was safe for them to come out of hiding until soldiers with the IDF came to rescue

them.

         736.   Smadar’s parents, Eitan Mor and Shlomit Miriam Mor, bring this action on behalf

of the Estate of Smadar Mor Edan.

         737.   Plaintiff Eitan Mor also brings this action individually. He is a citizen and resident

of the State of Israel and the father of Smadar Mor Edan.

         738.   Plaintiff Shlomit Miriam Mor also brings this action individually. She is a citizen

of the United States and is a resident of the State of Israel. She is the mother of Smadar Mor Edan.

         739.   Leron Mor and Zoltan Ivan Gyongyosi bring this action on behalf of minor

Plaintiffs, A.E., M.E., and Am.E., as their legal guardians.

         740.   Leron Mor also brings this action individually. She is a citizen and resident of the

State of Israel and the sister of Smadar Mor Edan.

         741.   As a direct and foreseeable result of the October 7, 2023, attack, the Plaintiff Estate

of Smadar Edan suffered conscious pain and suffering and economic loss.

         742.   As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff A.E.

suffered severe mental anguish and extreme emotional distress from being in the line of fire when




                                                 121
      Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 128 of 154




her father was shot and killed, witnessing her mother being murdered in front of her, and being

taken hostage into deplorable and life-threatening conditions in Gaza for 50 days when she was

only three years old.

       743.    As a direct and foreseeable result of the October 7, 2023 attack, Plaintiffs M.E. and

Am.E. suffered severe mental anguish and extreme emotional distress from witnessing both of

their parents being murdered, believing that they had witnessed their youngest sister being

murdered, and fearing for their life as they hid from terrorists for nearly 14 hours in a closet in

their home with their mother’s dead body immediately outside the closet door.

       744.    Plaintiffs Eitan Mor, Shlomit Miriam Mor, Leron Mor, A.E., M.E., and Am.E. have

experienced severe mental anguish and extreme emotional distress as a direct and foreseeable

result of the October 7, 2023, attack, the murder of Smadar Mor Edan, and A.E. being taken

hostage.

       745.    Plaintiffs A.E., M.E., and Am.E. have also experienced severe mental anguish and

extreme emotional distress as a direct and foreseeable result of the October 7, 2023, attack and the

murder of their father Roee Edan.

       FF.     The Zafrani Family

       746.    Itay Zafrani was a citizen of the United States and a resident of the State of Israel

when he was murdered by Hamas. He was 35 years old.

       747.    Itay was attending the Nova Music Festival in Re’im Negev, Israel, on October 7,

2023. Itay left the festival immediately by car when the rockets started at approximately 6:35 a.m.

and drove toward the Mefalsim junction where he first encountered terrorists. He tried to make a

U-turn but was shot and killed there at 6:52 a.m. The terrorists then pulled Itay out of the car to

see what they could steal from him, taking his iPhone and Apple Watch.




                                                122
        Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24       Page 129 of 154




         748.   Plaintiff Michal Zipporah Zafrani is a citizen of the United States and is a resident

of the State of Israel. She is the mother of Itay Zafrani. She brings this action individually, and on

behalf of the Estate of Itay Zafrani.

         749.   Plaintiff Inbal Chen is a citizen and resident of the State of Israel. She brings this

action individually, as the surviving spouse of Itay Zafrani, and as the legal guardian of A.Z., the

surviving child of Itay Zafrani.

         750.   Plaintiff David Zafrani is a citizen and resident of the State of Israel. He is the father

of Itay Zafrani.

         751.   Plaintiff Ori Zafrani is a citizen of the United States and a resident of the State of

Israel. He is the brother of Itay Zafrani.

         752.   Plaintiff Osnat Tal Zafrani is a citizen and resident of the State of Israel. She is the

sister of Itay Zafrani.

         753.   Plaintiff Roni Zafrani is a citizen of the United States and a resident of the State of

Israel. She is the sister of Itay Zafrani.

         754.   As a direct and foreseeable result of the October 7, 2023, attack, the Plaintiff Estate

of Itay Zafrani suffered conscious pain and suffering and economic loss.

         755.   Plaintiffs Inbal Chen, A.Z., David Zafrani, Michal Zipporah Zafrani, Ori Zafrani,

Osnat Tal Zafrani, and Roni Zafrani have experienced severe mental anguish and extreme

emotional distress as a direct and foreseeable result of the attack on and the death of Itay Zafrani.

         GG.    The Natan Family

         756.   Odeya Chen Natan, a/k/a Odeya Chen Teicher, was a citizen of the United States

and a resident of the State of Israel when she was injured by Hamas. She was 30 years old at the

time.




                                                  123
      Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24      Page 130 of 154




       757.    Odeya was at home in Sderot on October 7, 2023. She heard the events of October

7, 2023, unfolding outside her home and took her children, father-in-law, and brother-in-law to

their safe room to hide. They barricaded themselves in the safe room for 48 hours until the IDF

was able to rescue them. They heard non-stop rockets as well as the gunfire all around them from

the terrorist who were lurking on the streets of Sderot.

       758.    Plaintiff Eitan David Natan, Odeya’s husband, was a citizen and a resident of the

State of Israel on October 7, 2023.

       759.    While Odeya, her father-in-law, brother-in-law, and her children were hiding in the

safe room in her home, Eitan had heard the rocket sirens going off in Sderot and proceeded in his

vehicle to the entrance to Sderot where he was attacked by a pickup truck filled with terrorists who

were infiltrating Sderot. Eitan was shot in the arm, but he continued to drive until his vehicle could

no longer move after continuing to be hit with gunfire. He got into another resident’s vehicle who

had also been shot. Eitan plugged the other individual’s gunshot wound with his finger, and the

two were able to get north of Sderot where they found an ambulance to receive care.

       760.    Odeya did not know what happened to her husband as she was holed up in the safe

room for 48 hours. She believed him to be among the dead or captured and, aside from the

emotional distress she endured as a result of her own personal ordeal within the safe room, she

also suffered emotional distress from the belief that her husband had been killed. While Eitan

survived, he has undergone multiple surgeries, physical therapy, and emotional trauma that has

caused additional emotional distress for Odeya.

       761.    Plaintiff Naomi Teicher is a citizen of the United States and a resident of the State

of Israel. She is the mother of Odeya Chen Natan, a/k/a Odeya Chen Teicher.




                                                 124
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24    Page 131 of 154




        762.   Plaintiff Michael Jay Teicher is a citizen of the United States and a resident of the

State of Israel. He is the father of Odeya Chen Natan, a/k/a Odeya Chen Teicher.

        763.   As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Odeya

Chen Natan, a/k/a Odeya Chen Teicher, suffered severe mental anguish and extreme emotional

distress.

        764.   Plaintiffs Naomi Teicher, Michael Jay Teicher, and Eitan David Natan have

experienced severe mental anguish and extreme emotional distress as a direct and foreseeable

result of the attack on Odeya Chen Natan, a/k/a Odeya Chen Teicher.

        HH.    The Amar Family

        765.   Naama Saffer Amar was a citizen of the United States and a resident of the State of

Israel when she was injured by Hamas. She was 34 years old at the time.

        766.   Naama Saffer Amar was at home in Ofakim on October 7, 2023, when Hamas

terrorists invaded. Terrorists surrounded Naama’s house shooting, prohibiting her and her family

from leaving their building for two days. There were 50 deaths in the neighborhood, with many, if

not all, of her neighbors dying, leaving her to fear for her safety.

        767.   Naama was displaced from her home for two weeks.

        768.   As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Naama

Saffer Amar suffered severe mental anguish and extreme emotional distress while also being

forced to relocate from her home.

        II.    The Goodman Family

        769.   Yehoshua Goodman was a citizen of the United States and a resident of the State

of Israel when he was injured by Hamas. He was 43 years old at the time.




                                                 125
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 132 of 154




          770.   On October 7, 2023, Yehoshua was in Tifrach, Israel, unable to get back to his

home in Ofakim. Rockets fell two houses away from where he and his family were staying and

shattered windows in the house where he was staying, causing him to fear for his safety.

          771.   When Yehoshua was able to return home to Okafim, he was afraid to leave his

house.

          772.   As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Yehoshua

Goodman suffered severe mental anguish and extreme emotional distress.

          JJ.    The Gutstein Family

          773.   Avraham Gutstein was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 43 years old at the time.

          774.   On October 7, 2023, Avraham Gutstein was in Ashkelon when rockets began

falling in the area where he had been attending synagogue. A rocket fell in a nearby parking lot,

shattering windows and causing him to fear for his safety.

          775.   Avraham owns two kindergarten centers in Ashkelon, and these locations were

damaged by rockets, resulting in collapsed walls and damage to the buildings.

          776.   Avraham is also a volunteer with an organization known as “Zaka,” which provides

first-responder and search-and-rescue operations, among other activities, in the aftermath of mass-

casualty events. In this capacity, Avraham was stationed at the hospital where he saw the

casualties, including dead bodies, coming from various locations as a result of the October 7, 2023,

attack.

          777.   Avraham suffers from emotional trauma, sleep disturbances, endless thoughts of

mortality, and PTSD.

          778.   Plaintiff Miriam Gutstein is a citizen of the United States and is a resident of the

State of Israel. She is the spouse of Avraham Gutstein.


                                                 126
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 133 of 154




       779.    Plaintiff Z.C.G. is a citizen of the United States and is a resident of the State of

Israel. Plaintiff Miriam Gutstein, as next-of-kin of Z.C.G., brings this claim for Z.C.G. as the minor

child of Avraham Gutstein.

       780.    Plaintiff Yitshak Yisachar Gutstein is a citizen of the United States and is a resident

of the State of Israel. He is the son of Avraham Gutstein.

       781.    Plaintiff Tamar Gutstein is a citizen of the United States and a resident of the State

of Israel. She is the daughter of Avraham Gutstein.

       782.    Plaintiff S.G. is a citizen of the United States and is a resident of the State of Israel.

Plaintiff Miriam Gutstein, as next-of-kin of S.G., brings this claim for S.G. as the minor child of

Avraham Gutstein.

       783.    As a direct and foreseeable result of the October 7, 2023, attack by Hamas, Plaintiff

Avraham Gutstein suffered severe mental anguish and extreme emotional distress, and economic

loss in the form of injury to his property.

       784.    Plaintiffs Miriam Gutstein, Tamar Gutstein, Z.C.G., Yitshak Yisachar Gutstein, and

S.G. have experienced severe mental anguish and extreme emotional distress as a direct and

foreseeable result of the attack on and the injuries to Avraham Gutstein.

       KK.     The Tawil Family

       785.    Shelomo Tawil was a citizen of the United States and a resident of the State of

Israel when he was injured by Hamas. He was 27 years old at the time.

       786.    On October 7, 2023, Shelomo Tawil was an IDF reservist. Following Hamas’s

invasion into Israel, Shelomo was called up to serve in the 646th Brigade.

       787.    Shelomo served in Gaza and Lebanon for over 170 days, from October 7, 2023,

through March 29, 2024. He was part of the 646th Brigade’s evacuation squad, clearing out

damaged homes and bodies, including finding the bodies of dead friends.


                                                 127
      Case 1:24-cv-03244-LLA               Document 1          Filed 11/17/24        Page 134 of 154




        788.     As a direct and foreseeable result of the October 7, 2023, attack, Plaintiff Shelomo

Tawil has suffered severe mental anguish and extreme emotional distress, and economic loss due

to leaving his educational program to serve in the military.

                                      FIRST CLAIM FOR RELIEF

 Against the Iran Defendants on Behalf of U.S. Citizen Plaintiffs Except for the ATA-Only
    Plaintiffs 86 Identified Herein Who Suffered Personal Injury as a Result of the Iran
  Defendants’ Material Support for Acts of Extrajudicial Killing, Torture, and Hostage
        Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting Assault and Battery

        789.     Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.

        790.     The Iran Defendants provided material support for acts of torture, extrajudicial

killing, and hostage taking (within the definitions of 28 U.S.C. § 1605A(h)) to terror organizations

and operatives who engaged in acts of torture, extrajudicial killing, and hostage taking, and who

injured Plaintiffs.

        791.     The Iran Defendants armed, funded, trained, and provided other types of material

support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and operatives who

engaged in acts of torture, extrajudicial killing, and hostage taking, injuring Plaintiffs.

        792.     The Iran Defendants provided this material support through the Iran Defendants’

officials, employees, and agents while they were acting within the scope of their offices,

employments, or agencies. This material support was provided pursuant to the policies of the Iran

Defendants.

        793.     The material support provided by the Iran Defendants caused Plaintiffs’ injuries by

resulting in the October 7 Attack and the Subsequent Related Attacks.


86
        The “ATA-Only Plaintiffs” are not bringing FSIA claims under this complaint. They are: the Estates of Judy
Weinstein Haggai, the Estate of Gad Haggai, Iris Weinstein Haggai, Ahl Haggai, Rahm Haggai, and Zohar Haggai;
Iddo Moshe Levy; Nir Yehezkel Levy, Eliyahu Levy, Tom Shalom and Guram Beniashvili.



                                                      128
      Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 135 of 154




       794.    The October 7 Attack and the Subsequent Related Attacks identified in the

foregoing paragraphs and caused by the actions of the Iran Defendants were intended to cause a

harmful or offensive contact, and an imminent apprehension of such a contact, with Plaintiffs.

       795.    They therefore constituted a battery on Plaintiffs’ persons, causing them severe

physical injuries, and an assault on Plaintiffs by placing them in fear and apprehension of harm

and death.

       796.    As a direct and proximate result of the willful, wrongful, and intentional acts of the

Iran Defendants, Plaintiffs identified in the foregoing paragraphs were injured and endured severe

physical injuries, extreme mental anguish, pain and suffering, and economic losses.

       797.    Plaintiffs’ compensatory damages include, but are not limited to, their severe

physical injuries, extreme mental anguish, pain and suffering, solatium, and any economic losses

determined by the trier of fact.

       798.    The Iran Defendants’ conduct was criminal, outrageous and extreme, wanton and

willful, malicious, and constitutes a threat to the public warranting an award of punitive damages

under 28 U.S.C. § 1605A(c).

                                   SECOND CLAIM FOR RELIEF

 Against the Iran Defendants on Behalf of U.S. Citizen Plaintiffs Identified Herein, Except
    for the ATA-Only Plaintiffs, Who Suffered Personal Injury as a Result of the Iran
  Defendants’ Material Support for Acts of Extrajudicial Killing, Torture, and Hostage
 Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting Intentional Infliction of Emotional
                                        Distress

       799.    Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.

       800.    The Iran Defendants provided material support for acts of torture, extrajudicial

killing, and hostage taking (within the definitions of 28 U.S.C. § 1605A(h)) to terror organizations




                                                129
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 136 of 154




and operatives who engaged in acts of torture, extrajudicial killing, and hostage taking, and who

injured Plaintiffs.

        801.    The Iran Defendants armed, funded, trained, and provided other types of material

support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and operatives who

engaged in acts of torture, extrajudicial killing, and hostage taking, injuring Plaintiffs.

        802.    The Iran Defendants provided this material support through the Iran Defendants’

officials, employees, and agents while they were acting within the scope of their offices,

employments, or agencies. This material support was provided pursuant to the policies of the Iran

Defendants.

        803.    The material support provided by the Iran Defendants caused Plaintiffs’ injuries by

resulting in the October 7 Attack and the Subsequent Related Attacks.

        804.    The Iran Defendants intentionally inflicted emotional distress on the Plaintiffs by

intending to terrorize, and in fact terrorizing, the Plaintiffs, causing them severe emotional distress.

        805.    This included terrorizing Plaintiffs who were present at the scene of the October 7

Attack and the Subsequent Related Attacks and the Plaintiffs whose family members were injured

or killed at the October 7 Attack and the Subsequent Related Attacks.

        806.    As a direct and proximate result of the willful, wrongful, and intentional acts of the

Iran Defendants, Plaintiffs identified in the foregoing paragraphs were injured and endured

extreme mental anguish, pain and suffering, and economic losses.

        807.    Plaintiffs’ compensatory damages include, but are not limited to, extreme mental

anguish, pain and suffering, solatium, and any economic losses determined by the trier of fact.




                                                  130
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 137 of 154




        808.    The Iran Defendants’ conduct was criminal, outrageous, extreme, wanton, willful,

malicious, and a threat to the public, warranting an award of punitive damages against the Iran

Defendants pursuant to 28 U.S.C. § 1605A(c).

                                  THIRD CLAIM FOR RELIEF

 Against the Iran Defendants on Behalf of U.S. Citizen Plaintiffs Identified Herein, Except
    for the ATA-Only Plaintiffs, Who Suffered Personal Injury as a Result of the Iran
  Defendants’ Material Support for Acts of Extrajudicial Killing, Torture, and Hostage
        Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting False Imprisonment

        809.    Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.

        810.    The Iran Defendants provided material support for acts of torture, extrajudicial

killing, and hostage taking (within the definitions of 28 U.S.C. § 1605A(h)) to terror organizations

and operatives who engaged in acts of torture, extrajudicial killing, and hostage taking, and who

injured Plaintiffs.

        811.    The Iran Defendants armed, funded, trained, and provided other types of material

support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and operatives who

engaged in acts of torture, extrajudicial killing, and hostage taking, injuring Plaintiffs.

        812.    The Iran Defendants provided this material support through the Iran Defendants’

officials, employees, and agents while they were acting within the scope of their offices,

employments, or agencies. This material support was provided pursuant to the policies of the Iran

Defendants.

        813.    The material support provided by the Iran Defendants caused Plaintiffs’ injuries by

resulting in the October 7 Attack and the Subsequent Related Attacks.




                                                 131
     Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24      Page 138 of 154




       814.    The Iran Defendants acted intending to unlawfully confine certain Plaintiffs within

fixed boundaries, namely their safe rooms or other shelters, during these attacks (as detailed in

Section V above).

       815.    The Iran Defendants’ conduct directly or indirectly resulted in Plaintiffs

confinement.

       816.    Plaintiffs were aware of that confinement and were harmed by it.

       817.    As a direct and proximate result of the willful, wrongful, and intentional acts of the

Iran Defendants, Plaintiffs identified in the foregoing paragraphs suffered extreme mental anguish,

pain and suffering, and economic harm.

       818.    Plaintiffs’ compensatory damages include, but are not limited to, extreme mental

anguish, pain and suffering, solatium, and any economic losses determined by the trier of fact.

       819.    The Iran Defendants’ conduct was criminal, outrageous, extreme, wanton, willful,

malicious, and a threat to the public, warranting an award of punitive damages against the Iran

Defendants pursuant to 28 U.S.C. § 1605A(c).

                               FOURTH CLAIM FOR RELIEF

 Against the Iran Defendants on Behalf of U.S. Citizen Plaintiff Estates Identified Herein,
 Except for the ATA-Only Plaintiffs, Who Suffered Personal Injury as a Result of the Iran
  Defendants’ Material Support for Acts of Extrajudicial Killing, Torture, and Hostage
          Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting Wrongful Death

       820.    Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.

       821.    The estate Plaintiffs listed in the foregoing paragraphs assert claims on behalf of

the estate decedents who were grievously injured and killed by the Iran Defendants’ provision of

material support (within the definitions of 28 U.S.C. § 1605A(h)) to terror organizations and




                                                132
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 139 of 154




operatives who engaged in acts of torture, extrajudicial killing, and hostage taking, that caused the

decedents’ deaths.

       822.    The Iran Defendants armed, funded, trained, and provided other types of material

support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and operatives who

engaged in acts of torture, extrajudicial killing, and hostage taking, injuring and killing the estates’

decedents.

       823.    The Iran Defendants provided this material support through the Iran Defendants’

officials, employees, and agents while they were acting within the scope of their offices,

employments, or agencies. This material support was provided pursuant to the policies of the Iran

Defendants.

       824.    As a direct and proximate result of the willful, wrongful, and intentional acts of the

Iran Defendants, the estate Plaintiffs listed in the foregoing paragraphs endured economic losses

resulting from the estates’ decedents’ premature deaths. These economic losses include loss of

income and unreimbursed funeral expenses.

       825.    The Iran Defendants’ conduct was criminal, outrageous, extreme, wanton, willful,

malicious, and constitutes a threat to the public, warranting an award of punitive damages against

the Iran Defendants pursuant to 28 U.S.C. § 1605A(c).

                                  FIFTH CLAIM FOR RELIEF

 Against the Iran Defendants on Behalf of U.S. Citizen Plaintiff Estates Identified Herein,
 Except for the ATA-Only Plaintiffs, Who Suffered Personal Injury as a Result of the Iran
  Defendants’ Material Support for Acts of Extrajudicial Killing, Torture, and Hostage
              Taking Pursuant to 28 U.S.C. § 1605A(c), Constituting Survival

       826.    Plaintiffs incorporate the allegations of the preceding paragraphs as though fully

set forth below.




                                                 133
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 140 of 154




        827.    The estates of Plaintiffs listed in the foregoing paragraphs assert claims for the pain

and suffering of the estates’ decedents who were grievously injured by the Iran Defendants’

provision of material (within the definitions of 28 U.S.C. § 1605A(h)) to terror organizations and

operatives who engaged in acts of torture, extrajudicial killing, and hostage taking that caused the

decedents’ deaths.

        828.    The Iran Defendants armed, funded, trained, and provided other types of material

support (as defined in 18 U.S.C. § 2339A) for and to terror organizations and operatives who

engaged in acts of torture, extrajudicial killing, and hostage taking, injuring and killing the estate

decedents.

        829.    The Iran Defendants provided this material support through the Iran Defendants’

officials, employees, and agents while they were acting within the scope of their offices,

employments, or agencies. This material support was provided pursuant to the policies of the Iran

Defendants.

        830.    The material support provided by the Iran Defendants caused the estate decedents’

injuries and deaths by resulting in the October 7 Attack and the Subsequent Related Attacks.

        831.    As a direct and proximate result of the willful, wrongful, and intentional acts of the

Iran Defendants, the decedents listed in the foregoing paragraphs endured physical injury, extreme

mental anguish, and pain and suffering prior to their deaths.

        832.    The Iran Defendants are therefore liable for the full measure of estate Plaintiffs’

compensatory damages, including physical injuries, extreme mental anguish, and pain and

suffering prior to their deaths.




                                                 134
      Case 1:24-cv-03244-LLA            Document 1       Filed 11/17/24      Page 141 of 154




        833.     The Iran Defendants’ conduct was criminal, outrageous, extreme, wanton, willful,

malicious, and constitutes a threat to the public, warranting an award of punitive damages against

the Iran Defendants pursuant to 28 U.S.C. § 1605A(c).

                                     SIXTH CLAIM FOR RELIEF

Against the Iran Defendants on Behalf of Non-U.S. Nationals Identified Herein, Except for
the ATA-Only Plaintiffs, Who Suffered Personal Injury as a Result of the Iran Defendants’
Material Support for Acts of Extrajudicial Killing, Torture, and Hostage Taking Pursuant
     to District of Columbia Law or Israeli Law (or other U.S. State or Foreign Law),
                  Constituting Intentional Infliction of Emotional Distress

        834.     The allegations set forth in the preceding paragraphs are incorporated by reference

as though fully set forth herein.

        835.     The family member Plaintiffs of individuals identified in the foregoing paragraphs

as injured or killed as a result of the Iran Defendants’ provision of material support for acts of

extrajudicial killing, torture, and hostage taking have suffered severe emotional distress, extreme

mental anguish, and severe physical manifestations, as well as loss of solatium and other harms to

be set forth to the trier of fact.

        836.     The Iran Defendants’ material support for extrajudicial killing, torture, and hostage

taking were intended to inflict severe emotional distress on Plaintiffs.

        837.     Family member Plaintiffs who are U.S. citizens bring claims pursuant to 28 U.S.C.

§ 1605A’s federal cause of action, § 1605A(c), as set forth in the Second Claim for Relief.

        838.     District of Columbia District Courts are split over whether to apply D.C. law, the

law of non-U.S. national plaintiffs’ domiciles, or the law of the place of the attack to intentional

infliction of emotional distress claims brought by plaintiffs who are not nationals of the United

States. The issue is currently on appeal to the Court of Appeals for the District of Columbia in

Roberts v. Islamic Republic of Iran, No. 23-cv-7106.




                                                 135
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 142 of 154




       839.    Accordingly, family member Plaintiffs who are not U.S. nationals bring claims

pursuant to District of Columbia law, Israeli law, and/or other U.S. state or foreign law, depending

on their residence.

       840.    The family member Plaintiffs who are not U.S. nationals bring claims for all

possible damages, including for pain and suffering, emotional distress, economic losses, and

punitive damages, as set forth below.

District of Columbia Law

       841.    District of Columbia law provides for intentional infliction of emotional distress

claims, including punitive damages. The family member Plaintiffs who are not U.S. nationals

accordingly bring claims for intentional infliction of emotional distress, including punitive

damages, under District of Columbia law.

       842.    As set forth in detail above, the Iran Defendants’ conduct was intentional and

reckless, necessarily causing the family member Plaintiffs severe emotional distress.

Israeli Law

       843.    Family member Plaintiffs who are citizens of the State of Israel but not the United

States also bring claims under Israeli law, including Articles 35-36 of the Civil Wrongs Ordinance

(“CWO”) providing causes of action for both negligent conduct and intentional harms.

       844.    Plaintiffs bring these claims against the Iran Defendants under three theories of

liability espoused by Israeli law: primary liability, secondary liability, and vicarious liability.

       845.    The Iran Defendants knowingly, willfully, recklessly (and certainly negligently)

caused and assisted the above-described attacks, which are acts of terrorism that a reasonably

prudent person would not have committed or abetted.




                                                 136
      Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 143 of 154




       846.    The Iran Defendants had a duty not to knowingly, willfully, recklessly (and

certainly negligently) cause, assist, and provide material support for the above-described attacks.

       847.    As a direct and proximate result of the willful, knowing, reckless, and negligent

acts of the Iran Defendants, Plaintiffs identified in the foregoing paragraphs suffered extreme

mental anguish, pain and suffering, loss of solatium, and economic harm.

       848.    Israeli law provides for damages for economic loss, pain and suffering, mental

anguish, bereavement damages (i.e., solatium), and punitive damages.

       849.    Plaintiffs’ compensatory damages include, but are not limited to, economic losses,

pain and suffering, extreme mental anguish, and solatium.

       850.    Punitive damages under Israeli law stems from the American rule of punitive

damages. The Iran Defendants’ conduct was criminal, outrageous, extreme, wanton, willful,

malicious, and a threat to the public, warranting an award of punitive damages against the Iran

Defendants pursuant to Israeli law.

Other foreign or U.S. States’ laws

       851.    To the extent necessary, the non-U.S. national Plaintiffs bring claims for relief

under the laws of other countries or U.S. States, for the same injuries and damages described above.

                               SEVENTH CLAIM FOR RELIEF

  Liability for Conspiring to Commit Homicide (18 U.S.C. § 2332(b)) and Other Crimes
 Listed in 18 U.S.C. § 2339A(a) Under § 2333(a) Against the FTO Defendants on Behalf of
                                      All Plaintiffs

       852.    The allegations set forth in the preceding paragraphs are incorporated by reference

as though fully set forth herein.

       853.    Plaintiffs have been injured in their person, and the estate Plaintiffs suffered

economic loss and pain and suffering prior to their decedents’ deaths, by reason of acts of

international terrorism committed by the FTO Defendants that involved violence, were dangerous


                                                137
      Case 1:24-cv-03244-LLA          Document 1        Filed 11/17/24      Page 144 of 154




to human life, and violated the criminal law of the United States, including the prohibition on

killing, or attempting or conspiring to kill, U.S. citizens as set forth in 18 U.S.C. § 2332 and the

other crimes listed in 18 U.S.C. § 2339A(a).

       854.    The FTO Defendants’ acts of international terrorism were appeared intended and

were in fact intended to: (a) intimidate or coerce the civilian populations of the State of Israel and

the United States; (b) influence the policy of the governments of the State of Israel and the United

States by intimidation or coercion; and (c) affect the conduct of the governments of the State of

Israel and the United States by mass destruction, assassination, or kidnapping within the meaning

of 18 U.S.C. § 2331.

       855.    The FTO Defendants’ acts either occurred primarily outside the territorial

jurisdiction of the United States or transcended national boundaries in terms of the means by which

they were accomplished.

       856.    The acts of terrorism set forth herein were extreme and outrageous and were

committed with the knowledge they would and intention to cause extreme physical pain and

suffering to the victims, and extreme emotional distress to the family members of those murdered

by reason of these acts of international terrorism.

       857.    The FTO Defendants conspired to commit acts of homicide and other crimes listed

in 18 U.S.C. § 2339A(a), or activities that would be crimes if committed within the jurisdiction of

the United States or of any State, including against U.S. nationals, in the manner set forth herein,

and committed overt acts in furtherance of the conspiracy. At all relevant times, the FTO

Defendants agreed to the aims of the conspiracy and acted in furtherance of the conspiracy.




                                                 138
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24       Page 145 of 154




       858.    Plaintiffs were wounded, incurring emotional and physical injuries (including

solatium), and some were also killed, as a result of overt acts taken in furtherance of the conspiracy,

such as shootings, bombings, and hostage-taking.

       859.    By conspiring to commit acts of homicide and other crimes listed in 18 U.S.C. §

2339A(a) that resulted in the injury of Plaintiffs and the deaths of Plaintiffs’ decedents, who were

U.S. nationals, the FTO Defendants are jointly and severally liable pursuant to 18 U.S.C. § 2333(a)

for any and all damages Plaintiffs have sustained as a result of such injuries.

                                  EIGHTH CLAIM FOR RELIEF

Civil Liability under 18 U.S.C. § 2333(a) Against FTO Defendants Hamas, PIJ, and PFLP,
      on Behalf of the Plaintiffs Injured by FTO Defendants Hamas, PIJ, and PFLP

       860.    The allegations set forth in the preceding paragraphs are incorporated by reference

as though fully set forth herein.

       861.    Plaintiffs have been injured in their person, including extreme mental anguish,

solatium and economic losses, and the estate Plaintiffs suffered economic loss, extreme mental

anguish, and pain and suffering, by reason of acts of international terrorism committed by the FTO

Defendants Hamas, PIJ, and PFLP, that involved violence, were dangerous to human life, and

violated the criminal law of the United States or the States (or would be if committed in the United

States), including the prohibition on killing or attempting to kill U.S. citizens as set forth in 18

U.S.C. § 2332(a), (b), and (c).

       862.    These FTO Defendants’ acts in kidnapping Plaintiffs, injuring Plaintiffs, killing

Plaintiffs’ decedents or attempting to kill the injured Plaintiffs, or inflict emotional distress on the

family member Plaintiffs, were intended to: (a) intimidate or coerce the civilian populations of the

State of Israel and the United States; (b) influence the policy of the governments of the State of

Israel and the United States by intimidation or coercion; and (c) affect the conduct of the



                                                 139
      Case 1:24-cv-03244-LLA           Document 1      Filed 11/17/24     Page 146 of 154




governments of the State of Israel and the United States by mass destruction, assassination, or

kidnapping within the meaning of 18 U.S.C. § 2331.

       863.    These FTO Defendants’ acts both occurred primarily outside the territorial

jurisdiction of the United States and transcended national boundaries in terms of the means by

which they were accomplished.

       864.    These FTO Defendants’ acts were extreme and outrageous and were committed

with the knowledge of and intention to cause extreme physical pain and suffering to any and all

persons within close proximity of the attack and extreme emotional distress to the family members

of those who were killed or injured by reason of those acts.

       865.    By violating 18 U.S.C. §§ 2332(a), (b), and (c)’s prohibitions against killing or

attempting to kill a U.S. citizen, as well as the other crimes listed in 18 U.S.C. § 2339A(a) (or

activities that would constitute such crimes if committed in the United States) and causing them

serious bodily injury, economic losses, and emotional distress, these FTO Defendants are liable

pursuant to 18 U.S.C. § 2333(a) for any and all damages the Plaintiffs have sustained as a result

of such murders, attempted murders, and other illegal and tortious activities.

                                    NINTH CLAIM FOR RELIEF

 Civil Liability under 18 U.S.C. § 2333(a) Against FTO Defendant Hezbollah, on Behalf of
                                 the Balva Family Plaintiffs

       866.    The allegations set forth in the preceding paragraphs are incorporated by reference

as though fully set forth herein.

       867.    The estate of Omer Balva suffered wrongful death (i.e., economic losses) and pain

and suffering before death, and the Balva family member Plaintiffs suffered extreme emotional

distress, by reason of acts of international terrorism committed by the FTO Defendant Hezbollah

that involved violence, were dangerous to human life, and violated the criminal law of the United



                                               140
      Case 1:24-cv-03244-LLA           Document 1       Filed 11/17/24     Page 147 of 154




States or the States (or would be if committed in the United States), including the prohibition on

killing U.S. citizens as set forth in 18 U.S.C.§ 2332(a) and (c).

       868.     Hezbollah’s acts in killing Omer Balva, a U.S. citizen, were intended to: (a)

intimidate or coerce the civilian populations of the State of Israel and the United States; (b)

influence the policy of the governments of the State of Israel and the United States by intimidation

or coercion; and (c) affect the conduct of the governments of the State of Israel and the United

States by mass destruction, assassination, or kidnapping within the meaning of 18 U.S.C. § 2331.

       869.     Hezbollah’s acts both occurred primarily outside the territorial jurisdiction of the

United States and transcended national boundaries in terms of the means by which they were

accomplished.

       870.     Hezbollah’s acts were extreme and outrageous and were committed with the

knowledge of and intention to cause extreme physical pain and suffering to any and all persons

within close proximity of the attack and extreme emotional distress to the family members of those

who were killed or injured by reason of those acts.

       871.     By violating 18 U.S.C. §§ 2332(a) and (c)’s prohibitions against murdering a U.S.

citizen, and the other crimes listed in 18 U.S.C. § 2339A(a), and causing them serious bodily

injury, Hezbollah is liable pursuant to 18 U.S.C. § 2333(a) for any and all damages the estate of

Omer Balva and the Balva family Plaintiffs have sustained as a result of such murder.

                                    TENTH CLAIM FOR RELIEF

 Civil Liability under 18 U.S.C. §§ 2333(a), 2339A and 2339B Against FTO Defendants, on
                  Behalf of All Plaintiffs Murdered by the FTO Defendants

       872.     The allegations set forth in the preceding paragraphs are incorporated by reference

as though fully set forth herein.




                                                141
      Case 1:24-cv-03244-LLA           Document 1        Filed 11/17/24      Page 148 of 154




       873.     Each of FTO Defendants PIJ, PFLP, Hezbollah, and Hamas provided each other

material support in violation of 18 U.S.C. § 2339A by conspiring with and providing material

support and resources to each other, knowing or intending that they be used in preparation for or

in carrying out the October 7 Attack and the Subsequent Related Attacks, which constituted

violations of section 18 U.S.C. § 2332 and the other crimes listed in 18 U.S.C. § 2339A(a), and

assisted in the preparation for, carrying out, and commission of acts of international terrorism

described herein.

       874.     Each of FTO Defendants PIJ, PFLP, Hezbollah, and Hamas provided each other

material support, and attempted and conspired to do so, in violation of 18 U.S.C. § 2339B by

providing material support and resources to each other, knowing that each FTO Defendant was a

designated FTO, engages in terrorist activity, and/or engages in terrorism, as these terms are

defined in 18 U.S.C. § 2339B.

       875.     The FTO Defendants’ acts in kidnapping, injuring, killing, and attempting to kill,

U.S. nationals and other persons, were, are, and appear to be intended to: (a) intimidate or coerce

the civilian populations of the State of Israel and the United States; (b) influence the policy of the

governments of the State of Israel and the United States by intimidation or coercion; and (c) affect

the conduct of the governments of the State of Israel and the United States by mass destruction,

assassination, or kidnapping within the meaning of 18 U.S.C. § 2331.

       876.     The FTO Defendants’ conduct was a substantial cause in fact and a significant,

foreseeable factor in the chain of events leading to the Plaintiffs’ injuries.

       877.     The FTO Defendants’ acts occurred primarily outside the territorial jurisdiction of

the United States and transcended national boundaries in terms of the means by which they were

accomplished.




                                                 142
      Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24      Page 149 of 154




       878.    The FTO Defendants’ knowing provision of material support to each other involved

acts that were dangerous to human life, by their nature and as evidenced by their consequences.

       879.    Furthermore, each Plaintiff’s injuries constitute harm falling within the risk

contemplated by the FTO Defendants’ material support to each other.

       880.    Through their conduct as described above, by knowingly providing material

support to each other and thereby knowingly violating 18 U.S.C. §§ 2339A and 2339B, the FTO

Defendants are civilly liable for damages to each Plaintiff for their injuries pursuant to 18 U.S.C.

§ 2333(a).

                              ELEVENTH CLAIM FOR RELIEF

Civil Liability for Aiding and Abetting in Violation of 18 U.S.C. §§ 2333(a) and 2333(d)(2)
      Against FTO Defendants PIJ, PFLP, and Hezbollah, on Behalf of All Plaintiffs

       881.    The allegations set forth in the preceding paragraphs are incorporated by reference

as though fully set forth herein.

       882.    Hamas was designated an FTO on October 8, 1997, and remains so-designated.

       883.    The October 7 Attack and the Subsequent Related Attacks consisted of hundreds of

different phases of a terror campaign jointly perpetrated by FTO Defendants Hamas, PFLP, PIJ,

and Hezbollah, among others.

       884.    The attacks alleged herein were acts of international terrorism as defined by 18

U.S.C. § 2331(1).

       885.    FTO Defendants Hezbollah, PIJ, and PFLP aided and abetted (within the meaning

of 18 U.S.C. § 2333(d)(2)), Hamas, the person (within the meaning of 18 U.S.C. § 2333(d)(1) and

1 U.S.C. § 1) that committed most of the acts of international terrorism set forth herein, including

through financial support, tactical training, intelligence sharing, strategic planning, the provision

of weapons, and other forms of assistance and encouragement described above.



                                                143
      Case 1:24-cv-03244-LLA            Document 1      Filed 11/17/24     Page 150 of 154




        886.    FTO Defendants Hezbollah, PIJ, and PFLP assisted Hamas knowingly and were

generally aware of their roles in Hamas’s illegal and tortious conduct.

        887.    The assistance these FTO Defendants knowingly provided Hamas was substantial.

        888.    The terror attacks described herein which were committed by Hamas were the

natural and foreseeable consequences of these FTO Defendants’ assistance to Hamas.

                                TWELFTH CLAIM FOR RELIEF

 Civil Liability for Aiding and Abetting in Violation of 18 U.S.C. §§ 2333(a) and 2333(d)(2)
                  Against FTO Defendant Hamas, on Behalf of All Plaintiffs

        889.    The allegations set forth in the preceding paragraphs are incorporated by reference

as though fully set forth herein.

        890.    Hezbollah, PIJ, and PFLP were each designated an FTO on October 8, 1997, and

remain so-designated.

        891.    The October 7 Attack and the Subsequent Related Attacks consisted of hundreds of

different phases of a terror campaign jointly perpetrated by FTO Defendants Hamas, PFLP, PIJ,

and Hezbollah, among others.

        892.    The attacks committed alleged herein were acts of international terrorism as defined

by 18 U.S.C. § 2331(1).

        893.    Hamas aided and abetted (within the meaning of 18 U.S.C. § 2333(d)(2))

Hezbollah, PIJ, and PFLP, who were the persons (within the meaning of 18 U.S.C. § 2333(d)(1)

and 1 U.S.C. § 1) that committed some of the acts of international terrorism set forth herein,

including through financial support, tactical training, intelligence sharing, strategic planning, the

provision of weapons, and other forms of assistance and encouragement described above.

        894.    Hamas assisted Hezbollah, PIJ, and PFLP knowingly and was generally aware of

its role in their illegal and tortious conduct.



                                                  144
      Case 1:24-cv-03244-LLA          Document 1       Filed 11/17/24        Page 151 of 154




        895.   The assistance Hamas knowingly provided to these FTO Defendants was

substantial.

        896.   The terror attacks described herein which were committed by Hezbollah, PIJ, and

PFLP were the natural and foreseeable consequences of Hamas’s assistance to Hezbollah, PIJ, and

PFLP.

                             THIRTEENTH CLAIM FOR RELIEF

 Civil Liability for Conspiracy in Violation of 18 U.S.C. §§ 2333(a) and 2333(d)(2) Against
                       the FTO Defendants, on Behalf of All Plaintiffs

        897.   The allegations set forth in the preceding paragraphs are incorporated by reference

as though fully set forth herein.

        898.   The attacks alleged herein were acts of international terrorism as defined by 18

U.S.C. § 2331(1).

        899.   Hamas, Hezbollah, PIJ, and PFLP were each designated an FTO on October 8,

1997, and remain so-designated.

        900.   The FTO Defendants conspired with each other and others (including the IRGC)

for the purpose of committing acts of terrorism, including the October 7 Attack and the Subsequent

Related Attacks.

        901.   Each FTO Defendant agreed to join the conspiracy knowing its general aims.

        902.   Members of the conspiracy performed overt acts in furtherance of the conspiracy,

which included acts that substantially and foreseeably injured Plaintiffs.

        903.   Plaintiffs’ injuries were proximately caused by the FTO Defendants’ acts of

international terrorism.




                                                145
     Case 1:24-cv-03244-LLA         Document 1        Filed 11/17/24      Page 152 of 154




                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that the Court:

          (a) Accept jurisdiction over this action;

          (b) Enter judgment for Plaintiff Estates against the Iran Defendants, jointly and
              severally, for compensatory damages for wrongful death and survival,
              including, but not limited to, physical injury, extreme mental anguish, pain
              and suffering, economic losses, and any pecuniary loss (or loss of income
              to the estates) in amounts to be determined at trial;

          (c) Enter judgment for all Plaintiffs (except the ATA-Only Plaintiffs) against
              the Iran Defendants, jointly and severally, for compensatory damages,
              including, but not limited to, physical injury, extreme mental anguish, pain
              and suffering, economic losses, and solatium, in amounts to be determined
              at trial;

          (d) Enter judgment for all Plaintiffs (except the ATA-Only Plaintiffs) against
              the Iran Defendants, jointly and severally, for punitive damages in an
              amount to be determined at trial;

          (e) Enter judgment against the FTO Defendants and in favor of all Plaintiffs for
              compensatory damages in amounts to be determined at trial;

          (f) Enter judgment against the FTO Defendants and in favor of all Plaintiffs for
              treble damages pursuant to 18 U.S.C. § 2333(a);

          (g) Enter judgment against the FTO Defendants and in favor of all Plaintiffs for
              any and all costs sustained in connection with the prosecution of this action,
              including attorneys’ fees, pursuant to 18 U.S.C. § 2333(a);

          (h) Enter judgment for all Plaintiffs (except the ATA-Only Plaintiffs) against
              the Iran Defendants, jointly and severally, for Plaintiffs’ costs and
              attorney’s fees;

          (i) Enter judgment against the Iran Defendants, jointly and severally, for
              prejudgment interest; and

          (j) Such other and further relief as the Court finds just and equitable.




                                               146
     Case 1:24-cv-03244-LLA   Document 1    Filed 11/17/24     Page 153 of 154




Dated: November 17, 2024


                                    JENNER & BLOCK LLP


                              By:   /s/ Lee Wolosky
                                    Lee Wolosky (D.C. Bar No. NY0161)
                                    Andrew J. Lichtman (motion for admission pro hac
                                    vice forthcoming)
                                    Benjamin D. Alter (petition for admission pending)
                                    1155 Avenue of the Americas
                                    New York, NY 10036-2711
                                    Telephone: (212) 891-1628
                                    Facsimile: (212) 891-1699
                                    lwolosky@jenner.com
                                    alichtman@jenner.com
                                    balter@jenner.com

                                    Douglass A. Mitchell (D.C. Bar No. WI0029)
                                    Rachael J. Hanna
                                    1099 New York Avenue, NW
                                    Suite 900
                                    Washington, DC 20001-4412
                                    Telephone: (202) 639-6000
                                    Facsimile: (202) 639-6066
                                    dmitchell@jenner.com
                                    rhanna@jenner.com

                                    OSEN LLC
                                    Gary M. Osen (D.C. Bar No. NJ009)
                                    Ari Ungar (DC Bar No. NJ008)
                                    Michael J. Radine (DC Bar No. NJ015)
                                    Dina Gielchinsky (DC Bar No. NJ011)
                                    Aaron Schlanger (D.C. Bar No. NJ007)
                                    190 Moore Street, Suite 272
                                    Hackensack, NJ 07601
                                    Telephone: (201) 265-6400
                                    Facsimile: (201) 265-0303
                                    gosen@osenlaw.com
                                    aungar@osenlaw.com
                                    mradine@osenlaw.com
                                    dgielchinsky@osenlaw.com
                                    aschlanger@osenlaw.com




                                     147
Case 1:24-cv-03244-LLA   Document 1    Filed 11/17/24     Page 154 of 154




                               STEIN MITCHELL BEATO &
                               MISSNER LLP
                               Jonathan E. Missner (D.C. Bar No. 475648)
                               Michael A. Petrino (D.C. Bar No. 994060)
                               Yoni Gugenheim (D.C. Bar No. 90014955)
                               2000 K St., NW, Suite 600
                               Washington, D.C. 20006
                               Telephone: (202) 737-7777
                               Facsimile: (202) 296-8312
                               jmissner@steinmitchell.com
                               mpetrino@steinmitchell.com
                               ygugenheim@steinmitchell.com

                               Attorneys for the Weiser, Morell, Leiter, Balva,
                               Rousso, Chen, Shay, Ziering, Glisko,
                               Schenkolewski, Haggai, Rosenfeld, Levy, Shalom,
                               and Beniashvili Plaintiffs

                               MOTLEY RICE LLC

                         By:   /s/ John M. Eubanks
                               John M. Eubanks (D.C. Bar No. SC0013)
                               Michael E. Elsner
                               28 Bridgeside Blvd.
                               Mt. Pleasant, SC 29464
                               Telephone: (843) 216-9250
                               Facsimile: (843) 216-9450
                               jeubanks@motleyrice.com
                               melsner@motleyrice.com

                               Attorneys for the Airley, Bours, Davidovich, Ben
                               Zaken, Goodman, Hamo, Klughaupt, Moses,
                               Newman, Rothner, Shindman, Spitz, Thaler, Vardi,
                               Zer-Chen, Edan, Zafrani, Natan, Amar, Goodman,
                               Gutstein and Tawil Plaintiffs




                                148
